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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

INRE:

WAY TO GROW, INC.,
EIN: XX-XXXXXXX

Debtor.

PURE AGROBUSINESS, ]NC.,
EIN: XX-XXXXXXX

Debtor.

GREEN DOOR AGRO, ]NC.,
EIN: XX-XXXXXXX

Debtor.

 

WAY TO GROW, INC., PURE AGROBUSINESS
[NC., AND GREEN DOOR AGRO, INC.

Plaintiffs,

V.

COREY INNISS, JAMES BLAHA, BLUE
MOOSE, LLC and SUSAN INNISS

Defendants.

COMPLAINT

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Case N0. 18-14330-MER

Chapter 11

Case No. 18-14334-MER

Chapter 11

Case NO. 18- 14333-MER

Chapter l 1

Adversary No. 18- -MER

The Plaintiffs, Way To Grow, Inc. (“WTG”), Pure Agrobusiness, Inc. (“Pure”), and
Green DOOr Agro, lnc. (“GDA”), by and through their attorneys Kutner Brinen, P.C., State their

Complaint against the Defendants as follows:

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PARTIES, JURISDICTION AND VENUE

l. The Plaintiffs are all debtors in possession having filed their bankruptcy cases
under Chapter 11 of the Bankruptcy Code on May 18, 2018 in the Bankruptcy Court for the
District of Colorado, proceeding under the lead Case No. 18-14330-MER (“Bankruptcy Case”).

2. Defendant, Corey Inniss (“Inniss”), is an individual who was prior to January 1,
2016 an owner of the entity now known as Way To Grow, lnc. and now claims to be a creditor of
the Plaintiffs.

3. Defendant, James Blaha (“Blaha”), is an individual who is the former Step father
of Inniss and was previously a director and officer of one or more of the Plaintiffs and is
indirectly a landlord of one or more locations leased by the Plaintiff.

4. Defendant, Blue Moose, LLC (“Blue”) is a company that is believed to be owned
and controlled by its Manager, Blaha. Blue is the landlord to WTG under two leases.

5. Defendant, Susan lnniss (“Susan”), is an individual who is the mother of Inniss
and the former wife of Blaha.

6. This action is brought pursuant to Rule 7001 et seq. of the Federal Rules of
Bankruptcy Procedure and 28 U.S.C. § 2201(a) to seek relief in accordance with 11 U.S.C.
§§105, 502, 544, 548, 550, 551 and 1107 and other applicable law.

7. This adversary proceeding arises out of and relates to the above-captioned
Chapter 11 cases.

8. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334 and
157. This matter constitutes a “core” proceeding within the meaning of 28 U.S.C. §§ 157(b)(l)
and 157(b)(2)(B), (H), (K) and (O). The Court has authority to enter final orders in this adversary
proceeding and the Plaintiff consents to entry of final orders by the Bankruptcy Court.

9. Venue is proper in this Court pursuant to 28 U.S.C. § 1409(a), as this adversary
proceeding arises in or relates to a case under Title 11 of the United States Code, which is
pending in this district.

GENERAL BACKGROUND

10. The Plaintiffs filed their voluntary petitions on May 18, 2018 (“Petition Date”).

11. The Plaintiff, Pure, is a company that was established to act as a holding company
for one or more companies that engage in business in the hydroponics market. Pure is the sole

owner of both WTG and GDA. Pure was formerly known as PUR Hydroponic Solutions, Inc.

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12. The Plaintiff, WTG, is a Colorado corporation engaged in business in Colorado as
the owner of currently 7 retail stores that sell products related to hydroponic farming

13. The Plaintiff, GDA, is a Nevada corporation that is engaged in business in
California also selling products related to hydroponic farming.

14. Prior to January 2016, the predecessor to WTG was established by Inniss and was
a successful business that sold hydroponic farming supplies and equipment to retail customers in
Colorado.

15 . Inniss operated WTG through 7 retail locations in Colorado and 4 of the locations
were in retail stores that were leased directly or indirectly from Blaha and Susan.

16. Pure had retained a business broker to locate acquisition opportunities in the
hydroponic market and the broker located WTG as a prospective acquisition.

17. ln May 2012, while lnniss owned and operated WTG, he was reportedly charged
by federal authorities in federal court with the illegal distribution of at least 10 kilograms of
marijuana lt was reportedly alleged that lnniss had supplied lights and growing equipment from
WTG stores to set up illegal marijuana growing operations in exchange for a Share of the
operation proceeds. Inniss reportedly entered into a plea arrangement with the federal
authorities

18. WTG was not charged with any crime or involved in the Inniss activity other than
a report that approximately $1.3 million was deposited by Inniss into WTG accounts.

19. As a result of the lnniss criminal disposition, it is believed that Inniss placed his
step father Blaha in charge of the management of the WTG stores.

20. Once WTG was identified to Pure as an acquisition, the negotiation between Pure,
acting through its Director and officer, Rick Byrd, (“Byrd”) and WTG was all handled on the
part of WTG by Blaha.

Acquisition of WTG by Pure

21. The negotiation for the acquisition of WTG by Pure resulted in a closing on the
sale which occurred in Los Angeles, California on December 31, 2015 and documents were
dated January l, 2016. The parties agreed that the closing of the merger was at 12:01 a.m. local
time on January l, 2016.

22. The principal document executed at closing was the Amended and Restated

Agreement and Plan of Merger and Reorganization by and among the acquiring entities and

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lnnis, dated January 1, 2016 (“Merger Agreement”). A copy of the Merger Agreement is
attached hereto as Exhibit A.

23. The Merger Agreement made clear in its final recital on page 2 that an
Employment Agreement would be executed with a Key Employee who was Blaha. A copy of
the Employment Agreement is attached hereto as Exhibit B. The Employment Agreement is
dated December 30, 2015.

24. In connection with the acquisition of WTG, stock in Pure was issued to lnniss in
the amount Of` 9,868,940 shares, Blaha in the amount of 1,252,810 shares, and Susan in the
amount of 833,250 shares.

25 . In addition, the Merger Agreement contained a so called Clawback Agreement
which provided among other things that, “if the employment of J ames Blaha is terminated by
Purchaser without Cause or by such employee for Good Reason. . .then, effective as of the date of
such termination, the Clawback shall be of no further force or effect and the Payment Shares
shall no longer be subject to forfeiture.” This provision essentially meant that if Blaha was
terminated Pure could no longer claw back approximately 3,125,000 shares of Pure stock from
lnniss. The shares of Pure stock were provided to lnniss in connection with the acquisition of
WTG by Pure.

26. The Clawback was further defined in the Lock-Up Agreement and the Clawback
Agreement which are attached hereto as Exhibits C and D respectively

27. The intent of the Blaha Employment Agreement, the Lock-Up Agreement and the
Clawback Agreement was to make it extremely disadvantageous and financially harmful to Pure
if it terminated the employment of Blaha.

28. Pursuant to the terms of the Employment Agreement, Blaha was retained to be the
President and Chief Executive Off`icer of Pure as of December 30, 2015. Blaha was also one of
the two members of the Pure Board of Directors. Blaha was also the President of WTG. Blaha
was also made an officer of Pure months prior to the closing.

29. Byrd was the other member of the Pure Board of Directors on the closing date and
he served as the Chairman of the Board but he was not an officer of either Pure or its subsidiary

WTG.

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30. In connection with the closing of the sale, Pure paid to lnniss the sum of
approximately $2,500,000 in cash and executed a Secured Promissory Note in the amount of
822,500,000 (“Note”). A copy of the Note is attached hereto as Exhibit E.

31. The Note was executed by Pure as the maker and below a paragraph following the
provisions of the Note, a consent paragraph was signed by GDA and WTG. While the consent
provides that the two subsidiary entities consent and agree to the Note and to the payment of the
amounts set forth in the Note, it does not provide that either entity grants to lnniss a security
interest in their particular assets. While the Note contains a purported grant of a security interest

in the assets of Pure and the two subsidiaries, only Pure signed the Note,

The Post Closing Misconduct and Unauthorized Transfers

32. Following the sale closing, the Plaintiffs were directed by Blaha to make
payments each month under the Note to Inniss, Blaha, and to Susan in specific amounts as if they
were all co-owners of the stock that had been sold to Pure,

33. Blaha continued to manage the subsidiaries WTG and GDA following the merger
as an officer and while he was on the Board of Directors of Pure and President and Chief
Executive Officer of that company

34. The Plaintiffs learned subsequent to the closing that after the closing, Blaha and
lnniss rewrote all of the leases for the retail lease locations that were entities of Blaha, such as
Blue, and Susan (in each case the “Blaha Lease or Susan Lease”). In each case the leases were
written for 10 year terms at rental rates that were 2 to 3 times higher than the prevailing market
rates (“Excess Rent”). The Excess Rent approximated $50,000 or more each month that
Constituted a distribution to Blaha and Susan. While the leases were set forth on the schedules to
the parties Merger Agreement, copies of the leases were not provided and the terms were not
disclosed The Blaha leases were written in the name of Blaha’s company Blue as the landlord.
It is believed that Blue is an alter ego of Blaha.

35. The terms of the re-written leases were not disclosed to Pure or any other member
of the Board of Directors and in many cases, if not all, the leases were signed on January 1, 2016
by Blaha Or Susan On behalf of the landlord and by lnniss as CEO of WTG even though he did
not hold that position and the stock was sold as a result of a closing that occurred on December

31, 2015 and was effective at 12:01 a.m. on January 1, 2016.

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36. It was not until approximately October 2017 that Blaha told Byrd that he was cash
short in operating the WTG stores and needed more money. As a result of this request, Byrd
began a detailed examination of the WTG operations and discovered a number of inappropriate
transactions

37. The WTG business was undergoing an audit in October 2017 with respect to the
year 2016. Byrd requested that the auditors examine some of the items he had identified as
problematic The auditors continued a number of questionable misappropriations and issues
based upon the conduct of Blaha, lnniss, and Susan. As a result the audit could not be completed
and the Plaintiffs could not proceed with a very advantageous financing transaction

38. Following January 1, 2016, Blaha, lnniss, and Susan were responsible for the
following transactions that wrongfully stripped funds from the Plaintiffs, none of which were
approved by any of the Plaintiffs or their Boards of Directors, all occurred post- closing and all
completely ignoring the fact that WTG had been sold:

a. $358,000 was taken to pay lnniss an amount equal to his 2015 tax liability;
b. $28,616.24 was taken to contribute to the WTG pension plan for lnniss for

2016 and additional sums were paid for 2017, all the while lnniss never worked for WTG

during those years',

c. $178,958.75 was paid by WTG on behalf of Blaha for the pension plan for

2016 and additional sums were paid for 2017, none of which were authorized Blaha

knew that the Board of Directors discussed discontinuing the pension plan in 2016 and he

failed to take action as a Trustee of the pension plan, it was terminated January l, 2017;

d. $17,985.61 was paid by WTG on behalf of Susan for the pension plan for 2016
and additional sums were paid for 2017, she was not an employee and none of the
payments were authorized Additional pension plan underfundings from 2015 may have
been funded by Blaha in later years with no authority to do so;

e. $150,000 was paid to lnniss as a bonus for 2015, never authorized;

f. $150,000 was paid to Blaha as a bonus for 2015, never authorized;

g. $250,000 was paid to Blaha as a “transaction bonus” with respect to the

acquisition of WTG by Pure, never authorized;

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h. 336,000 per year paid to Susan along with health insurance and other benefits
post closing for employment when she never actually worked for any of the Plaintiffs, all
discovered in 2017;

i. $149,743 for pre-closing sales tax that Plaintiffs had to pay due to Blaha’s
failure to pay prior to closing. Blaha failed to pursue lnniss for recovery of the tax
payment;

j. Bonuses of $100,000 paid to Blaha on January 11, 2016 and $150,000 paid to
Blaha on July 15, 2016 which were unauthorized and no comparable bonus paid to the
other director as required; and

k. All of the leases with Susan and Blaha and their entities had the effect of
stripping cash from WTG far in excess of what a reasonable rent Would have been for the

subject rental locations

39. The closing on the sale occurred in Los Angeles, California at the offices of the
Morgan Lewis law firm. Following the closing Blaha was to continue as an employee of Pure
but he ignored his position with Pure and continued working on behalf of WTG. Blaha failed to
turn over all bank accounts on a prompt basis and a final bank account was only located in
February 2018 by WTG and Pure’s auditors. The hidden account was apparently used by Blaha
to fund loans and other benefits for himself and he never voluntarily disclosed it to Pure. Blaha
also failed to turn over the keys, passwords and other information necessary for Pure to take
control of WTG.

40. lnniss, Blaha, and Susan at all times relevant operated in concert to strip the
Plaintiffs of assets and cash which led to the inability of WTG to pay the lnniss Note. The
payment default would allow lnniss to foreclose on all of the WTG assets as the secured lender

and take back the company so he could try the whole procedure on another day with another

victim.
FIRST CLAIM FOR RELIEF
(Declaratory relief as to the nature, extent, validity and priority of lnniss lien as to
WTG and GDA)
41. The Plaintiffs restate herein each and every allegation contained in the foregoing

paragraphs of this Complaint.

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42, The Note is not executed by either WTG or GDA as the maker and the consent
that was signed by each of them to the Note is limited.

43. Neither WTG nor GDA granted a security interest in their assets to lnniss and as a
result lnniss is unsecured as to the assets owned by WTG and GDA.

44. A controversy exists between lnniss and WTG and GDA as to the lien claimed by
Inniss, who claims a lien encumbering all assets of WTG and GDA.

WHEREFORE, the Plaintiffs pray as hereinafter set forth.

SECOND CLAIM FOR RELIEF
(Avoidance of lnniss Note and security interest as a Fraudulent Conveyance as to
WTG and GDA under 11 U.S.C. §544 and C.R.S. §38-8-101 et seq.)

45. The Plaintiffs restate herein each and every allegation contained in the foregoing
paragraphs of this Complaint.

46. The Plaintiffs have the rights and powers of a trustee acting under the Bankruptcy
Code.

47. All of the obligations incurred by WTG and GDA with respect to the Note Were
made or incurred within the four years preceding the Petition Date and were for the benefit of
lnniss.

48. The Plaintiffs have the rights and power to avoid any transfer of property of the
debtor or any obligation incurred by the Debtor/Plaintiffs that are voidable by a judgment lien
creditor, an execution creditor, or a bona fide purchaser of real property. 11 U.S.C. §544(a).

49. The obligations owed to lnniss by WTG and GDA and the security interests that
secure the Note were made for the benefit of lnniss. WTG and GDA received less than
reasonably equivalent value in exchange for the obligations created by the Note and security
agreement and such Plaintiffs: a) were engaged or were about to engage in a business or a
transaction for which the remaining assets of the Plaintiffs were unreasonably small in relation to
the business or transactions; or b) intended to incur, or believed or reasonably should have
believed that Plaintiffs would incur, debts beyond their ability to pay as they became due. 11
U.S.C. §544(a) and C.R.S. §38-8-105(1)(b)

50. The obligations evidenced by the Note and security interest are fraudulent as to

creditors since WTG and GDA incurred the obligation without receiving a reasonably equivalent

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value in exchange for the transfer or obligation and the Plaintiff was insolvent at that time or
became insolvent as a result of the obligation 11 U.S.C. §544(a) and C.R.S. §38-8-106(1).
WHEREFORE, the Plaintiffs pray as hereinafter set forth.
THIRD CLAIM FOR RELIEF
(Avoidance of fraudulent transfer of Excess Rent payments to Susan)

51. The Plaintiffs restate herein each and every allegation contained in the foregoing

paragraphs of this Complaint.

52. The Plaintiff WTG was party to two leases with Susan or entities owned and
controlled by her with respect to rental locations in Lakewood, Colorado and Colorado Springs,
Colorado, the Susan Leases. A copy Of the Lakewood lease is attached hereto as Exhibit F.

53. The Lakewood lease was signed on January 1, 2016 after the closing on the sale
of WTG to Pure. Despite the closing and the sale of his company, lnniss signed the Lakewood
lease on behalf of WTG. lnniss had no authority to sign the lease for WTG.

54. The Lakewood lease rental requires a rent payment approximately $ll,OOO per
month over and above the market rate for comparable rents, for exarnple, the monthly rent paid
on this lease is $18,000 per month in 2018 and the comparable rate for equivalent space in a
similar location is $7,000 per month.

55. Susan was paid approximately $330,000 in fraudulent rent payments over the 30
months in which she has collected rent on the Lakewood location. Similar circumstances exist in
different amounts on the Colorado Springs lease.

56. WTG did not receive equivalent value for the payments made to Susan on the
Lakewood and Colorado Springs leases, and the obligations created by the such leases led to the
WTG insolvency, or in the alternative WTG was engaged in a business for which the property
remaining with WTG was unreasonably small in relation to the business, or alternatively WTG
intended to incur, or believed that it would incur, debts that would be beyond its ability to pay as
the debts matured

WHEREFORE, the Plaintiffs pray as hereinafter set forth.

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FOURTH CLAIM FOR RELIEF
(Avoidance of fraudulent transfer of Blaha Rent to Blaha and Blue Moose, LLC)

57. The Plaintiffs restate herein each and every allegation contained in the foregoing
paragraphs of this Complaint.

58. The Plaintiff WTG was party to two leases with Blaha and/or Blue or entities
owned and controlled by him with respect to rental locations in Fort Collins, Colorado and
Boulder, Colorado, the Blaha Leases. A copy of the Fort Collins lease is attached hereto as
Exhibit G.

59. The Blaha Leases were signed on January 1, 2016 after the closing on the sale of
WTG to Pure. Despite the closing and the sale of his company, lnniss signed the Blaha Leases
on behalf of WTG. lnniss had no authority to sign the leases for WTG.

60. The Blaha Leases require rent payments that exceed the market rate for
comparable rents.

61. Blaha was paid approximately $500,000 in fraudulent rent payments over the 30
months in which he has collected rent on the Blaha Leases.

62. WTG did not receive equivalent value for the payments made to Blaha on the
Blaha Leases, and the obligations created by the such leases led to the WTG insolvency, or in the
alternative WTG was engaged in a business for which the property remaining with WTG was
unreasonably small in relation to the business, or alternatively WTG intended to incur, or
believed that it would incur, debts that would be beyond its ability to pay as the debts matured

WHEREFORE, the Plaintiffs pray as hereinafter set forth.

FIFTH CLAIM FOR RELIEF
(Avoidance of fraudulent transfer of payments to Blaha)
63. The Plaintiffs restate herein each and every allegation contained in the foregoing
paragraphs of this Complaint.
62. During the period of time extending from January l, 2016 until the Petition Date,
Blaha caused to be made directly to himself or to others on his behalf, a number of payments
including but not limited to, $650,000 in “bonuses”, in excess of $l78,958.75 in pension

payments, and $149,743 in tax payments for a total of $978,701.75 (collectively “Blaha

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Transfers”) in distributions that were not authorized not disclosed, and were fraudulent as to the
Plaintiffs.

63. Plaintiffs did not receive equivalent value for the payments made to Blaha with
respect to the Blaha Transfers, and the Blaha Transfers led to the Plaintiffs insolvency, or in the
alternative Plaintiffs were engaged in a business for which the property remaining with Plaintiffs
was unreasonably small in relation to the business, or alternatively Plaintiffs intended to incur, or
believed that it would incur, debts that would be beyond their ability to pay as the debts matured

WHEREFORE, the Plaintiffs pray as hereinafter set forth.

SIXTH CLAIM FOR RELIEF
(Avoidance of fraudulent transfer of payments to Inniss)

66. The Plaintiffs restate herein each and every allegation contained in the foregoing
paragraphs of this Complaint.

65. During the period of time extending from January l, 2016 until the Petition Date,
Blaha and/or lnniss caused to be made directly to lnniss or to others on his behalf, a number of
payments including but not limited to, $150,000 in “bonuses”, in excess of $28,616.24 in
pension payments for 2016, additional pension payments for 2017, 2015 sales tax payments that
should have been paid back by lnniss, and $358,000 to lnniss to enable his tax payments for a
total of $536,616.24 (collectively “Inniss Transfers”) in distributions that were not authorized
not disclosed and were fraudulent as to the Plaintiffs

66. Plaintiffs did not receive equivalent value for the payments made to lnniss with
respect to the lnniss Transfers, and the lnniss Transfers led to the Plaintiffs insolvency, or in the
alternative Plaintiffs were engaged in a business for which the property remaining with Plaintiffs
was unreasonably small in relation to the business, or alternatively Plaintiffs intended to incur, or
believed that it would incur, debts that would be beyond their ability to pay as the debts matured

WHEREFORE, the Plaintiffs pray as hereinafter set forth.

SEVENTH CLAIM FOR RELIEF
(Avoidance of fraudulent transfer of payments to Susan)
67. The Plaintiffs restate herein each and every allegation contained in the foregoing

paragraphs of this Complaint.

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68. During the period of time extending from January l, 2016 until the Petition Date,
Blaha caused to be made directly to Susan or to others on her behalf, a number of payments
including but not limited to, $36,000 per year in “salary” that was paid for no activity on her part
totaling at least $84,000 and $17,985.61 in pension payments for a total of $101,985 (collectively
“Susan Transfers”) in distributions that were not authorized, not disclosed, and were fraudulent
as to the Plaintiffs.

69. Plaintiffs did not receive equivalent value for the payments made to Susan with
respect to the Susan Transfers, and the Susan Transfers led to the Plaintiffs insolvency, or in the
alternative Plaintiffs were engaged in a business for which the property remaining with Plaintiffs
was unreasonably small in relation to the business, or alternatively Plaintiffs intended to incur, or
believed that it would incur, debts that would be beyond their ability to pay as the debts matured

WHEREFORE, the Plaintiffs pray as hereinafter set forth.

EIGHTH CLAIM FOR RELIEF
(Breach of Fiduciary Duty as to Blaha and Inniss)

70. The Plaintiffs restate herein each and every allegation contained in the foregoing
paragraphs of this Complaint.

71. During the time period extending from January 1, 2016 through the year 2017,
both Blaha and Inniss owed fiduciary duties to Pure and WTG. In the case of Blaha, he was
retained by Pure months in advance of the merger Both Blaha and Inniss were, in the case of
Blaha director and officer of both entities and in the case of Inniss a former owner, officer, and
director of WTG and a material shareholder in Pure. Both individuals held themselves out as
owners, officers, and directors of the companies Blaha was during this time period the only
material officer of both companies.

72. Blaha and Inniss owed fiduciary duties of loyalty, care and good faith to Pure and
WTG, and the shareholders of Pure.

73. Both Blaha and lnniss participated in a number of the breaches of fiduciary duty
set forth herein such as the execution of new retail store leases for WTG on January l, 2016 for
the sole benefit of Blaha and Inniss’s mother Susan when neither person had authority to do so,
the payment of salary to Inniss and Susan and So-called bonus payments to Blaha, Inniss and

Susan when they were neither earned nor authorized the payment of tax payments, and the

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payment of pension plan payments and other corporate benefits to Blaha, lnniss and Susan when
they were neither earned nor authorized

74, All of the diverted funds described herein went to the direct benefit of Blaha,
Inniss, and Susan at the detriment of Pure and WTG. Such transfers left each of Pure and WTG
with a greatly diminished ability to operate its business and make payments on the Note.

75. The direct result of the transfers described herein was harm to Pure and WTG and
Blaha, lnniss and Susan should be held accountable and repay such funds.

WHEREFORE, the Plaintiffs pray as hereinafter set forth.

NINTH CLAIM FOR RELIEF
(Conversion of funds as to all Defendants)

76. The Plaintiffs restate herein each and every allegation contained in the foregoing
paragraphs of this Complaint.

77. The Defendants asserted and acted as if they were authorized rights and control
over property owned by the Plaintiffs, Pure and WTG.

78. The Defendants had no right or authorization to exercise such rights and control
over the Plaintiffs’ property, namely cash and corporate property,

79. The Plaintiffs, Pure and WTG, had the right to the use and control of the funds
converted by the Defendants at the time of conversion.

80. In several cases, Pure and WTG demanded the turnover of funds, bank accounts,
and other assets however Blaha and Inniss delayed and refused to turn over the assets and
property.

81. The damages to the Plaintiffs include all of the funds converted by the Defendants

plus interest from the date of conversion.

WHEREFORE, the Plaintiffs pray as hereinafter set forth.

TENTH CLAIM F()R RELIEF
(Fraudulent transfer of Blaha and Susan Leases)

82. The Plaintiffs restate herein each and every allegation contained in the foregoing

paragraphs of this Complaint.

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83. On January 1, 2016 the Blaha and Susan Leases were executed by and between
Blaha and Susan or entities they owned and controlled and lnniss purportedly on behalf of WTG.
Inniss had no authority at all to execute the Blaha and Susan Leases on behalf of WTG and Blaha
and Susan were aware of that fact.

84. The Blaha and Susan Leases had the effect of transferring substantial money from
WTG, far in excess of the fair rental value of the properties for Which the rent was being paid

85. While the Blaha and Susan Leases were executed on January 1, 2016, the Board
of Directors of Pure the new owner of WTG as never consulted about the new leases, the excess
rent called for under the leases and the extended term of the leases.

86. Since Blaha was an officer and director of Pure, Blaha would have had a fiduciary
duty to require such leases to be on market rates and terms. Blaha had prior to closing
represented to Byrd that the leases were all at market rates.

87. The Plaintiffs did not receive equivalent value for the obligations incurred under
the Susan and Blaha Leases, and the Susan and Blaha Leases led to the Plaintiffs insolvency, or
in the alternative Plaintiffs were engaged in a business for which the property remaining with
Plaintiffs was unreasonably small in relation to the business, or alternatively Plaintiffs intended
to incur, or believed that it would incur, debts that would be beyond their ability to pay as the
debts matured

88. The Blaha and Susan Leases should be avoided and Blaha, Susan, and lnniss
should be required to repay the Plaintiff WTG for all funds paid to Blaha and Susan on such
leases over and above fair rental value of the underlying properties.

WHEREFORE, the Plaintiffs pray as hereinafter set forth.

ELEVENTH CLAIM FOR RELIEF
(Disallowance of claim under 11 U.S.C. §502)

89. The Plaintiffs restate herein each and every allegation contained in the foregoing

paragraphs of this Complaint.

90. All Defendants have received transfers from the Plaintiffs that are subject to

avoidance as set forth herein.

91. None of the Defendants have repaid or transferred back to the Plaintiffs the

money or property that is subject to avoidance.

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92. Pursuant to ll U.S.C.§502(d) any claim held by any of the Defendants should be
disallowed
WHEREFORE, the Plaintiffs pray as hereinafter set forth.

TWELTH CLAIM FOR RELIEF
(Subordination of Defendants’ claims)

93. The Plaintiffs restate herein each and every allegation contained in the foregoing
paragraphs of this Complaint.

94. The conduct of the Defendants which is set forth herein is inequitable as to the
Plaintiffs and includes fraud, misrepresentations, unauthorized use of corporate funds,
misappropriation of assets, breaches of fiduciary duty and unfair conduct along with culpability
for the actions they took with respect to the Plaintiffs.

95. The Defendants are all insiders With respect to the Plaintiffs at the time of their
wrongful conduct as set forth herein.

96. Blaha acted as an agent on behalf of the Plaintiffs, Pure and WTG, during the
time period involving the activities set forth herein and at all such times he was working in
concert with lnniss and Susan. At all such times the Defendants took advantage of the Plaintiffs,
ignored the Plaintiffs’ corporate structure, and transferred assets for their own benefit to the
detriment of the Plaintiffs,

97. Pursuant to 11 U.S.C. §510(0)(1) the Court may, under principles of equitable
subordination, subordinate for purposes of distribution all or part of an allowed claim to all or
part of another claim owed by the Plaintiffs.

98. The claims of the Defendants should be subordinated to the allowed unsecured
creditors of each of the Plaintiffs and the interests of each of the Plaintiffs.

99. Pursuant to 11 U.S.C. §510(c)(2) the Court should transfer to the estate the lien
held by Inniss which secures his claim.

WHEREFORE, Plaintiffs pray that the Court make and enter judgment in favor of the
Plaintiffs:

a) declaring that the Inniss note is not enforceable as to WTG and GDA and that neither
WTG nor GDA pledged their assets to secure the Inniss Note;

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b) avoiding any obligation and any security interest owing to lnniss by WTG and GDA in
this case as a fraudulent conveyance under applicable federal and state law;

c) avoiding the transfer of all rent payments made to Blaha, Blue, and Susan over and
above the fair rental value of the properties leased to WTG, the Excess Rent, in an amount to be
proven at trial;

c) avoid any fraudulent or otherwise avoidable transfers made to the Defendants during the
time extending from January l, 2016 until the Petition Date for recovery for the benefit of the estate;

d) enter judgment against all Defendants in an amount to be proved at trial for breach of
their fiduciary duties owed to the Plaintiffs;

e) enter judgment against all Defendants in an amount to be proved at trial equal to the
amount of funds and property converted from the Plaintiffs plus interest thereon;

D avoid all obligations arising under the Blaha, Blue, and Susan leases as fraudulent
conveyances;

g) disallow all claims held by the Defendants under 11 U.S.C. §502(d);

h) subordinate to the claims of all creditors and the equity of interest holders the claims of
the Defendants and in the case of lnniss transfer his liens to the estates; and

i) for such further and additional relief as to the Court may appear proper.

Dated: lune 27, 2018 Respectfully submitted,

By: /s/ Lee M. Kumer
Lee M. Kutner, #10966

KUTNER BRINEN, P.C.
1660 Lincoln Street, Suite 1850
Denver, CO 80264

Telephone: (303) 832-2400
Telecopy: (303) 832-1510
E-Mail: lmk@kutnerlaw.com

COUNSEL FOR THE PLA]NTIFFS

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EXHIBIT A

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AMENDED AND RESTATED

AGREEMENT AND PLAN OF MERGER AND R_EORGANIZATION

BY AND AMONG

PUR HYDROPONIC SOLUTIONS, INC.,
PUR MERGER SUB l, INC.,
PUR MERGER SUB 2, INC.,
WAY TO GROW, INC.
and

COREY INNISS

JANUARY 1, 2016

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AMENDED AND RESTATED

AGREEMENT AND PLAN OF MERGER AND REORGANIZATION

THIS AMENDED AND RESTATED AGREEMENT AND PLAN OF MERGER AND
REORGANIZATION (this “Agreement”), dated as of January l, 2016, is entered into by and
among PUR HYDROPONIC SOLUTIONS, INC., a Nevada corporation (“Purchaser”), PUR
MERGER SUB 1, INC., a Nevada corporation and a wholly owned subsidiary of Purchaser
(“PSubl”), PUR MERGER SUB 2, INC., a Nevada corporation and a wholly owned subsidiary
of Purchaser (“PSub2”), WAY TO GROW, INC., a Colorado corporation (“Way to Grow” or the
“Company”), and CORBY INNISS (“Ylle_r”).

RECITALS

WHEREAS, on October 22, 2015, each of Purchaser, PSubl, PSub2, Way to Grow and Seller
entered into an Agreement and Plan of Merger and Reorganization (the “Original Agreemen ”);

WHEREAS, the parties have agreed to modify terms of the Original Agreement and to amend and
restate the Original Agreement in its entirety and to replace the Original Agreement with this Agreement;

WHEREAS, there are currently 100 shares of Way to Grow common stock issued and
outstanding (the “Wav to Grow Common Stock”).

WHEREAS, Seller owns all of the issued and outstanding Way to Grow Common Stock.

WHEREAS, Way to Grow operates a number of retail stores selling a wide variety of hydroponic
supplies and equipment, including but not limited to magnetic ballasts, cultivation tents, digital
atmospheric controllers and recycling timers, as well as a wide range of nutrient solutions (the
“Business”)_

WHEREAS, Purchaser and PSubl and the board of directors of Way to Grow (the “Way to Grow
Board of Directors”) deem it advisable and in the best interests of each corporation and its respective
stockholders that Purchaser and Way to Grow engage in a business combination transaction as
contemplated by this Agreement

WHEREAS, Purchaser, PSubl and Way to Grow intend to effect a merger of PSubl with and into
Way to Grow (the “First Merger”) upon the terms and subject to the conditions of this Agreement and in
accordance with the Colorado Corporations and Associations Act (the “CCAA”). Upon consummation of
the First Merger, PSubl will cease to exist, and Way to Grow will continue as a wholly owned subsidiary
of Purchaser.

WHEREAS, on the Closing Date immediately after the First Merger, Purchaser, PSub2 and Way
to Grow intend to effect a merger of Way to Grow within and into Psub2 (the “Second Merger” and,
together with the First Merger, the “Mergers”) upon the terms and subject to the conditions of this
Agreement and in accordance with the CCAA. Upon consummation of the Second Merger, Way to Grow
will cease to exist, and PSub2 will continue as a wholly owned subsidiary of Purchaser.

WHEREAS, Purchaser and Way to Grow intend, by executing this Agreement, that the First
Merger and the Second Merger are integrated steps in a single transaction and together will qualify as a
tax-free reorganization within the meaning of Section 368 of the Code.

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WHEREAS, this Agreement has been approved by Purchaser, PSubl, PSub2 and the Way to
Grow Board of Directors.

WHEREAS, contemporaneously with the execution and delivery of this Agreement, and as a
condition and inducement to Purchaser’s willingness to enter into this Agreement, each of the individuals
identified on Exhibit A (the “Kev Employees”) is entering into an employment agreement with Purchaser
in the form attached hereto as Exhibit B (an “Employment Agreement”).

AGREEMENT
NOW, THEREFORE, intending to be legally bound, the parties to this Agreement hereby agree as
follows:
l.
Definitions
l.l. Definitions.
(a) As used in this Agreement, the following terms have the following meanings:

“Affiliate” means, with respect to any Person, any other Person directly or indirectly controlling,
controlled by, or under common control with such Person. For purposes of this defmition, “control,”
when used with respect to any specified person, means the power to direct or cause the direction of the
management and policies of such Person, directly or indirectly, whether through ownership of voting
securities or by contract or otherwise, and the terms “controlling” and “controlled by” have correlative
meanings to the foregoing

l.“ ggregate Consideration” means (a) the Cash Payment; pl£ (b) the Seller Note; IM (c) the
Payment Shares, subject to the Clawback; minus (c) the amount of any Way to Grow Transaction
Expenses.

 

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‘Applicable Law” means, with respect to any Person, any federal, state, common, local,
municipal, foreign or other law, constitution, treaty, convention, ordinance, code, rule, circular, guidance
notes, regulation, order, injunction, judgment, decree, ruling or other similar requirement enacted,
adopted, promulgated or applied by a Governrnental Authority that is binding upon or applicable to such
Person, as amended unless expressly specified otherwise

“Balance Sheet Date” means December 31, 2014.

“Business Day” means a day, other than Saturday, Sunday or other day on which commercial
banks in New York, New York are authorized or required by Applicable Law to close.

“Cash Payment” means payment of Two Million Five Hundred Thousand United States Dollars
(US$2,500,000) in cash to Seller upon the execution hereon

“Clawback” means (i) if, on the first anniversary of the date of the Closing, the Purchaser’s
revenues attributable to the Business acquired from Seller for the 12-month period ending on the last day
of the month preceding the date of such first anniversary (“WTG Year 1 Revenues”) are less than 90% of
Way to Grow’s revenues for the lZ-month period ending on the last day of the month preceding the date
hereof (using the same methodology in each instance), then 3,125,000 of the Payment Shares shall be
forfeited, and cancelled by Purchaser, as soon as practicable following the determination of the WTG Year
l Revenues and the comparison; and (ii) if, on the second anniversary of the date of the date hereof, the
Purchaser’s revenues attributable to the business acquired from Seller for the 12-month period ending on

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the last day of the month preceding the date of such second anniversary (“WTG Year 2 Revenues”) are
less than 90% of Way to Grow’s revenues for the lZ-month period ending on the last day of the month
preceding the date hereof (using the same methodology in each instance), then 3,125,000 of the Payment
Shares shall be forfeited, and cancelled by Purchaser, as soon as practicable following the determination
of the WTG ¥ear 2 Revenues and the comparison; provided however, if the employment of J ames Blaha
is terminated by Purchaser without Cause or by such employee for Good Reason (as such terms are
defined in the Employment Agreement(s)), then, effective as of the date of such terminationJ the
Clawback shall be of no further force or effect and the Payment Shares shall no longer be subject to
forfeiture

“Closing Indebtedness” means the aggregate principal amount of, and accrued interest on, all
Indebtedness of Way to Grow as of the close of business on the day immediately preceding the Closing
Date.

“Code” means the United States Internal Revenue Code of 1986.

“Consent” means any approval, consent, ratification pennission, waiver or authorization
(including any Permit).

“Contract” means any contract, agreement, indenture, note, bond, loan, license, instrument, lease,
commitment, plan or other arrangement, whether oral or written

“Copyrights” means (i) mask work rights, registrations and applications for registration thereof
throughout the world and (ii) copyrights in works of authorship of any type, registrations and applications
for registration thereof throughout the world, all rights therein provided by international treaties and
conventions, all moral and common-law rights thereto, and all other rights associated therewith

“Damages” include any loss, damage, injury, lost opportunity, liability, claim, demand,
settlement, judgment, award, fine, penalty, Tax, fee (including reasonable attorneys’ fees), charge, cost
(including reasonable costs of investigation) or expense of any nature (including reasonable costs of
investigation and any fees, charges, costs and expenses associated with any Proceeding commenced by
any Indemnitee for the purpose of enforcing any of its rights under Article 9), but excluding punitive
Damages other than as owed to a third party. F or the avoidance of doubt, “Damages” will not include any
losses attributable to the decline in the trading price of the Purchaser’s common stock.

“Disclosure Schedule” means the disclosure schedule regarding this Agreement that has been
provided by Seller and Way to Grow to Purchaser and dated the date of this Agreement.

“Employee” means any employee of Way to Grow.

“Environmental Laws” means any Applicable Law or any agreement with any Governmental
Authority or other Person, relating to human health and safety, the environment or to Hazardous
Substances.

“Environmental Permits” means all pennits, licenses, franchises, certificates, approvals,
notifications, allowances, credits, waivers, exemptions and other similar authorizations of Governmental
Authorities relating to or required by Environmental Laws and affecting, or relating in any way to, the
business of Way to Grow as currently conducted

“ERISA” means the Employee Retirement Income Security Act of 1974.

“Exchange Act” means the Securities Exchange Act of 1934, as amended

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“Foreground lP” means all Intellectual Property Rights developed conceived or created by Way
to Grow specifically to meet the requirement of a Contract to which Way to Grow is a party that are
incorporated into a Way to Grow Product, and that are assigned to a third party.

“Former Employee” means any person who was previously an Employee.

“Fundamental Renresentations” means the representations and warranties set forth in Sections
3.01, 3.02, 3.05, 3.18, 3.23, 3.24, 4.01, 4.02, 4.05, 4.08 and 4.09.

 

“Generallv Available Software” means “off-the-shelf” or “shrink-wrapped” software that (i) is
licensed to Way to Grow solely in executable or object code form pursuant to a nonexclusive, internal use
software license; (ii) is not incorporated into, or used directly in the development, manufacturing, or
distribution of Way to Grow’s products or services; and (iii) is generally commercially available to any
licensee on standard terms.

 

“Govemmental Authority” means any: (i) nation, state, commonwealth, province, territory,
county, municipality, district or other jurisdiction of any nature; (ii) federal, state, local, municipal,
foreign or other govemment; or (iii) governmental or quasigovernmental authority of any nature
(including any governmental division, department, agency, commission, instrumentality, official,
organization unit, body or Person and any court or other tribunal and including any arbitrator and
arbitration panel).

“Hazardous Substances” means any pollutant, contaminant, waste or chemical or any toxic,
radioactive, ignitable, corrosive, reactive or otherwise hazardous substance, waste or material, or any
substance, waste or material having any constituent elements displaying any of the foregoing
characteristics, including petroleum, its derivatives, by-products and other hydrocarbons, and any
Substance, waste or material regulated under any Environmental Law.

“lndebtedness” means, without duplication any liability or obligation of a Person for any amount
owed (including (a) unpaid interest, (b) premium thereon, (c) any Prepayment Penalties and (d) any
payments or premiums attributable to, or which arise as a result of, a change of control of such Person or
any Aftiliate of such Person) in respect of (i) borrowed money, (ii) capitalized lease obligations, (iii)
obligations for the reimbursement of any obligor for amounts drawn on any letter of credit, banker’s
acceptance or similar transaction (iv) obligations for the deferred purchase price of property or services
(other than current liabilities for such property or services incurred in the ordinary course of business, but
including milestone payments and other types of eamouts or contingent payments due for the acquisition
of capital stock or assets of another Person), (v) any obligations with respect to any factoring programs,
and (vi) any liability or obligation of the type described in clauses “(i)” through “(v)” guaranteed by such
Person, that is recourse to such Person or any of its assets or that is otherwise its legal liability or that is
secured in whole or in part by the assets of such Person', provided however, that notwithstanding the
foregoing, Indebtedness shall not be deemed to include any accounts payable recorded as a current
liability and incurred in the ordinary course of business or any obligations under undrawn letters of credit.

“lndemnitees” mean the following Persons, as applicable: (i) Purchaser; (ii) Purchaser’s current
and future Affiliates; (iii) Seller; (iv) Seller’s current and future Affiliates; (v) the respective
Representatives of the Persons referred to in clauses “(i)”, “(ii)”, “(iii)”, and “(iv)” above; and (vi) if
pennitted, the respective successors and assigns of the Persons referred to in clauses “(i),” “(ii)”, “(iii)”,
“(iv)”, “(v)” above.

“lntellectual Pro e Ri hts” means and includes any and all of the rights in or associated with
the following throughout the world: (i) Patents, (ii) Trademarks, (iii) Copyrights, (iv) Trade Secrets
(v) rights in databases and data collections (including knowledge databases, customer lists and customer
databases), whether registered or unregistered (vi) inventions (whether or not patentable) and

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improvements thereto, (vii) all claims and causes of action arising out of or related to infringement or
misappropriation by any of the foregoing, and (viii) any other similar, corresponding or equivalent
proprietary or intellectual property rights now known or hereafter recognized throughout the world

“Knowledge of Purchaser” means the actual knowledge of Richard Byrd, Brian Williams,
Christopher Scott and Robert Donovan, and the knowledge that such individual(s) obtained in the course
of the performance of their respective duties on behalf of Purchaser, as applicable

“Knowledge of Seller” means the actual knowledge of Corey lnniss and/or James Blaha, and the
knowledge that such individual(s) obtained in the course of the performance of their respective duties on
behalf of Way to Grow, as applicable

“Lockup Agreement” means the lockup agreement substantially in the form attached hereto as
Exhibit G.

“Li@” means, with respect to any property or asset, any mortgage, lien, pledge, charge, security

interest, encumbrance or other adverse claim of any kind in respect of such property or asset. For
purposes of this Agreement, a Person shall be deemed to own subject to a Lien any property or asset that
it has acquired or holds subject to the interest of a vendor or lessor under any conditional sale agreement,
capital lease or other title retention agreement relating to such property or asset.
“Malicious Code” means any “back door,” “drop dead device,” “time bomb,” “Trojan horse,”
“virus,” “worm,” “spyware” or “adware” (as such terms are commonly understood in the software
industry) or any other code designed or intended to have, or capable of performing or facilitating, any of
the following functions: (i) disrupting, disabling, harming, or otherwise impeding in any manner the
operation of, or providing unauthorized access to, a computer system or network or other device on which
such code is stored or installed or (ii) compromising the privacy or data security of a user or damaging or
destroying any data or file without the user’s consent

“Material Adverse Eff`ect” means any event, change, development or state of facts (each an
“Effect”) that is or would reasonably be expected to be materially adverse to the business, assets,
liabilities, operations or financial condition of Way to Grow, taken as a whole; provided however. that no
event, change, development or state of facts (i) relating to the United States or foreign economics or
securities or financial markets in general, (ii) arising in connection with earthquakes, hostilities, acts of
war, sabotage or terrorism or military actions or any escalation or material worsening of any such
hostilities, acts of war, sabotage or terrorism or military actions, whether arising before, on or after the
date hereof, or (iii) resulting from any change in Applicable Law or in US GAAP, shall be deemed in
themselves to constitute a Material Adverse Effect; provided further, however, that, in the case of clauses
(i), (ii) or (iii), to the extent such Effects, individually or in the aggregate, have a disproportionate impact
on Way to Grow relative to other Persons in similar businesses, such Effects shall, in each case, be
deemed in themselves, to constitute a Material Adverse Effect.

“Open Source Software” means any Software licensed provided or distributed under any open-
source or similar license, or that is otherwise subject to any “copyleft” or other obligation or condition
(including any obligation or condition under any “open source” license) to a third party that requires or
conditions the use or distribution of such Software on, (i) the disclosure, licensing, or distribution of any
source code for such Software, or (ii) the granting to licensees of the right to make derivative works or
other modifications to such Software.

“Organizational Documents" means, with respect to any Person other than a natural Person, the
documents (i) by which such Person was organized (such as a certificate of incorporation certificate of
limited partnership, articles of incorporation or articles, organization certificate of formation,
memorandum or association or articles of association and including, without limitation any certificates

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of designation for preferred stock or other forms of preferred equity), and all amendments thereto, (ii)
which relate to the internal governance of such Person (such as by-laws, a partnership agreement or an
operating, limited liability or members agreement (but shall not include any stockholders agreement
relating to such Person)), and all amendments thereto, and (iii) which serve as equivalent constituent
documents as those set forth in clause (i) or (ii) in any foreign jurisdiction

“Original Principal Amount” means $22,500,000.

“Patents” means patents and statutory invention registrations and disclosures relating thereto, in
any jurisdiction worldwide, and all rights therein provided by international treaties and conventions

“Payment Shares" means 12,500,000 shares of Purchaser’s common stock, par value $0.001.

“Pension Benefits” means any pension, superannuation, or retirement (including on early
retirement) benefits (including in the form of a lump sum).

“Pension Plans” means the stakeholder pension plans provided by National Pension Partners
offered by Way to Grow to Employees.

“Person” means an individual, corporation partnership, limited liability company, association
trust or other entity or organization including a Governmental Authority.

“Personal Data” means a natural person’s name, street address, telephone number, e-mail address,
photograph, social security number or tax identification number, driver’s license number, passport
number, credit card number, bank account information and other financial information, customer or
account numbers, account access codes and passwords, or any other piece of information that allows the
identification of such natural person or enables access to such person’s financial information

“Pre-Closing Tax Period” means any Tax period ending on or before the Closing Date.

“Prepayment Penalties” means any prepayment penalties, breakage costs, fees, expenses or
similar charges arising as a result of the discharge of any lndebtedness.

“Proceeding” means any action, suit, litigation, arbitration proceeding (including any civil,
criminal, administrative, investigative or appellate proceeding), hearing, inquiry, audit, examination or
investigation commenced brought, conducted or heard by or before, or otherwise involving, any court or
other Governmental Authority or any arbitrator or arbitration panel.

“Qualified Event” means the first to occur of the following: (i) the date on which the Purchaser
closes on an equity financing in an amount that is not less than $40,000,000; and (ii) December 31, 2016.

“Registered IP” means all Intellectual Property Rights that are registered filed or issued under
the authority of any Governmental Authority, including all Patents, registered Copyrights, registered

Trademarks, registered databases, and domain names and all pending applications for any of the
foregoing

“Representatives” means a Person’s officers, directors, employees, agents, attorneys, accountants,
advisors and other authorized representatives.

“SEC” means the United States Securities and Exchange Commission.

“Securities Act” means the Securities Act of 1933.

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“Seller Note” means that secured promissory note issued by Purchaser in favor of Seller in the
Original Principal Amount in the form attached hereto as Exhibit F, to be paid upon a Qualified Event.

“Software” means computer software, programs, and databases in any form, including source
code, object code, operating systems and specifications, data, databases, database management code,
tools, developers k_its, utilities, graphical user interfaces, menus, images, icons, forms and software
engines, and all versions, updates, corrections, enhancements and modifications thereof, and all related
documentation developer notes, comments, and annotations

“Straddle Period” means any period beginning before the Closing Date and ending after the
Closing Date.

“Subsidiar_'y” means, with respect to any Person, any entity of which securities or other
ownership interests having ordinary voting power to elect a majority of the board of directors or other
persons performing similar functions are at any time directly or indirectly owned by such Person.

“Lix” means any and all taxes, including (i) any net income, alternative or add-on minimum,
gross income, gross receipts, sales, use, ad valorem, value added transfer, franchise, profits, license,
registration, recording, documentary, conveyancing, gains, withholding, payroll, employment, excise,
severance, stamp, occupation premium, property, environmental or windfall profit, custom duty,
governmental fee or other like assessment or charge of any kind whatsoever in the nature of a tax,
together with any interest, penalty, addition to tax or additional amount imposed by any Governmental
Authority responsible for the imposition of any such tax (United States (federal, state or local) or foreign),
(ii) in the case of Way to Grow, any liability for the payment of any amount described in clause (i) as a
result of being or having been before the Closing Date a member of an affiliated consolidated combined
or unitary group, and (iii) liability for the payment of any amounts of the type described in clause (i) as a
result of being party to any agreement or any express or implied obligation to indemnify any other Person

“Tax Retum” means any return, report, declaration, claim for refund information return or other
document (including schedules thereto, other attachments thereto, amendments thereof, or any related or
supporting information) filed or required to be filed with any taxing authority in connection with the
determination, assessment or collection of any Tax, or the administration of any laws, regulations or
administrative requirements relating to any Tax.

“Technology” means and includes embodiments and implementations of lntellectual Property
Rights, whether in electronic, written or other media, including Software, design and manufacturing
schematics, bills of material, build instructions, test reports, algorithms, user interfaces, routines,
formulae, test vectors, IP cores, net lists, photomasks, databases, data collections, diagrams, recipes,
manufacturing process technology, network configurations and architectures, proprietary technical
information protocols, layout rules, packaging and other specifications, techniques, interfaces,
verification tools, works or authorship, lab notebooks, development and lab equipment, know-how,
inventions and invention disclosures, and all other forms of technology, in each case whether or not
registered with a Governmental Authority or embodied in any tangible form.

“Third Parg{ l ” means all Intellectual Property Rights and Technology owned by third parties,
including Third Party Software, that is either (i) licensed offered or provided by Way to Grow to
customers of Way to Grow as part of or in conjunction with any Way to Grow Product, or (ii) otherwise
used by Way to Grow or its Affiliates in connection with the Business.

“Third Par_ty Software” means all Software (excluding Generally Available Software) owned by
third parties, including Affiliates of Way to Grow Way to Grow that is either (i) licensed offered or
provided to customers of Way to Grow as part of or in conjunction with any Way to Grow Product, or (ii)
otherwise used by Way to Grow or its Affiliates in connection with the Business.

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“Trademarks” means trademarks, service marks, service names, trade dress, logos, trade names,
corporate names, business names, slogans, URL addresses, lnternet domain names and other indicia of
source or origin, including the goodwill of the business symbolized thereby or associated therewith, all
common-law rights thereto, registrations and applications for registration thereof throughout the world
and all rights therein provided by international treaties and conventions

“Trade Secrets” means all rights in any jurisdiction in know-how and other confidential or
proprietary technical, business, and other know-how and information including confidential or
proprietary manufacturing and production processes and techniques, research and development
information, technology, drawings, specifications, designs, plans, proposals, technical data, bills of
material, financial, marketing, and business data, pricing and cost information, business and marketing
plans, customer and supplier lists and other similar information

“'l`ransaction" means the transactions contemplated by this Agreement.

“Way to Grow lP” means all Intellectual Property Rights and Technology owned or purported to
be owned by Way to Grow.

“Way to Grow Products” means all of the (a) products or Software that Way to Grow (i) currently
owns, develops, manufactured markets, distributes, sells, licenses, or otherwise makes available to third
parties, or (ii) has owned developed manufactured marketed distributed sold licensed or otherwise
made available to third parties since inception, and (b) services that Way to Grow (i) currently provides,
licenses or otherwise makes available to third parties, or (ii) has provided licensed or otherwise made
available to third parties since inception

“Wav to Grow Proprietarv Software” means Software owned or purported to be owned by Way to
Grow or its Affiliates and used in, held for use in, or related to the conduct of the Business.

“Way to Grow Real Propeg{” means the Owned Real Property and the Leased Real Property.

“Wav to Grow Transaction Expenses” means, to the extent unpaid at Closing, (i) any fees and
disbursements incurred by or on behalf of Way to Grow and payable to any financial advisor, investment
banker, broker or finder in connection with the Transaction; (ii) the fees and disbursements payable to
legal counsel or accountants of Way to Grow that are payable by Way to Grow in connection with the
Transaction; (iii) any bonuses, severance, termination payments or other change-in-control or other
transaction-related payments payable to any director, officer, employee or other service provider of Way
to Grow in connection with the Transaction and to the extent not already taken into account in this clause
(iii), any payroll taxes incurred or to be incurred by Way to Grow in connection therewith; and (iv) all
other miscellaneous out-of-pocket expenses or costs, in each case, incurred by Way to Grow in connection
with the Transaction.

(b) Each of the following terms is defined in the Section set forth opposite such term:

T€M M
Agreement Preamble
Amended and Restated Certificate of lncorporation 2.04(a)
Anti-Corruption Law 3.10(0)(iii)
Audit 6.05
Business Recitals

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Claim

Claim Dispute Notice
Closing

Closing Date

CCAA

Deductible

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1.2. Definitional and lnterpretative Provisions.

(a) The words “hereof,” “herein” and “hereunder” and words of like import used in this

Agreement shall refer to this Agreement as a whole and not to any particular provision of this
Agreement.

(b) The captions herein are included for convenience of reference only and shall be ignored
in the construction or interpretation hereof. References to Articles, Sections, Exhibits and
Schedules are to Articles, Sections, Exhibits and Schedules of this Agreement unless otherwise
specified

(c) All Exhibits and Schedules annexed hereto or referred to herein are hereby incorporated
in and made a part of this Agreement as if set forth in full herein. Any capitalized terms used in
any Exhibit or Schedule but not otherwise defined therein, shall have the meaning as defined in
this Agreement

(d) Any singular term in this Agreement shall be deemed to include the plural, and any plural
term the singular, and words denoting either gender shall include both genders as the context
requires Where a word or phrase is defined herein, each of its other grammatical forms shall have
a corresponding meaning.

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(e) Whenever the words “include,” “includes” or “including” are used in this Agreement,
they shall be deemed to be followed by the words “without limitation,” whether or not they are in
fact followed by those words or words of like import

(f) The use of the word “or” shall not be exclusive
(g) The word “will” shall be construed to have the same meaning and effect as the word
“shall.”

(h) The word “party” shall, unless the context otherwise requires, be construed to mean a
party to this Agreement. Any reference to a party to this Agreement or any other agreement or
document contemplated hereby shall include such party’s successors and permitted assigns

(i) A reference to any legislation or to any provision of any legislation shall include any
modification, amendment, re-enactment thereof, any legislative provision substituted therefore
and all rules, regulations and statutory instruments issued or related to such legislation

(j) Any rule of construction to the effect that ambiguities are to be resolved against the
drafting party shall not be applied in the construction or interpretation of this Agreement. No
prior draft of this Agreement nor any course of performance or course of dealing shall be used in
the interpretation or construction of this Agreement. No parole evidence shall be introduced in
the construction or interpretation of this Agreement unless the ambiguity or uncertainty in issue is
plainly discernable from a reading of this Agreement without consideration of any extrinsic
evidence. Although the same or similar subject matters may be addressed in different provisions
0f` this Agreement,. the parties intend that, except as reasonably apparent on the face of the
Agreement or as expressly provided in this Agreement, each such provision shall be read
separately, be given independent significance and not be construed as limiting any other provision
of` this Agreement (whether or not more general or more specific in scope, substance or content)_
The doctrine of election of remedies shall not apply in constructing or interpreting the remedies
provisions of this Agreement or the equitable power of a court considering this Agreement or the
Transaction.

(k) Any statement in this Agreement to the effect that any information, document or other
material has been “made available” to Purchaser or any of` its Representatives means that such
information, document or other material was (i) posted to the electronic data room hosted by or
on behalf of Way to Grow in connection with the Transaction (and made available on a
continuous basis for review therein by Purchaser and its Representatives) no later than 12:01
a.m., Eastern Time, on the date that is three Business Days prior to the date of this Agreement, or
(ii) made available to Purchaser and its Representatives for review on location at Way to Grow’s
facilities

Description of the Transaction
2.1. The Closing; The Mergers.

(a) The Closing. The consummation of` the transactions contemplated by this Agreement (the
“Closing”) shall take place at the offices of Lucosky Brookman LLP, 101 Wood Avenue South, 5th
Floor, Iselin, NJ 08830 at 12:01 a.m. local time on January 1, 2016, or at such other time, date
and location as the parties hereto agree; provided however, to the extent Purchaser and Seller so
agree, documents may be delivered and exchanged at the Closing by facsimile, PDF, or other
electronic means in lieu of an in-person closing. The date on which the Closing actually takes
place is referred to in this Agreement as the “Closing Date.”

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(b) The First Merger. Upon the terms and subject to the conditions set forth in this
Agreement, on the Closing Date, PSubl shall be merged with and into Way to Grow, the separate
existence of PSubl shall cease, and Way to Grow will continue as the surviving corporation in the
First Merger (the “First Merger Surviving Entitv”). The First Merger shall have the effects set
forth in this Agreement and in the applicable provisions of the CCAA.

(c) The Second Merger. Upon the terms and subject to the conditions set forth in this
Agreement, on the Closing Date immediately after the consummation of the First Merger, the
First Merger Surviving Entity shall be merged with and into PSub2, the separate existence of First
Merger Surviving Entity shall cease, and PSub2 will continue as the surviving corporation in the
Second Merger (the “Surviving Entity”). The Second Merger shall have the effects set forth in
this Agreement and in the applicable provisions of the CCAA.

2.2. Closing Deliveries.
(a) Seller Closing Deliveries. At the Closing, Seller shall deliver, or cause to be delivered to
Purchaser, for cancellation, stock certificates representing in the aggregate all of the issued and

outstanding shares of Way to Grow Common Stock.

(b) Purchaser Closing Deliveries. At the Closing (except as expressly set forth below),
Purchaser shall deliver, or cause to be delivered the following:

 

(i) to Seller, on January 4, 2016, the Cash Payment by wire transfer of immediately
available funds to the account designated by Seller;

(ii) to Seller, the executed Seller Note and any exhibits and Schedules related thereto;
and

(iii) to Seller, stock certificates representing the Payment Shares, subject to the
Clawback and the Lockup Agreement.

2.3. Effective Times. Subject to the terms and conditions set forth in this Agreement, on the
Closing Date, a Certificate of Merger substantially in the form of Exhibit C (the “First Merger
Certificate of Merger”) shall be duly executed by PSubl and Way to Grow and thereafter filed
with the Secretary of State of the State of Nevada. The First Merger shall become effective at the
effective time stated in the First Merger Certificate of Merger with the Secretary of State of the
State of Nevada on or prior to the Closing Date (the time the First Merger becomes effective
being referred to herein as the` “First Merger Effective Time”). Subject to the terms and
conditions set forth in this Agreement, on the Closing Date, a Certificate of Merger substantially
in the form of Exhibit D (the “Second Merger Certificate of Merger") shall be duly executed by
the First Merger Surviving Entity and PSub2 and thereafter filed with the Secretary of State of the
State of` Nevada. The Second Merger shall become effective at the effective time stated in the
Second Merger Certificate of Merger with the Secretary of State of the State of Nevada on or
prior to the Closing Date (the time the Second Merger becomes effective being referred to herein
as the “Second Merger Effective Time” or the “Effective Time”).

 

2.4. Certificate of Incorporation and Bylaws; Directors and Ofticers; Effect of First
Merger. Unless otherwise determined by Purchaser and Way to Grow prior to the First Merger
Effective Time:

(a) The First Merger Surviving Entity’s certificate of incorporation shall be amended and
restated as of the First Merger Effective Time in accordance with the relevant provisions of the

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CCAA to confirm to the certificate of incorporation of PSubl except that the name of the
corporation shall remain “WAY TO GROW, INC-.”;

(b) the Bylaws of the First Merger Surviving Entity shall be amended and restated as of the
First Merger Effective Time to conform to the Bylaws of PSubl as in effect immediately prior to
the First Merger Effective Time; and

(c) the directors and officers of the First Merger Surviving Entity immediately after the First
Merger Effective Time shall be the individuals identified by Purchaser in its reasonable discretion
prior to the First Merger Effective Time.

2.5. Certificate of Incorporation and Bylaws; Directors and Officers; Effect of Second
Merger. Unless otherwise determined by Purchaser and Way to Grow prior to the Second
Merger Effective Time:

(a) the Surviving Entity’s certificate of incorporation shall be the certificate of incorporation
of PSub2 as in effect immediately prior to the Second Merger Effective Time, as set forth in
Exhibit E hereto (the “Amended and Restated Certificate of` Incort)oration”) and as so amended
such Amended and Restated Certificate of Incorporation shall be the certificate of incorporation
of the Surviving Entity until thereafter changed or amended in accordance with the terms and
conditions stated therein or under Applicable Law;

(b) the Bylaws of the Surviving Entity as of the Second Merger Effective Time shall be the
Bylaws of PSub2 as in effect immediately prior to the Second Merger Effective Time; and

(c) the directors and officers of the Surviving Entity immediately after the Second Merger
Effective Time shall be the individuals identified by Purchaser in its reasonable discretion prior to
the Second Merger Effective Time.

2.6. Effects of First Merger. By virtue of the First Merger and without any further action on
the part of Purchaser, PSubl, Way to Grow or Seller, each share of Way to Grow issued and
outstanding immediately prior to the First Merger Effective Time will be cancelled and
extinguished and will be converted automatically into the right to receive the Aggregate
Consideration. By virtue of the First Merger and without any further action on the part of
Purchaser, PSubl, Way to Grow or Seller, each share of the common stock, no par value, of
PSubl (the “PSubl Common Stock”) outstanding immediately prior to the First Merger Effective
Time shall be converted into, and exchanged for, one newly and validly issued fully paid and
nonassessable share of common stock of the First Merger Surviving Entity. Each certificate
evidencing ownership of shares of PSubl shall evidence ownership of such shares of capital stock
of` the First Merger Surviving Entity.

2.7. Effects of Second Merger. By virtue of the Second Merger and without any frn'ther
action on the part of Purchaser, Psub2, First Merger Surviving Entity or the respective
stockholders thereof, each share of capital stock of the First Merger Surviving Entity that is
issued and outstanding immediately prior to the effective time of the Second Merger shall be
cancelled without any consideration paid therefor and effective as of the effective time of the
Second Merger. By virtue of the Second Merger and without any action on the part of Purchaser,
PSub2, the First Merger Surviving Entity or the respective stockholders thereof, each share of
capital stock of PSub2 that is issued and outstanding immediately prior to the effective time of the
Second Merger shall remain issued and outstanding

2.8. Closing of Way to Grow’s Transfer Books. At the Effective Time, holders of
certificates representing the Way to Grow Common Stock that were outstanding immediately

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prior to the Effective Time shall cease to have any rights as equity holders of Way to Grow, and
the stock transfer books of Way to Grow shall be closed with respect to all shares of Way to
Grow Common Stock outstanding immediately prior to the Effective Time. No further transfer
of any such shares of Way to Grow Common Stock shall be made on such stock transfer books
after the Effective Time.

2.9. Further Actlon. If`, at any time after the Effective Time, any further action is determined
by Purchaser to be necessary or desirable to cany out the purposes of this Agreement or to vest
the Surviving Entity and its subsidiaries or Purchaser with full right, title and possession of and to
all rights and property of PSubl and Way to Grow, the officers and directors of the Surviving
Entity and its subsidiaries and Purchaser shall be fully authorized (in the name of PSubl, in the
name of Way to Grow and otherwise) to take such action.

Representations and Warranties of Seller and Way to Grow

Subject to Section 10.05, except as set forth in the Disclosure Schedule, Seller represents and
warrants to Purchaser:

3.1. Corporate Existence and Power.

(a) Way to Grow is a corporation duly incorporated validly existing and in good standing
under the laws of Colorado and has all requisite corporate power and authority to carry on its
business as now conducted Way to Grow is duly qualified to do business as a foreign corporation
or other entity and is in good standing in each jurisdiction where such qualification is necessary,
except where the failure to be so qualified or in good standing has not had and would not
reasonably be expected to have a Material Adverse Effect.

(b) Section 3.0l(b) of the Disclosure Schedule sets forth a true, correct and complete list of
Way to Grow’s Subsidiaries as of the date of this Agreement. Each of the Subsidiaries of Way to
Grow (i) has been duly organized and is validly existing and in good standing under the
Applicable Laws of the jurisdiction of its organization; (ii) is duly licensed or qualified to do
business and is in good standing as a foreign entity in all jurisdictions in which the conduct of its
business or the activities it is engaged makes such licensing or qualification necessary, except
where the failure to be so licensed qualified or in good standing has not had and would not
reasonably be expected to have a Material Adverse Effect; and (iii) has all requisite corporate
power and authority to carry on its business as now conducted Way to Grow is not a participant
in any joint venture, partnership or similar arrangement Way to Grow has not agreed and is not
obligated to, directly or indirectly, make any future investment in or capital contribution to any
Person,

(c) Seller has made available to Purchaser accurate and complete copies of: (i) the
Organizational Documents of Way to Grow; and (ii) the stock records of Way to Grow. The
minutes and other records of the meetings and other proceedings (including any actions taken by
written consent or otherwise without a meeting) of Way to Grow, the Way to Grow Board of
Directors and all committees thereof, made available to Purchaser by Seller since inception, are
accurate and complete in all material respects. There has not been any violation of any of the
provisions of the Organizational Documents of Way to Grow, and Way to Grow has not taken any
action that is inconsistent in any material respect With any resolution adopted since inception by
the stockholders of Way to Grow, the Way to Grow Board of Directors or any committee thereof,

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3.2. Corporate Authorization. Each of Seller and Way to Grow has all requisite power and
authority to enter into and to perform its obligations under this Agreement; and the execution,
delivery and performance by Seller and Way to Grow of this Agreement have been duly
authorized by all necessary action on the part of Seller and Way to Grow. Assuming the due
authorization, execution and delivery of this Agreement by Purchaser, this Agreement constitutes
the legal, valid and binding obligation of Seller and Way to Grow, enforceable against Seller and
Way to Grow in accordance with its terms, subject to (i) laws of general application relating to
bankruptcy, insolvency and the relief of debtors, and (ii) rules of law governing specific
performance, injunctive relief and other equitable remedies.

3.3. Governmental Authorization. The execution, delivery and performance by Seller and
Way to Grow of this Agreement and the consummation by Seller and Way to Grow of the
Transaction require no action by or in respect of, or filing with, any Governmental Authority
other than (i) compliance with any applicable requirements of applicable U.S. state or federal
securities laws, and (ii) any actions or filings the absence of which would be, individually or in
the aggregate, material to Seller or Way to Grow or impair the ability of Seller or Way to Grow to
consummate the Transaction.

3.4. Non-contravention. The execution, delivery and performance by Seller and Way to
Grow of this Agreement and the consummation of the Transaction do not and will not (i)
contravene, conflict with, or result in any violation or breach of any provision of the
Organizational Documents of Seller or Way to Grow, (ii) assuming compliance with the matters
referred to in Section 3.03, and subject to obtaining the required Way to Grow stockholder
approval, contravene, conflict with or result in a violation or breach of any provision of any
Applicable Law, (iii) assuming compliance with the matters referred to in Section 3.03, and
subject to obtaining the required Way to Grow Stockholder approval, require any consent or other
action by any Person under, constitute a default, or an event that, with or without notice or lapse
of time or both, would constitute a default, under, or cause or permit the termination, cancellation,
acceleration or other change of any right or obligation or the loss of any benefit to which Way to
Grow is entitled under any provision of any Material Contract binding upon Way to Grow or any
material Permit affecting, or relating in any way to, the assets or business of Way to Grow or (iv)
result in the creation or imposition of any Lien (other than Permitted Liens) on any asset of Way
to Grow.

3.5. Capitalization.

(a) The issued and outstanding capital stock of Way to Grow consists solely of 100 shares of
Way to Grow Common Stock, all of which are owned by Seller, free and clear of any Liens. All
outstanding shares of Way to Grow Common Stock have been duly authorized and validly issued
and are fully paid and nonassessable. There are no shares of Way to Grow Common Stock that
remain subject to vesting or forfeiture restrictions Except as otherwise set forth above, there are
no outstanding (i) shares of capital stock or voting securities of Way to Grow, (ii) securities of
Way to Grow convertible into or exchangeable for shares of Way to Grow or voting securities of
Way to Grow or (iii) options or other rights to acquire from Way to Grow, or other obligation of
Way to Grow to issue, any capital stock, voting securities or securities convertible into or
exchangeable for capital stock or voting securities of Way to Grow,

(b) All outstanding shares of Way to Grow Common Stock have been issued and granted in

material compliance with (i) all applicable securities laws and other Applicable Laws and (ii) all
requirements set forth in applicable Contracts.

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(c) Way to Grow has never repurchased redeemed or otherwise reacquired any shares of its
capital stock and there are no outstanding rights or obligations of Way to Grow to repurchase or
redeem any of its securities

(d) Section 3.05(d) of the Disclosure Schedule lists for each Subsidiary of Way to Grow the
percentage of equity securities owned or controlled directly or indirectly, by Way to Grow as of
the date hereof Way to Grow does not have or is not bound by any outstanding subscriptions,
options, warrants, calls, commitments, rights agreements or agreements of any character calling
for it to issue, deliver or sell, or cause to be issued delivered or sold any of its equity securities
or any securities convertible into, exchangeable for or representing the right to subscribe for,
purchase or otherwise receive any such equity security or obligating such Subsidiary to grant,
extend or enter into any such subscriptions, options, warrants, calls, commitments, rights
agreements or other similar agreements There are no outstanding contractual obligations of any
Subsidiary of Way to Grow to repurchase, redeem or otherwise acquire any of its capital stock or
other equity interests All of the shares of capital of each of the Subsidiaries of Way to Grow are
validly issued fully paid (to the extent required under the applicable governing documents) and
nonassessable and are owned by Way to Grow or a Subsidiary of Way to Grow free and clear of
any Liens.

3.6. Financial Statements.

(a) Seller has made available to Purchaser Way to Grow’s unaudited consolidated balance
sheets as of December 31, 2014 and 2013, and the related unaudited consolidated profit and loss
accounts for each of the years ended December 31, 2014 and 2013 and unaudited consolidated
profit and loss accounts for the year ended December 31, 2012, and the unaudited consolidated
balance sheets as ofAugust 31, 2015 (the “Unaudited Year End Balance Sheet”), and the related
unaudited consolidated profit and loss accounts for the year ended December 31, 2014
(collectively, the “Financial Statements”).

(b) The Financial Statements (i) have been prepared from the books and records of Way to
Grow, (ii) complied as to form in all material respects with applicable accounting requirements
with respect thereto as of their respective dates, (iii) to the Knowledge of Seller have been
prepared in accordance with US GAAP applied on a consistent basis throughout the periods
indicated and consistent with each other, and (iv) give a true and fair view, to the Knowledge of
Seller in accordance with US GAAF, of the financial position of Way to Grow at the dates therein
indicated and the results of operations of Way to Grow for the periods therein specified (subject,
in the case of unaudited financial statements for the year ended December 31, 2014, to the
absence of notes and normal year-end audit adjustments, none of which individually or in the
aggregate will be material in amount).

(c) The books of account and other financial records of Way to Grow have been kept
accurately in the ordinary course of business consistent with Applicable Laws in all material
respects consistent with the past practices of Way to Grow and accounts, notes and other
receivables and inventory are recorded accurately in all material respects, and proper and
adequate procedures are implemented to effect the collection thereof on a current and timely
basis

3.7. Absence of Certain Change. Between the Balance Sheet Date and the date of this
Agreement, the business of Way to Grow has been conducted in the ordinary course consistent
with past practices and there has not been:

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(a) any event, occurrence, development or state of circumstances or facts that has had or
would reasonably be expected to have, individually or in the aggregate, a Material Adverse
Effect;

(b) any material damage, destruction, abandonment, or other casualty loss (whether or not
covered by insurance) affecting the business or assets of Way to Grow;

(c) any material amendment of the Organizational Documents (whether by merger,
consolidation or otherwise) of Way to Grow;

(d) any splitting, combination or reclassification of any shares of capital stock of Way to
Grow or declaration, setting aside or payment of any dividend or other distribution (whether in
cash, stock or property or any combination thereof) in respect of any securities of Way to Grow,
or redemption, repurchase or other acquisition or offer to redeem, repurchase, or otherwise
acquire any securities of Way to Grow, other than quarterly dividend payments (including, for the
avoidance of doubt, any estimated amounts necessary to satisfy the 2015 tax liabilities of Seller)
to Seller consistent with past practice and Way to Grow policy;

(e) any issuance, delivery or sale, or authorization of the issuance, delivery or sale of, any
shares of any capital stock of Way to Grow;

(f`) any incurrence of any capital expenditures or any obligations or liabilities in respect
thereof by Way to Grow and in excess of U.S. $100,000 in the aggregate other than incurred in
the ordinary course of business consistent with past practice;

(g) any acquisition (by merger, consolidation, acquisition of stock or assets or otherwise),
directly or indirectly, by Way to Grow of any assets, securities, properties, interests or businesses
of any third party;

(h) any sale, lease, license, or other transfer, or creation or incurrence of any Lien on, any
assets, securities, properties, interests or businesses of Way to Grow, other than sales or licenses
of Way to Grow Products in the ordinary course of business;

(i) the making by Way to Grow of any loans, advances or capital contributions to, or
investments in, any other Person;

(j) the creation, incurrence or assumption by Way to Grow of any lndebtedness, that has
been incurred from time to time under Way to Grow’s existing loan agreements other than in the
ordinary course of business;

(k) (i) the entering into of any Contract that limits or otherwise restricts in any material
respect the ability to compete or the geographic scope of the business of Way to Grow or any of
its Affiliates or any successor thereto or that would reasonably be expected to, after the Closing,
limit or restrict in any material respect Way to Grow, Purchaser or any of their respective
Affiliates, from engaging or competing in any line of` business (including any grant of exclusivity
with respect to lntellectual Property Rights or otherwise), in any location or with any Person or
(ii) the entering into, amendment or modification in any material respect or termination of any
Material Contract or waiver, release or assignment of any material rights, claims or benefits of
Way to Grow;

(1) the sale, disposition, transfer or license to any Person of any rights to any Technology or
any lntellectual Property Rights (other than on a non-exclusive basis in the ordinary course of
business consistent with past practice);;

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(m) the entering into any arrangement, the result of which is the loss, expiration or
termination of any material license or right under or to any Third Party IP;

(n) (i) the grant or increase of, or commitment to grant or increase, any form of
compensation or benefits payable to any director, officer, advisor, consultant or employee of Way
to Grow, including pursuant to any employee benefit plan, in excess of $25,000 in the aggregate,
(ii) the hiring or termination of any material employee, officer, director or consultant of Way to
Grow, (iii) the adoption, entering into, material modification or termination of any employee
benefit plan, (iv) the acceleration of the vesting or payment of any compensation or benefits
under any employee benefit plan, or (v) the grant of any equity or equity-linked awards or other
bonus, commission or other incentive compensation to any director, officer, advisor, consultant or
employee of Way to Grow, other than, with respect to clauses (i) and (ii) above, in the ordinary
course of business consistent with past practice to any advisor, consultant or employee of Way to
Grow who receives less than $60,000 in base compensation per annum, other than quarterly and/
or annual payments to its current employees consistent with past practice and Way to Grow policy
and existing profit sharing and bonus plans;

(o) any change in the methods of` accounting or accounting practices of Way to Grow, except
as required by concurrent changes in US GAAP, as agreed to by its independent public
accountants;

(p) any settlement, or offer or proposal to settle, (i) any material Proceeding or claim
involving or against Way to Grow, (ii) any stockholder litigation or dispute against Way to Grow
or any of its officers or directors or (iii) any Proceeding that relates to the transactions
contemplated hereby;

(q) any material Tax election changed or revoked any claim, notice, audit report or
assessment in respect of Taxes settled or compromised (or agreement with respect thereto); any
Tax allocation agreement, Tax sharing agreement, advance pricing agreement, cost sharing
agreement, pre-filing agreement, Tax indemnity agreement or closing agreement relating to any
Tax entered into; any Tax petition, Tax complaint or administrative Tax appeal filed; any Tax
audit or inquiry filed; or any extension or waiver of the statute of limitations period applicable to
any Tax claim or assessment consented to; or

(r) any agreement or commitment to take any of the actions referred to in clauses (a) through

(q)-

3.8. No Undisclosed Liabilities. Way to Grow has no liabilities or obligations of any kind
whatsoever, whether accrued contingent, absolute, determined determinable or otherwise, other
than:

(a) liabilities or obligations disclosed and provided for in the Financial Statements or in the
notes thereto;

(b) liabilities that have been incurred by Way to Grow since the Balance Sheet Date in the
ordinary course of business and consistent with past practice;

(c) the liabilities or obligations identified in Section 3.08 of the Disclosure Schedule; and

(d) liabilities or obligations arising under this Agreement or that would not reasonably be
expected to be material to Way to Grow.

3.9. Material Contracts.
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(a) Way to Grow is a party to or bound by any of the following (a Contract responsive to any
of the following categories being hereinafter referred to as a “Material Contract”):

(i) any lease (whether of real or personal property) providing for annual rentals of
U.S. $30,000 or more;

(ii) any Contract pursuant to which any lntellectual Property Right or Technology,
including any Third Party IP (in each case, excluding Foreground lP), is licensed sold assigned
or otherwise conveyed or provided to Way to Grow or pursuant to which any Person has agreed
not to enforce any lntellectual Property Right against Way to Grow, other than Contracts for
Generally Available Software and contracts with Company employees under a stande invention
assignment agreement;

(iii) any Contract pursuant to which any lntellectual Property Right or Technology (in
each case, excluding Foreground lP) is or has been licensed (whether or not such license is
currently exercisable), sold assigned or otherwise conveyed or provided to a third party by Way
to Grow, or pursuant to which Way to Grow has agreed not to enforce any lntellectual Property
Right against any third party.

(iv) any Contract imposing any restriction on Way to Grow’s right or ability, or, after
the Closing, the right or ability of Purchaser or any of its Affiliates (A) to compete in any line of
business or with any Person or in any area or which would so limit the freedom of Purchaser or
any of its Affiliates after the Closing Date (including granting exclusive rights or rights of first
refusal to license, market, sell or deliver any of the products or services offered by Way to Grow
or any related lntellectual Property Right), (B) to acquire any product or other asset or any
services from any other Person, to sell any product or other asset to or perform any services (other
than products or services which are customized for a particular customer and which contain
Foreground IP) for any other Person or to transact business or deal in any other manner with any
other Person, or (C) to develop or distribute any Intellectual Property Right or Technology (in
each case, excluding Foreground IP);

(v) any Contract for the purchase of materials, supplies, goods, services, equipment
or other assets providing for either (A) annual payments by Way to Grow of U.S. $200,000 or
more or (B) aggregate payments by Way to Grow of U.S. $400,000 in the past two years;

(vi) any Contract providing for “most favored customer” terms or similar terms,
including such terms for pricing;

(vii) any sales, distribution or other similar agreement providing for the sale of Way to
Grow Products that provides for (A) annual payments to Way to Grow of U.S. $1,000,000 or
more or (B) aggregate payments to Way to Grow of U.S. $2,000,000 in the past two years;

(viii) any partnership, joint venture or any sharing of revenues, profits, losses, costs or
liabilities or any other similar Contract;

(ix) any Contract relating to the acquisition or disposition of any business (whether
by merger, sale of stock, sale of assets or otherwise) or pursuant to which Way to Grow has any
current or future rights or obligations;

(x) any Contract relating to Indebtedness or the deferred purchase price of property
(in either case, whether incurred assumed guaranteed or secured by any asset);

(xi) any Contract relating to the acquisition, issuance or transfer of any securities;

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(xii) any Contract relating to any interest rate, currency or commodity derivatives or
hedging transaction;

(xiii) any Contract under which (A) any Person has directly or indirectly guaranteed
any liabilities or obligations of Way to Grow or (B) Way to Grow has directly or indirectly
guaranteed liabilities or obligations of any other Person (in each case other than endorsements for
the purposes of collection in the ordinary course of business);

(xiv) any Contract relating to the creation of any Lien (other than Permitted Liens)
with respect to any asset of Way to Grow;

(xv) any Contract which contains any provisions requiring Way to Grow to indemnify
any other party (excluding indemnities contained in agreements for the purchase, sale or license
of products or services in the ordinary course of business consistent with past practice);

(xvi) any Contract with any Related Person;

(xvii) any employment, severance, retention, change-in-control, bonus or other
Contract with any current or former employee, officer, director, advisor or consultant of Way to
Grow (A) pursuant to which Way to Grow has any current or future rights or obligations, (B) that
provides for the payment of any cash or other compensation or benefits upon the consummation
of the Transaction, or (C) that otherwise restricts Way to Grow’s ability to terminate the
employment or engagement of such individual without penalty or liability (excluding any penalty
or liability in respect of the employee’s notice period and right not to be unfairly dismissed), other
than, in each case, Contracts entered into in the ordinary course of business consistent with past
practice with any advisor, consultant or employee of Way to Grow who receives less than U.S.
$60,000 in base compensation per annum;

(xviii) any Contract that cannot be provided to the Purchaser; and

(xix) any other Contract not made in the ordinary course of business that is material to
Way to Grow.

(b) Seller has made available to Purchaser accurate and complete copies of all written
Contracts identified in Section 3.09(a) of the Disclosure Sohedule, including all amendments
thereto. Section 3.09(a) of the Disclosure Schedule provides an accurate description of the
material terms of each Material Contract identified in Section 3.09(a) of the Disclosure Schedule
that is not in written form. Way to Grow has notified Purchaser of any Contracts or portions
thereof that Way to Grow has withheld from Purchaser pursuant to Section 5.03(b) and has
disclosed to Purchaser any material liabilities or obligations under any such Contracts, to the
extent permitted thereunder.

(c) Each Material Contract is a valid and binding agreement of Way to Grow, and is in full
force and effect, and Way to Grow is and to the Knowledge of Seller and Way to Grow, no other
party thereto is in default or breach in any material respect under the terms of any such Contract,
and to the Knowledge of Seller and Way to Grow, other than as set forth in Section 3.04 of the
Disclosure Sohedule regarding the consummation of the Transaction, no event has occurred and
no circumstance or condition exists, that (with or without notice or lapse of time) will, or would
reasonably be expected to, (i) result in a violation or breach of any of the provisions of any
Material Contract, (ii) give any Person the right to declare a default or exercise any remedy under
any Material Contract, (iii) give any Person the right to accelerate the maturity or performance of
any grant or rights or other obligation under a Material Contract, or (iv) give any Person the right
to cancel, terminate or modify any Material Contract.

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(d) Since inception, Way to Grow has not received any written notice or, to the Knowledge of
Seller or Way to Grow, any other communication regarding any violation or breach of, or default
under, any Material Contract.

(e) No Person is renegotiating, or has a right (or has asserted a right) pursuant to the terms of
any Material Contract to renegotiate, any amount paid or payable to Way to Grow under any
Material Contract or any other material term or provision of any Material Contract.

3.10. Compliance with Applicable Laws.

(a) Way to Grow is, and has at all times since inception been, in material compliance with,
and to the Knowledge of Seller and Way to Grow is not, and at no time since inception has been,
under investigation with respect to or threatened to be charged with or given notice of any
violation of, any Applicable Law.

(b) Way to Grow, and to the Knowledge of the Seller and Way to Grow, each of its Aftiliates
and Representatives, is, and has at all times since inception, been, in material compliance with all
export control and sanctions laws and regulations that are applicable to Way to Grow, and to the
Knowledge of the Seller and Way to Grow, its Affiliates and Representatives, as the case may be,
in particular the U.S. Export Administration Act and implementing Export Administration
Regulations; the U.S. Arms Export Control Act and implementing Intemational Traffic in Arms
Regulations; the various economic sanctions laws administered by the Office of Foreign Assets
Control (“OFAC”) of the U.S. 'l`reasury Department; (“Export and Sanctions Laws”). Without
limiting the foregoing:

(i) Way to Grow is, and has at all times since inception, been, in possession of all
export licenses, authorizations and other approvals that are required by applicable Export and
Sanctions Laws for the export of its products, services, software or technologies, as applicable;

(ii) there are no pending or, to the Knowledge of Seller or Way to Grow, threatened
claims or investigations of potential violations of applicable Export and Sanctions Laws by Way
to Grow with respect to export or other business activity or licenses, authorizations or other
approvals;

(iii) to the Knowledge of Seller or Way to Grow, there are no actions, conditions or
circumstances pertaining to Way to Grow’s export transactions or other business activities that
may give rise to any future claims or investigations of potential violations of applicable Export
and Sanctions Laws; and

(iv) to the Knowledge of Seller and Way to Grow, none of Way to Grow’s Affiliates
or Representatives, is currently the subject of any sanctions administered or enforced by the U.S.
Govemment (including, without limitation, OFAC or the U.S. Department of State), the United
Nations Security Council, or other relevant sanctions authority_

(c) Since inception, Way to Grow has not and to the Knowledge of Seller and Way to Grow,
no employee or other Person associated with or acting orr behalf of Way to Grow (including any
agent) has, directly or indirectly, in connection with Way to Grow;

(i) made any unlawful contributions, gifts, entertainment or other unlawful expenses
relating to political activity and related in any way to Way to Grow’s business;

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(ii) made any unlawful payment to any foreign or domestic government official or
employee, foreign or domestic political parties or campaigns, official of any public international
organization, or official of any state-owned enterprise;

(iii) violated or committed any offense under any provision of the U.S. Foreign
Corrupt Practices Act or any other applicable anti-corruption law (the “Anti-Corruption Law”); or

(iv) made any bribe, payoff, influence payment, kickback or other similar unlawful
payment.

(d) There are no pending and to the Knowledge of Seller and Way to Grow, since inception
there have not been any threatened claims or investigations or potential violations, or other
actions, conditions or circumstances giving rise to any future claims or investigations of potential
violations, of applicable Anti-Corruption Laws by Way to Grow related in any way to Way to
Grow’s business

(e) To the Knowledge of Seller and Way to Grow, each of the Way to Grow Products that
Way to Grow owns, develops, manufactures or licenses is and has since inception been at all
times up to and including the sale, license, distribution or other provision thereof, marketed
licensed sold performed or otherwise made available in compliance in all material respects with
all Applicable Laws

(f) To Way to Grow’s Knowledge, and except to the extent non-compliance has not resulted
in and would likely not result in a Way to Grow Material Adverse Effect, Way to Grow is, and has
at all times been, in material compliance with (i) all Applicable Laws regarding the protection,
storage, use and disclosure of Personal Data, and (ii) the privacy policies and other Contracts (or
portions thereof) in effect between Way to Grow and its customers and business partners, in each
case that are applicable to the use and disclosure of Personal Data. To Way to Grow’s
Knowledge, and except to the extent non-compliance has not resulted in and would likely not
result in a Way to Grow Material Adverse Effect, Way to Grow has reasonable safeguards in place
to protect Personal Data in Way to Grow’s possession or control from unauthorized access by
third Persons, including Way to Grow’s employees and contractors

3.11. Litigation.

(a) 'l“here is no pending material Proceeding, and to the Knowledge of Seller and Way to
Grow, since inception, no Person has threatened to commence any Proceeding: (i) that involves
Way to Grow or any of the assets owned or used by Way to Grow or any Person whose liability
Way to Grow has or may have retained or assumed either contractually or by operation of law; or
(ii) that challenges, or that may have the effect of preventing, delaying, making illegal or
otherwise interfering with the Transaction. To the Knowledge of Seller or Way to Grow, no event
has occurred and no claim, dispute or other condition or circumstance exists, that will, or that
would reasonably be expected to, give rise to or serve as a basis for the commencement of any
Proceeding that is of a type described in the preceding sentence.

(b) There is no material order, writ, injunction, directive, restriction, judgment or decree to
which Way to Grow, or any of the assets owned or used by Way to Grow, is subject or which
restricts in any respect the ability of Way to Grow to conduct its business To the Knowledge of
Seller and Way to Grow, no officer or other employee of Way to Grow is subject to any order,
writ, injunction, judgment or decree that prohibits such officer or other employee from engaging
in or continuing any conduct, activity or practice relating to the business of Way to Grow.

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3.12. Real Property, Way to Grow has good and valid title to each parcel of real property
owned in fee by Way to Grow (the “Owned Real Prope@”), and an equitable interest in each
parcel of real property leased by Way to Grow (the “Leased Real Properg” and together with the
Owned Real Property, the “Wav to Grow Real Propertv”). Section 3.12(a)(i) of the Disclosure
Schedule lists each parcel of Owned Real Property and Section 3.12(a)(ii) of the Disclosure
Schedule lists each lease, sublease, license or other occupancy agreement or arrangement relating
to the Leased Real Property (each, a “Real Propeg[ Lease”).

(a) The Way to Grow Real Property is not subject to any Liens, except for Permitted Liens.
Way to Grow has not received any written notice within the 12 months prior to the date of this
Agreement of a material violation of any ordinances, regulations or building, zoning or other
similar laws with respect to the Way to Grow Real Property. Way to Grow has not received any
written notice of any expiration of, pending expiration of, changes to, or pending changes to any
material entitlement relating to Way to Grow Real Property and there is no condemnation, special
assessment or the like pending or, to the Knowledge of Seller, threatened with respect to any Way
to Grow Real Property. Way to Grow has the right to use and occupy the Way to Grow Leased
Real Property for the full term of the Real Property Lease relating thereto.

(b) Way to Grow has made available to Purchaser true and complete copies of the Real
Property Leases, together with all amendments modifications and supplements thereto. With
respect to the Leased Real Property, Way to Grow has not assigned transferred conveyed
mortgaged deeded in trust or encumbered any interest in any Leased Real Property, other than
Permitted Liens

(c) Except for the Way to Grow Real Property, there is no continuing liability in respect of
any other property formerly owned or occupied by Way to Grow either as the original contracting
party or by virtue of any direct covenant having been given on a sale or assignment to Way to
Grow or as a guarantor of the obligations of any other Person in relation to such property,

3.13. Properties.

(a) Way to Grow has good and marketable, indefeasible, fee simple title to, or in the case of
leased property and assets, have valid leasehold interests in, all personal property and assets
(whether tangible or intangible) reflected on the Unaudited Year End Balance Sheet or acquired
after the Balance Sheet Date, except for properties and assets sold since the Balance Sheet Date in
the ordinary course of business consistent with past practices None of such property or assets is
subject to any Lien, except:

(i) Liens disclosed on the Unaudited Year End Balance Sheet;

(ii) Liens for taxes not yet due or being contested in good faith (and for which
adequate accruals or reserves have been established on the Unaudited Year End Balance Sheet);

(iii) mechanics’, landlords’, carriers’, workers’, repairers’ and similar Liens arising or
incurred in the ordinary course of business; or

(iv) Liens which do not materially detract from the value or materially interfere with
any present use of such property or assets (clauses “(i)” through “(iv)” of this Section 3.13(a) are,
collectively, the “Permitted Liens”).

(b) There are no developments affecting any such property or assets pending or, to the
Knowledge of Seller and Way to Grow threatened which would reasonably be expected to
materially detract from the value, materially interfere with any present or intended use or

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materially adversely affect the marketability of any such property or assets All leases of such
personal property are in good standing and are valid binding and enforceable in accordance with
their respective terms and there does not exist under any such lease any default or any event
which with notice or lapse of time or both would constitute a default.

(c) The equipment owned by Way to Grow has no material defects, is in good operating
condition and repair and has been reasonably maintained consistent with standards generally
followed in the industry (giving due account to the age and length of use of same, ordinary wear
and tear excepted).

(d) The property and assets owned or leased by Way to Grow, or which they otherwise have
the right to use, constitute all of the property and assets used or held for use by Way to Grow in
connection with the Business and are adequate to conduct the Business as currently conducted

3.14. intellectual Property.

(a) Section 3.14(a) of the Disclosure Schedule sets forth a complete and accurate list as of
the date of this Agreement of (i) each item of Registered IP in which the Company has or purports
to have an ownership interest of any nature (whether exclusively, jointly with another Person, or
otherwise), (ii) the jurisdiction in which such item of Registered lP has been registered or filed
and the applicable application, registration, or serial or other similar identification number, and
(iii) any other Person that has an ownership interest in such item of Registered lP and the nature
of such ownership interest. Seller and the Company have made available to Purchaser complete
and accurate copies of all applications related to each such item of Registered IP. Neither Way to
Grow nor Seller owns any Patents or any patent applications

(b) Section 3.14(b) of the Disclosure Schedule accurately identifies as of the date of this
Agreement (i) all Intellectual Property Rights or Technology licensed sold assigned or otherwise
conveyed or provided to Way to Grow (other than (a) Generally Available Software and (b)
lntellectual Property Rights assigned to Way to Grow by its employees or independent contractors
under standard commercial agreements), (ii) the corresponding Contract or Contracts pursuant to
which such lntellectual Property Right or Technology is licensed to the Company, and (iii)
whether the license or licenses granted to the Company is or are, as the case may be, exclusive or
nonexclusive.

(c) To the Knowledge of the Company and Seller, all Way to Grow lP is valid subsisting,
and enforceable All filings, payments and other actions required to be made or taken to obtain,
perfect or maintain in full force and effect each item of Way to Grow lP that is Registered lP have
been made or taken by the applicable deadline and otherwise in accordance with all Applicable
Laws. To the Knowledge of Seller, no application for, or registration with respect to, any
Registered IP that is Way to Grow IP has been abandoned allowed to lapse, or rejected since
January l, 2012. Section 3.14(c) of the Disclosure Schedule sets forth a complete and accurate
list of each filing, payment, and action that must be made or taken on or before the date that is 90
days after the Closing Date in order to obtain, perfect or maintain in full force and effect each
item of Way to Grow IP that is Registered lP. No interference, opposition, reissue, reexamination,
or other Proceeding of any nature is, or since January 1, 2012 has been, pending or threatened in
which the scope, validity, or enforceability of any Way to Grow lP is being, has been, or could
reasonably be expected to be contested or challenged and to the Knowledge of Seller there is no
basis for a claim that any Way to Grow IP is invalid or unenforceable

(d) The Company is not bound by, and no Way to Grow IP is subject to, any _Contract
containing any covenant or other provision that in any way limits or restricts the ability of the
Company to use, assert, enforce, or otherwise exploit any Way to Grow IP anywhere iri the world.

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Except with respect to Foreground lP, the Company has not transferred ownership of (whether a
whole or partial interest), or granted any exclusive right to use, any Way to Grow lP to any
Person.

(e) The Company exclusively owns all right, title, and interest to and in the Way to Grow lP
free and clear of any Liens (other than Foreground IP and non-exclusive licenses granted in the
ordinary course of business consistent with past practice). The Way to Grow IP, together with the
Technology and lntellectual Property Rights licensed to the Company, consist of all the
Technology and lntellectual Property Rights used in, held for use in, or otherwise necessary for
the conduct of the Business as currently conducted The Company has sufficient rights in the
Foreground IP necessary to conduct the Business as currently conducted

(f) To the Knowledge of the Company and Seller, no current or fenner stockholder, officer,
director, or employee of the Company has any claim, right (whether or not currently exercisable),
or interest to or in any Way to Grow IP. To the Knowledge of the Company, no employee of the
Company is (i) bound by or otherwise subject to any Contract restricting him or her from
performing his or her duties for the Company or (ii) in breach of any Contract with any former
employer or other Person concerning Technology, lntellectual Property Rights or confidentiality

(g) To the Knowledge of the Company and Seller, no Person has infringed misappropriated
or otherwise violated or is currently infringing, misappropriating, or otherwise violating, any
Way to Grow IP. Section 3.14(g) of the Disclosure Schedule sets forth an accurate and complete
list as of the date of this Agreement (and the Company has made available to Purchaser a
complete and accurate copy of) each letter or other written or electronic communication or
correspondence that has been sent or otherwise delivered by or to the Company or any
representative of the Company regarding any actual, alleged or suspected infringement or
misappropriation of any Way to Grow lP since January 1, 2012, and provides a brief description
of the current status of the matter referred to in such letter, communication, or correspondence

(h) Since January l, 2012, the Company has not received written notice that it has infringed

misappropriated or otherwise violated or is currently infringing, misappropriating, or otherwise
violating, any Intellectual Property Right of any other Person. Without limiting the foregoing,
and to the Knowledge of Company, the Way to Grow lP (i) does not infringe, misappropriate or
violate the lntellectual Property Rights of any other Person and (ii) have not infringed
misappropriated or violated the lntellectual Property Rights of any other Person, No
infringement, misappropriation, or similar claim or Proceeding is pending or, to the Knowledge
of Seller, threatened against the Company or against any Person who may be entitled to be
indemnified or reimbursed by the Company with respect to such claim or Proceeding. Since
January 1, 2012, the Company has received any notice (in writing) relating to any actual, alleged
or suspected infringement, misappropriation, or violation of any Intellectual Property Right of
another Person, including any written notice inviting the Company to take a license under any
Intellectual Property Right.

3.15. Information Technology. The information technology systems used by Way to Grow
(“IT Systems”) are designed implemented operated and maintained in accordance with
customary industry standards and practices Without limiting the foregoing, (a) Way to Grow has
taken reasonable steps and implemented reasonable procedures to ensure that its IT Systems are
free from Malicious Code, and (b) Way to Grow has in effect industry standard disaster recovery
plans, procedures and facilities for its business and has taken reasonable steps to safeguard the
security and the integrity of its lT Systems. To the Knowledge of Seller and Way to Grow, there
have been no unauthorized intrusions or breaches of security with respect to the IT Systems. Way
to Grow has implemented substantially all security patches or upgrades that are generally
available for the lT Systems.

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3.16. Insurance Coverage. Seller has made available to Purchaser accurate and complete
copies of all insurance policies and fidelity bonds relating to the assets, business, operations,
employees, officers or directors of Way to Grow, each of which is in full force and effect There
is no claim by Way to Grow pending under any of such policies or bonds as to which coverage
has been questioned denied or disputed by the underwriters of such policies or bonds or in
respect of which such underwriters have reserved their rights All premiums payable under all
such policies and bonds have been timely paid and Way to Grow has otherwise complied in all
material respects with the terms and conditions of all such policies and bonds Seller and Way to
Grow have no Knowledge of any threatened termination of, premium increase with respect to, or
material alteration of coverage under, any of such policies or bonds After the Closing, Way to
Grow shall continue to have coverage under such policies and bonds with respect to events
occurring prior to the Closing.

3.17. Licenses and Permits. Way to Grow has, and at all times since its inception has had all
material licenses, permits qualifications accreditations, approvals and authorizations of any
Govemmental Authority (collectively, the “Pennits”), and has made all filings required under
Applicable Law, necessary to conduct its business in accordance with Applicable Law. Since its
inception, Way to Grow has not received any written notice or other written communication
regarding any actual or possible violation of or failure to comply with any term or requirement of
any Permit or any actual or possible revocation, withdrawal, suspension, cancellation, termination
or modification of any Permit. Section 3.17(a) of the Disclosure Schedule sets forth an accurate
and complete list of all Permits issued to Way to Grow. Each such Pennit has been validly issued
or obtained and is, and after the consummation of the Transaction will be, in fi111 force and effect.
Section 3.17(b) of the Disclosure Schedule sets forth an accurate and complete list of all Permits
for which Way to Grow has applied or has taken the steps necessary to secure or maintain or that
Way to Grow otherwise intends to obtain.

3.18. Tax Matters.

(a) Way to Grow has duly and timely filed with the appropriate Tax authorities all Tax
Returns required to be filed for all taxable years All such Tax Returns are correct and complete
in all respects and were prepared in substantial compliance with all applicable laws and
regulations All Taxes due and owing by Way to Grow (whether or not shown on any Tax Retums
and including estimated Taxes that are required to have been paid) have been paid. Way to Grow
is not currently the beneficiary of any extension of time within which to file any 'l`ax Retum
(except for automatic extensions obtained in the ordinary course of business). No claim has ever
been made by a Tax authority or other Governrnental Authority in a jurisdiction other than
Colorado that Way to Grow is or may be subject to taxation by that jurisdiction Way to Grow
does not have an office in, nor own any property in, nor have any employees in any state other
than Colorado.

(b) With respect to any Pre-Closing Tax Period Way to Grow has made full provision in
accordance with US GAAP in its statutory accounts for the payment of all 'l`axes that are due or
are claimed to be due, or may or will become due as a result of activities during such Pre-Closing
Tax Period (it being understood that such provision would exclude any liability of Seller for such
Taxes included in Seller’s income due to the S election). To the extent that any such Pre-Closing
Tax Period Taxes are imposed on Seller, and have not been paid prior to Closing, Seller will pay
for such Taxes in a timely manner and Way to Grow will have no post-closing obligation to make
a tax distribution to Seller for the payment of such Taxes.

(c) Since the Balance Sheet Date, Way to Grow has not incurred any liability for Taxes
outside the ordinary course of business or otherwise inconsistent with past custom and practice.

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(d) No deficiencies for Taxes with respect to Way to Grow or the earnings of Way to Grow
have been claimed or assessed by any Tax authority or other Governmental Authority for all
taxable years ending on or after December 31, 2012, and there is no existing audit or inquiry of
any Tax authority or other Govemmental Authority in relation to any such taxable years There
are no pending or, to the Knowledge of Seller or Way to Grow, threatened audits, inquiries
assessments or other actions for or relating to any liability in respect of Taxes of Way to Grow.
To the Knowledge of Seller and Way to Grow, there are no matters under discussion with any
Governmental Authority with respect to Taxes that are likely to result in an additional liability for
Taxes with respect to Way to Grow. Seller does not expect any Governmental Authority to assess
any additional Taxes for any periods for which Tax Returns have been filed. Way to Grow has
delivered to Purchaser complete and accurate copies of all federal, state, local and foreign Tax
Returns (and any predecessor thereof) for all taxable years ending on or after December 31, 2012,
and complete and accurate copies of all audit or examination reports and statements of
deficiencies assessed against or agreed to by Way to Grow (or any predecessors thereof) since
December 31, 2012. Schedule 3.18 indicates any Tax Returns that have been audited Way to
Grow (or any predecessor thereof) has not waived any statute of limitations in respect of Taxes or
agreed to any extension of time with respect to a Tax assessment or deficiency, nor has any
request been made in writing for any such extension or waiver. No power of attorney (other than
powers of attorney authorizing employees of Way to Grow to act on behalf of Way to Grow) with
respect to any Taxes is in effect with any Tax authority.

(e) There are no Liens for Taxes upon any property or asset of Way to Grow or upon the Way
to Grow Common Stock (other than statutory Liens for current Taxes not yet due and payable).

(f) Way to Grow will not be required to include any item of income in, or exclude any item
of deduction from, taxable income for any period (or any portion thereof) ending after the Closing
Date as a result of any installment sale or other transaction on or prior to the Closing Date, any
accounting method change or agreement with any Tax authority entered into on or prior to the
Closing Date, the use of an improper method of accounting for any period or portion thereof
ending prior to the Closing Date, any prepaid amount received orr or prior to the Closing Date or
excess loss account created on or prior to the Closing Date or any election under Code Section
lOS(i).

(g) Way to Grow is not a party to or bound by any Tax indemnity agreement, Tax sharing
agreement, Tax allocation agreement or similar Contract in respect of any party other than Way to
Grow (other than obligations under any Contract or other agreement entered into in the ordinary
course of business and not principally concerning Taxes).

(h) Way to Grow has not participated in nor plans to participate in any Tax amnesty program,
or, to the Knowledge of Seller, within the last six years has been party to a transaction that has
been required to be disclosed to, or that has required a formal clearance or ruling from, any Tax
authority or other Govemmental Authority.

(i) Way to Grow has no liability for the Taxes of any Person other than Way to Grow (i) as a
transferee or successor, (ii) by Contract or (iii) otherwise (including, for the avoidance of doubt,
as a result of any tax grouping arrangements).

(j) Way to Grow has timely withheld and paid all Taxes required to have been withheld and
paid in connection with amounts paid or owing to any employee, independent contractor, creditor,
equity holders of Way to Grow or other Person and all Forms W-2 and 1099 required with respect
thereto have been properly completed and filed.

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(k) Way to Grow has been, since inception, a validly electing S corporation within the
meaning of Sections 1361 and 1362 of the Code.

(l) Way to Grow is not a party to any agreement, contract, arrangement or plan that has
resulted or could result, separately or in the aggregate, in the payment of (i) any “excess
parachute payment” within the meaning of Code Section 280G (or any corresponding provision
of state, local or non-U.S. tax law) and (ii) any amount that will not be fully deductible as a result
of Code Section 162(m).

(m) Way to Grow has disclosed on its federal income Tax Returns all positions taken therein
that could give rise to a substantial understatement of federal income 'l`ax within the meaning of
Code Section 6662.

The representations set forth in this Section 3.18 and Section 3.19 are the only representations in
this Agreement with respect to Taxes and any claim for breach of representation with respect to Taxes will
be based on the representations made in this Section 3.18 or Section 3.19 and further, none of the
representations set forth in this Section 3.18 or Section 3.19 shall be interpreted as providing any
representation, warranty or other assurance regarding the existence, amount, value or condition of any Tax
assets or Tax attributes of Way to Grow (including, but not limited to, any Tax loss carryforward Tax
basis of any asset or any Tax method of accounting) or the ability of Purchaser or any of its Affiliates
(including, on or after the Closing Date, Way to Grow) to utilize such Tax assets or Tax attributes on or
after Closing Date.

3.19. Employees and Employee Benef”rt Plans.

(a) Section 3.19(a) of the Disclosure Schedule sets forth, in respect of each Employee, the
name, date of birth, date of commencement of employment, the position held and job location,
salary, fees or wages, holiday entitlement, bonus and incentive arrangements

(b) There is no person whose salary exceeds $60,000 who has accepted an offer of
employment or engagement made by Way to Grow whose employment has yet to start and there
are no offers of employment for any such employee which have been issued and remain open for
acceptance At the date of this Agreement, no Employee whose salary exceeds $60,000 (i) has
given, to the Knowledge of Seller and Way to Grow, has threatened to give, or received notice
terminating his or her office and/or employment (where that notice has not yet expired) or (ii) is
under threat of dismissal. No Employee is absent for a period of, or expected to be, more than
four weeks

(c) There is no person who is engaged by Way to Grow to provide services personally to it
who is not an Employee.

(d) Seller has made available to Purchaser all current employment policies and staff
handbooks pertaining to the Employees.

(e) Other than routine increases to salary and flexible working requests and the level of
benefits (i) during the twelve month period prior to the date of this Agreement there have been no
changes to the terms and conditions or benefits of any Employee whose salary equals or exceeds
$60,000 per annum and (ii) no changes to terms and conditions or benefits of any Employee have
been proposed or agreed in the six months prior to the date of this Agreement or were due to be
considered or implemented after the date of this Agreement, except for the Employment
Agreements.

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(f) No amounts due to, or in respect of, any Employee or Fonner Employee are in arrears or
unpaid and there are no amounts that have accrued but are not yet due to be paid. Way to Grow
has not made any loan or advance to any Employee that is outstanding

(g) No Employee or Former Employee is involved in any existing, pending or, to the
Knowledge of Seller and Way to Grow, threatened claim or dispute by or in respect of any
Employee, Former Employee or employee representative representing any Employee
(“Em lo ent Dis ute”) and has not been involved in any Employment Dispute in the twelve
month period prior to the date of this Agreement. To the Knowledge of Seller and Way to Grow,
there are no facts or circumstances that could reasonably be expected to result in or be the basis
for any Employment Dispute, or that may suggest that any of the provisions of this Agreement
may lead to any Employment Dispute.

(h) Since inception, Way to Grow has complied in all material respects with all Applicable
Laws and codes of practice in respect of each Employee and Former Employee. Way to Grow
has not at any time discriminated against or caused any Employee to suffer any detriment on the
grounds of sex, gender, sexual orientation, age, race, religion, belief, disability, hours that they
work, temporary nature of their employment, membership of a trade union or status as an
employee representative or otherwise in contravention of any legislation

(i) Except for Pension Plans, Way to Grow has not or could not have any liability in respect
of any plan providing Pension Benefits or is obliged to provide, participate in or contribute
towards any Pension Benefits for any Person. Except as is set forth in the Pension Plans, no
promise, assurance or undertaking has been given as to the provision of Pension Benefits. Seller
has made available to Purchaser the plans, summaries or other descriptions of any employee
benefit arrangement sponsored by Seller and subject to ERISA.

(j) There are not in respect of the Pension Plans any disputes, actions or claims by any
person (other than routine claims for benefits) outstanding, pending or, to the Knowledge of
Seller or Way to Grow, threatened against the administrators of the Pension Plans or Way to
Grow.

(k) The Pension Plan has in all material respects been administered and maintained in
accordance with the requirements of ER_lSA and the Code.

(l) Except as would not have a Material Adverse Effect: (i) no proposal or announcement has
been made to any Employee about the introduction, continuance, increase or improvement of any
Pension Benefits and (ii) Way to Grow does not have any legal obligation to pay Pension
Benefits to or in respect of any person who is not an Employee or Former Employee, except to
the extent available under the Pension Plans

3.20. Environrnental Matters.

(a) Except as would not reasonably be expected to be, individually or in the aggregate,
material to Way to Grow:

(i) no written notice, notification, demand request for information, citation,
summons or order has been received no complaint has been filed no penalty has been assessed
and no Proceeding (or any basis therefor) is pending or, to the Knowledge of Seller and Way to
Grow, is threatened by any Governmental Authority or other Person relating to Way to Grow and
relating to or arising out of any Environmental Law;

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(ii) Way to Grow is, and has at all times since inception been, in material compliance
with all Environmental Laws and all Environmental Pennits, and to the Knowledge of Seller and
Way to Grow, no circumstances exist on the date hereof that will require any material capital
expenditures to be incurred within one year of the date of this Agreement in order to ensure
compliance with Environmental Laws and all Environmental Permits; and

(iii) to the Knowledge of Seller and Way to Grow, there are no liabilities or
obligations of Way to Grow of any kind whatsoever, whether accrued contingent, absolute,
determined determinable or otherwise arising under or relating to any Environmental Law or any
Hazardous Substance and to the Knowledge of Seller and Way to Grow, there is no condition,
situation or set of circumstances that could reasonably be expected to result in or be the basis for
any such liability or obligation

(b) Way to Grow (and the Way to Grow Real Property) are not individually or cumulatively
required to participate in any form of climate change or emissions reduction, record keeping,
conservation or trading scheme.

(c) There has been no environmental investigation, study, audit, test, review or other analysis
conducted of which Seller and Way to Grow have Knowledge in relation to the current or prior
business of Way to Grow or any property or facility now or previously owned or leased by Way to
Grow that has not been made available to Purchaser.

(d) For purposes of this Section 3.20, Way to Grow shall include any entity that is, in whole
or in part, a predecessor of Way to Grow.

3.21. Significant Customers and Suppliers; Product Liability.

(a) Section 3.21(a) of the Disclosure Schedule sets forth an accurate and complete
breakdown of the revenues received from the 10 largest customers of Way to Grow, by revenue
for each of the calendar years 2014 and 2013 and the first three fiscal quarters of 2015. Neither
Seller nor Way to Grow has received any written notice or other written communication
indicating that any of the customers listed in Section 3.21(a) of the Disclosure Schedule may
cease dealing with Way to Grow or may otherwise reduce the volume of business transacted by
such Person with Way to Grow below historical levels

(b) Section 3.21(b) of the Disclosure Schedule sets forth an accurate and complete list of the
10 largest suppliers of each of Way to Grow, by revenue for the calendar years 2014 and 2013 and
the first three fiscal quarters of 2015. Neither Seller nor Way to Grow has received any written
notice or other written communication indicating that any of the suppliers listed in Section
3.2l(b) of the Disclosure Schedule may cease acting as a supplier to Way to Grow or otherwise
dealing with Way to Grow.

(c) Since inception, all Way to Grow Products that Way to Grow owns, develops,
manufactures or licenses are and were free from material defects in construction and design
There are no claims, causes of action, suits, inquiries (in writing), allegations (in writing), or
written complaints with respect to the failure of (i) any Way to Grow Product to meet or
otherwise materially satisfy the terms of any Contract or specification, including warranty-related
obligations or (ii) Way to Grow to take reasonable care in the design, development, research,
manufacture, supply, marketing, sale, distribution, support and maintenance of Way to- Grow
Products pending or, to the Knowledge of the Seller and Way to Grow, threatened in writing by
any Person, against the Seller or Way to Grow relating to any Way to Grow Product. Since
inception, there has not been, nor is there under consideration by the Seller or Way to Grow, any

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Way to Grow Product recall or post-sale warning conducted by or on behalf of the Seller or Way
to Grow concerning any Way to Grow Product.

3.22. Accounts Receivable. Section 3.22(a) of the Disclosure Schedule sets forth an accurate
and complete breakdown and aging of all accounts receivable, notes receivable and other
receivables of Way to Grow as of August 31, 2015. All existing accounts receivable of Way to
Grow (including those accounts receivable reflected on the Unaudited Year End Balance Sheet
that have not yet been collected and those accounts receivable that have arisen since the Balance
Sheet Date and have not yet been collected) (a) represent and will represent valid obligations of
customers of Way to Grow arising from bona fide transactions entered into in the ordinary course
of business and (b) are current and to the Knowledge of Seller and Way to Grow, will be
collected in full when due, without any counterclaim or set off (net of the respective reserves
shown on the Unaudited Year End Balance Sheet and other than normal cash discounts accrued in
the ordinary course of business consistent with past practice), and with respect to accounts
receivable that have arisen since the Balance Sheet Date, net of reserves that will be established
with respect to such receivables consistent with past practices, which reserves are adequate and
calculated consistent with past practice of Seller and Way to Grow. Subject to such reserves, to
the Knowledge of Seller and Way to Grow, each of such accounts receivable either has been or
will be collected in full, without any counterclaim or setoff (other than normal cash discounts
accrued in the ordinary course of business consistent with past practice), within 90 days after the
day on which it first becomes due and payable.

3.23. Afiiliate Transactions. No director, officer, employee, Affiliate or “associate” or
members of any of their “immediate family” (as such terms are respectively defined in Rule
l2b-2 and Rule 16a-1 of the Exchange Act) of Way to Grow (each of the foregoing, a “Related
Person”), other than in its capacity as a director, officer or employee of Way to Grow (a) is
involved directly or indirectly, in any business arrangement or other relationship with any
Affiliate of Way to Grow (whether written or oral), (b) directly or indirectly owns, or otherwise
has any right, title, interest in, to or under, any property or right, tangible or intangible, that is
used by Way to Grow or (c) is engaged directly or indirectly, in any business that competes with
the Business ln addition, to the Knowledge of Seller and Way to Grow, no Related Person has an
interest in any Person that competes with the business of Way to Grow in any market presently
served by Way to Grow (except for ownership of less than one percent of the outstanding capital
stock of any corporation that is publicly traded on any recognized stock exchange or in the over-
the-counter market).

3.24. Finders’ Fces. There is no investment banker, broker, finder or other intermediary that
has been retained by or is authorized to act on behalf of Seller or Way to Grow who might be
entitled to any fee or commission from Seller or Way to Grow, or any Affiliates of Seller or Way
to Grow in connection with the Transaction.

3.25. No Other Representations and Warranties. Except for the representations and
warranties contained in this Article III (including the related portions of the Disclosure Schedule),
none of Seller, or Way to Grow, or any other Person has made or makes any other express or
implied representation or warranty, either written or oral, on behalf of Seller, or Way to Grow,
including any representation or warranty as to the accuracy or completeness of any information,
regarding Way to Grow fumished or made available to Purchaser and its Representatives or as to
the future revenue, profitability or success of the Business, or any representation or warranty
arising from statute or otherwise in Applicable Law.

Representations and Warranties of Purchaser

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Except as set forth in the Disclosure Schedule, Purchaser represents and warrants to Seller and
Way to Grow that:

4.1. Corporate Existence and Power.

(a) Purchaser is a corporation duly incorporated validly existing and in good standing under
the laws of its jurisdiction of incorporation and has all requisite corporate power and authority to
carry on its business as now conducted Purchaser is duly qualified to do business as a foreign
corporation or other entity and is in good standing in each jurisdiction where such qualification is
necessary, except where the failure to be so qualified or in good standing has not had and would
not reasonably be expected to have a Material Adverse Effect.

(b) Purchaser has made available to Seller and Way to Grow accurate and complete copies
of: (i) the Organizational Documents of Purchaser; and (ii) the stock records of Purchaser. There
has not been any violation of any of the provisions of the Organizational Documents of Purchaser,
and Purchaser has not taken any action that is inconsistent in any material respect with any
resolution adopted since inception by the stockholders of Purchaser, the board of directors of
Purchaser or any committee thereof.

(c) The Subsidiaries of Purchaser are set forth in Schedule 4.01(c).

4.2. Corporate Authorization. Purchaser has all requisite corporate power and authority to
enter into and to perform its obligations under this Agreement; and the execution, delivery and
performance by Purchaser of this Agreement has been duly authorized by all necessary action on
the part of Purchaser. Assuming the due authorization, execution and delivery of this Agreement
by Seller and Way to Grow, this Agreement constitutes the legal, valid and binding obligation of
Purchaser, enforceable against Purchaser in accordance with its terms, subject to (a) laws of
general application relating to bankruptcy, insolvency and the relief of debtors, and (b) rules of
law governing specific performance, injunctive relief and other equitable remedies

4.3. Govcrnmental Authorization. The execution, delivery and performance by Purchaser
of this Agreement and the consummation by Purchaser of the transactions contemplated hereby
require no action by or in respect of, or filing with, any Governmental Authority, other than
(a) compliance with any applicable requirements of the Securities Act, the Exchange Act and any
other U.S. state or federal securities laws or the laws of any national securities exchange, and (b)
any actions or filings the absence of which would not be reasonably expected to materially impair
the ability of Purchaser to consummate the Transaction.

4.4. Non-contravention. The execution, delivery and performance by Purchaser of this
Agreement and the consummation by Purchaser of the transactions contemplated hereby do not
and will not (a) contravene, conflict with, or result in any violation or breach of any provision of
the Organizational Documents of Purchaser or (b) assuming compliance with the matters referred
to in Section 4.03, contravene, conflict with or result in a violation or breach of any provision of
any material Applicable Law.

4.5. Capitalization.

(a) The issued and outstanding capital stock of Purchaser is as set forth in Section 4.05(a) of
the Disclosure Schedule, all of which are owned free and clear of any Liens All outstanding
shares of Purchaser Common Stock have been duly authorized and validly issued and are fully
paid and non-assessable Except as set forth on Section 4.05(a) of the Disclosure Schedule, there
are no shares of Purchaser Common Stock that remain subject to vesting or forfeiture restrictions
Except as otherwise set forth above, there are no outstanding (i) shares of capital stock or voting

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securities of Purchaser, (ii) securities of Purchaser convertible into or exchangeable for shares of
Purchaser or voting securities of Purchaser or (iii) options or other rights to acquire from
Purchaser, or other obligation of Purchaser to issue, any capital stock, voting securities or
securities convertible into or exchangeable for capital stock or voting securities of Purchaser. A
capitalization table of Purchaser is set forth on Section 4.05(a) of the Disclosure Schedule.

(b) All outstanding shares of Purchaser Common Stock have been issued and granted in
material compliance with (i) all applicable securities laws and other Applicable Laws and (ii) all
requirements set forth in applicable Contracts.

(c) Purchaser has never repurchased, redeemed or otherwise reacquired any shares of its
capital stock and there are no outstanding rights or obligations of Purchaser to repurchase or
redeem any of its securities

4.6. Financial Statements.

(a) Purchaser has made available to Way to Grow Purchaser’s audited consolidated balance
sheets as of December 31, 2014, and the related audited consolidated profit and loss accounts for
the year ended December 3l, 2014, and the unaudited consolidated balance sheets as of
September 30, 2015, and the related unaudited consolidated profit and loss accounts for the nine-
months ended September 30, 2015 (collectively, the “Purchaser Financial Statements”).

(b) The Purchaser Financial Statements (i) have been prepared from the books and records of
Purchaser, (ii) complied as to form in all material respects with applicable accounting
requirements with respect thereto as of their respective dates, (iii) have been prepared in
accordance with US GAAP applied on a consistent basis throughout the periods indicated and
consistent with each other, and (iv) give a true and fair view, in accordance with US GAAP, of the
financial position of Purchaser at the dates therein indicated and the results of operations of
Purchaser for the periods therein specified (subject, in the case of unaudited financial statements
for the nine-months ended September 30, 2015 , to the absence of notes and normal year-end audit
adjustments none of which individually or in the aggregate will be material in amount).

(c) The books of account and other financial records of Purchaser have been kept in the
ordinary course of business consistent with Applicable Laws in all material respects, the
transactions entered therein represent bona fide transactions and the revenues, expenses, assets
and liabilities of Purchaser have been recorded therein in all material respects Purchaser has
established and maintained a system of internal accounting controls to provide reasonable
assurances (i) that transactions are recorded as necessary (A) to permit preparation of financial
statements in conformity With US GAAP and (B) to maintain accountability for assets, (ii)
regarding prevention or timely detection of unauthorized acquisition, use or disposition of the
assets of Purchaser, (iii) that the amount recorded for assets on the books and records of
Purchaser are compared with the existing assets at reasonable intervals and appropriate action is
taken with respect to any differences and (iv) that accounts, notes and other receivables and
inventory are recorded in all material respects, and adequate procedures are implemented to effect
the collection thereof on a current and timely basis

4.7. Compliance with Applicable Laws Purchaser is, and has at all times since inception
been, in material compliance with, and to the Knowledge of Purchaser is not, and at no time since

inception has been, under investigation with respect to or threatened to be charged with or given
notice of any violation of, any Applicable Law.

4.8. Tax Matters.

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(a) Purchaser has duly and timely filed with the appropriate Tax authorities all Tax Returns
required to be filed for all taxable years ending on or after December 31, 2012. All such Tax
Returns are complete and accurate in all material respects All Taxes due and owing by Purchaser
(whether or not shown on any 'I`ax Returns and including estimated Taxes that are required to
have been paid) have been paid. Purchaser is currently not the beneficiary of any extension of
time within which to file any Tax Retum. No claim has ever been made by a Tax authority or
other Govemmental Authority in a jurisdiction where Purchaser does not file Tax Returns that
Purchaser is or may be subject to taxation by that jurisdiction

(b) With respect to any Pre-Closing Tax Period, Purchaser has made full provision in
accordance with US GAAP in its statutory accounts for the payment of all Taxes that are due or
are claimed to be due, or may or will become due as a result of` activities during such Pre-Closing
Tax Period. Since the Balance Sheet Date, Purchaser has not incurred any liability for Taxes
outside the ordinary course of business or otherwise inconsistent with past custom and practice.

(c) No deficiencies for Taxes with respect to Purchaser have been claimed or assessed by any
Tax authority or other Govemmental Authority for all taxable years ending on or after December
3l, 2012, and there is no existing audit or inquiry of any Tax authority or other Govemmental
Authority in relation to any such deficiencies There are no pending or, to the Knowledge of
Purchaser, threatened, audits, inquiries, assessments or other actions for or relating to any liability
in respect of Taxes of Purchaser. To the Knowledge of Purchaser, there are no matters under
discussion with any Tax authority with respect to Taxes that are likely to result in an additional
liability for Taxes with respect to Purchaser. Purchaser has delivered or made available to Way to
Grow and Seller complete and accurate copies of all federal, state, local and foreign Tax Returns
(and any predecessor thereof) for all taxable years ending on or after December 31, 2012, and
complete and accurate copies of all audit or examination reports and statements of deficiencies
assessed against or agreed to by Purchaser (or any predecessors thereof) since December 31,
2012. Purchaser (or any predecessor thereof) has not waived any statute of limitations in respect
of Taxes or agreed to any extension of time with respect to a Tax assessment or deficiency, nor
has any request been made in writing for any such extension or waiver. No power of attorney
(other than powers of attomey authorizing employees of Purchaser to act on behalf of Purchaser)
with respect to any Taxes is in effect with any Tax authority, and each employee of Purchaser who
is authorized to act on behalf of` Purchaser with respect to any Taxes is identified on Section
4.09(0) of the Disclosure Schedule.

(d) There are no Liens for Taxes upon any property or asset of Purchaser (other than statutory
Liens for current Taxes not yet due and payable).

(e) Purchaser will not be required to include any item of income in, or exclude any item of
deduction from, taxable income for any period (or any portion thereof) ending after the Closing
Date as a result of any installment sale or other transaction on or prior to the Closing Date, any
accounting method change or agreement with any Tax authority, the use of an improper method
of accounting for any period or portion thereof ending prior to the Closing Date, any prepaid
amount received on or prior to the Closing or excess loss account

(f`) Purchaser is not a party to or bound by any Tax indemnity agreement, Tax sharing
agreement, Tax allocation agreement or similar Contract in respect of any party other than
Purchaser.

(g) Purchaser has not participated in nor plans to participate in any Tax amnesty program, or
within the last six years has been party to a transaction that Purchaser has been required to be
disclosed to, or that has required a formal clearance or ruling f`rom, any Tax authority or other
Governmental Authority.

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(h) Purchaser has no liability for the Taxes of any Person other than Purchaser (i) as a
transferee or successor, (ii) by Contract or (iii) otherwise (including, for the avoidance of doubt,
as a result of any tax grouping arrangements).

(i) Purchaser has timely withheld and paid all Taxes required to have been withheld and paid
in connection with amounts paid or owing to any employee, independent contractor, creditor,
equity holders of Purchaser or other Person.

4.9. Finders’ Fces. With the exception of Spartan Capital Securities, LLC, there is no
investment banker, broker, finder or other intermediary that has been retained by or is authorized
to act on behalf of Purchaser who might be entitled to any fee or commission from Purchaser or
any of its Affiliates in connection with the Transaction.

4.10. Financial Ability. On the Closing Date, Purchaser will have available cash or other
sources of immediately available funds sufficient to pay or cause to be paid the Cash Payment
and the other amounts payable by Purchaser pursuant to Section 2.02(b), in each case in
accordance with the terms of this Agreement.

4.11. Litigation. There are no actions, suits, claims, investigations or other legal proceedings
pending or threatened in writing against or by Purchaser or any Affiliate of Purchaser that
challenge or seek to prevent, enjoin or otherwise delay the transactions contemplated by this
Agreement. There is no material order, writ, injunction, directive, restriction, judgment or decree
to which Purchaser, or any of the assets owned or used by Purchaser, is subject or which restricts
in any respect the ability of Purchaser to conduct its business To the Knowledge of Purchaser, no
officer or other employee of Purchaser is subject to any order, writ, injunction, judgment or
decree that prohibits such officer or other employee from engaging in or continuing any conduct,
activity or practice relating to the business of Purchaser.

Covenants of Seller and Way to Grow

5.1. Payoff Letters; Invoices; and Lien Rcleases. Seller shall use commercially reasonable
efforts to obtain and deliver to Purchaser no later than two Business Days prior to the Closing
Date, an accurate and complete copy of: (a) a payoff letter, dated no more than three Business
Days prior to the Closing Date, with respect to all Closing lndebtedness, if any, Way to Grow
owed to such lender and the estimated amounts payable to the lender thereof to (i) satisfy such
Closing Indebtedness as of the Closing and (ii) terminate and release any Liens related thereto
(each, a “Payoif Letter”), or such other appropriate documentation with respect to the satisfaction
and cancelation of all Closing Indebtedness; (b) an invoice from each advisor or other service
provider to Way to Grow, dated no more than three Business Days prior to the Closing Date, with
respect to Way to Grow Transaction Expenses estimated to be due and payable to such advisor or
other service provider, as the case may be, as of the Closing Date (each, an “lnvoice”); and (c) to
the extent not delivered in connection with a Payoff Letter, written instruments terminating and
releasing any Lien on (i) any property or assets of Way to Grow or used in the Business or (ii) the
Way to Grow Common Stock or any other securities of Way to Grow (each, a “Lien Release”).

 

5.2. Indemnification of Officers and Directors. Purchaser and PSubl agree that all rights to
indemnification by Way to Grow for acts or omissions occurring prior to the Effective Time
existing as of the date of this Agreement in favor of the current and former directors and officers
of Way to Grow shall survive the Mergers and shall continue in full force and effect in accordance
with their terms following the Effective Time, and Purchaser shall cause the Surviving Entity to
fulfill and honor such obligations to the maximum extent permitted by Applicable Law_

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Additional Covenants 'of the Partles
6.1. Appropriate Action; Consents.

(a) Seller, and Way to Grow and Purchaser shall, and Seller shall cause Way to Grow to, use
commercially reasonable efforts to: (i) take, or cause to be taken, all appropriate action and do, or
cause to be done, and to assist and cooperate with the other parties hereto in doing all things
necessary, proper or advisable under Applicable Law or otherwise to consummate and make
effective the Transaction as promptly as practicable; and (ii) obtain from any Governmental
Authority any consents, licenses, permits, waivers, approvals, authorizations or orders required to
be obtained by Way to Grow, or to avoid any Proceeding by any Governmental Authority, in
connection with the authorization, execution and delivery of this Agreement and the
consummation of the Transaction. The parties shall furnish to each other all information required
for any application or other filing under the rules and regulations of any Applicable Law in
connection with the Transaction.

(b) 'l`he parties shall give any notices to third parties, and use, their commercially reasonable
efforts to obtain any third party consents, (i) necessary, proper or advisable to consummate the
Transaction, (ii) required to be disclosed in the Disclosure Schedule or (iii) required to prevent a
Material Adverse Effect from occurring prior to or after the Closing,

6.2. Public Announccrncnts. Without limiting any other provision of this Agreement, each
of Purchaser and Seller shall consult with the other prior to issuing any press release with respect
to the execution of this Agreement. Thereafter, neither Seller, Way to Grow nor Purchaser, shall
issue any press release or other announcement (to the extent not previously publicly disclosed or
made in accordance with this Agreement) with respect to this Agreement, the Transaction or any
Acquisition Proposal without the prior consent of the other parties hereto (such consent not to be
unreasonably withheld, conditioned or delayed), except as such press release or other
announcement may be required by Applicable Law or the applicable rules of a national securities
exchange, in which case the party required to issue the release or make the announcement shall
use its commercially reasonable efforts to provide the other party with a reasonable opportunity to
review and comment on such release or announcement in advance of its issuance.

6.3. Preservation of Records. Seller, Purchaser and PSubl agree that each of them shall
preserve and keep the records held by them or their Affrliates relating to the respective businesses
of Way to Grow for a period of three years from the Closing Date and shall make such records
and personnel available, during normal business hours upon reasonable notice and in a manner so
as to not unreasonably interfere with the conduct of business, to the other as may be reasonably
requested by such party in accordance with this Section 6.04. Requests may be made under this
Section 6.04 only to (a) facilitate the preparation for or the prosecution, defense, or disposition of
any Proceeding (other than any Proceeding between or among any of the parties hereto or any
Indemnitee) or (b) prepare and file other documents or reports required by any Governmental
Authority. Notwithstanding anything herein to the contrary, neither party shall be required to
make any such records or personnel available to the extent such party determines in its
reasonable judgment (after consultation with outside legal counsel), that doing so would (i)
violate Applicable Law, (ii) breach a Contract or obligation of confidentiality owing to a third
party or (iii) constitute a waiver of attorney-client privilege (it being agreed that such party shall
give notice to the other party of the fact that it is withholding such information or documents
pursuant to clauses (i) through (iii) above and thereafter the parties shall reasonably cooperate
(including by entering into a joint defense or similar agreement) to cause such information to be
provided in a manner that would not reasonably be expected to waive the applicable privilege or
protection or violate the applicable restriction). Seller shall not have access to personnel records

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of Way to Grow relating to individual performance or evaluation records, medical histories or
other inforrnation, the disclosure of which would result in the violation of Applicable Law. ln the
event Seller or Purchaser wishes to destroy such records after that time, such party shall first give
ninety (90) days prior written notice to the other and such other party shall have the right at its
option and expense, upon prior written notice given to such party within such 90-day period, to
take possession of the records within one hundred eighty (180) days after the date of such notice.

6.4. Benefits After Closing. After the Closing Date, Way to Grow will use its commercially
reasonable efforts to continue offering to its employees similar benefits to those in place with
Way to Grow prior to the Closing Date.

6.5. Audit of Way to Grow. The audit of Way to Grow’s Financial Statements is being
conducted by a PCAOB independent auditor (the “Audit”). Way to Grow and Seller agree to take
all commercially reasonable measures to cooperate with respect to the Audit so that it may be
completed as soon as is practicable

Tax Matters

7.1. Final “S" Corporation Tax Return. Seller and Purchaser (a) acknowledge that Way to
Grow is presently operated as an “S” corporation for income Tax purposes, and that such “S”
corporation status will be revoked as of the Closing, and (b) agree that Seller will be responsible
for and will have authority to file the final federal and Colorado (and other applicable state) “S”
corporation income Tax Returns for the period beginning January l, 2015 and ending on the date
of the Closing, and that Seller will file such Tax Returns, provided that Seller will provide
Purchaser a draft copy of such final Tax Returns for review and comment before filing the same
(provided, however, and for the avoidance of doubt, that while Seller shall discuss any comments
with Purchaser, Seller shall not be required to reflect any such comments on such Tax Returns in
Seller’s sole discretion). To the extent a Tax Return is governed by both this Section 6.06 and
Section 7.01 or Section 7.02 then this Section 6.05 shall control. The Surviving Corporation shall
file such Tax Returns prepared in accordance with this Section 7 .01 if required by Applicable
Law.

7.2. Tax Periods Ending on or before the Closing Date, To the extent not filed prior hereto,
Seller shall prepare or cause to be prepared, in accordance with Applicable Law and consistent
with past practice, each Tax Return required to be filed with respect to Way to Grow for a Pre-
Closing Tax Period. At least 20 days prior to the date on which any such Tax Return is due (after
taking into account any valid extension), but not within fewer than five (5) days after the date
hereof, Way to Grow, or Seller, as applicable, shall deliver such Tax Return to Purchaser. No later
than five days prior to the date on which such Tax Return for a Pre-Closing Tax Period is due
(after taking into account any valid extension), Purchaser, after reasonable consultation with
Seller, may make reasonable changes and revisions to such Tax Return. Way to Grow shall not
file such Tax Return without the consent of the Purchaser, which shall not be unreasonably
withheld, conditioned or delayed_ To the extent not filed prior to the Closing Date, Way to Grow
shall file or cause to be filed each Tax Return required to be filed with respect to Way to Grow for
a Pre-Closing Tax Period.

7.3. Straddle Periods. Purchaser shall prepare each Tax Return required to be filed with
respect to Way to Grow for any Straddle Period, in accordance with Applicable Law and
consistent with past practice. At least 20 days prior to the date on which any such Tax Return for
a Straddle Period is due (after taking into account any valid extension), Purchaser shall deliver
such Tax Return to Seller. No later than five days prior to the date on which any such Tax Return
for any Straddle Period is due (after taking into account any valid extension), Way to Grow, after

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reasonable consultation with Purchaser, may make reasonable changes and revisions to such Tax
Return as are requested by Seller. Purchaser shall file or cause to be filed each Tax Return
required to be filed with respect to Way to Grow for a Straddle Period,

7.4. Straddle Period Allocations. For purposes of this Section 7.04 and Section 9.02(€), the
portion of any Tax that relates to the portion of any Straddle Period ending on the Closing Date
shall be determined as follows: (i) with respect to franchise, property or other ad valorem Taxes,
the amount allocable to the portion of the period ending on the Closing Date shall equal the
amount of such property Taxes for such entire Straddle Period multiplied by a fraction, the
numerator of which is the number of days during the Straddle Period that are in the portion of
such Straddle Period ending on the Closing Date and the denominator of which is the number of
days in the Straddle Period; and (ii) with respect to all other Taxes, the amount allocable to the
portion of the period ending on the Closing Date shall be determined based on an actual closing
of the books used to calculate such Taxes as if such tax period ended as of the close of business
on the Closing Date. ln the case of clause (ii), exemptions, allowances or deductions that are
calculated on an annual basis (including depreciation and amortization deductions computed as if
the Closing Date was the last day of the Straddle Period) shall be allocated between the portion of
the Straddle Period ending on the Closing Date and the portion of the Straddle Period thereafter in
proportion to the number of days in each such portion.

7.5. Cooperation on Tax Matters. Purchaser, Seller and Way to Grow shall cooperate fully,
as and to the extent reasonably requested by the other party, in connection with the filing of Tax
Returns pursuant to this Agreement and any Tax Contest. Such cooperation shall include the
retention and (upon the other party’s request) access to (and ability to copy) the records and
information which may be reasonably relevant to any such Tax Contest and making appropriate
persons available on a mutually convenient basis to provide additional information and
explanation of any material provided hereunder. Purchaser, Seller and Way to Grow shall retain
all books and records with respect to 'l`ax matters pertinent to Way to Grow relating to any
Taxable period beginning before the Closing Date until the expiration of the statute of limitations
(and, to the extent notified, any extensions thereof) of the respective Taxable periods, and to abide
by all record retention agreements entered into with any Taxing authority. Additionally, unless
required by Applicable Law, without the prior written consent of the Seller (such consent not to
be unreasonably withheld, conditioned or delayed), neither the Purchaser nor any of its Affiliates
(including after the Closing Date, Way to Grow) shall take any action outside the ordinary course
of business with respect to Way to Grow that could reasonably be respected to materially increase
the Tax liability of Way to Grow or the Seller for any Pre-Closing Tax Period or the portion of a
Straddle Period ending on the Closing Date.

7.6. Contest Provisions. If, subsequent to the Closing, Purchaser or Way to Grow receives
notice of a Tax Contest with respect to any Tax Retum of Way to Grow for a Pre-Closing Tax
Period (a “ re-Closing Return") with respect to which lndemnitees may claim a right to
indemnification under this Agreement, then within 10 days after receipt of such notice, Purchaser
shall notify Seller of such notice; provided, however, that any failure on the part of Purchaser to
so notify Seller shall not limit any of the obligations of Seller under Article 9 (except to the extent
such failure materially prejudices the Seller). Purchaser shall have the right to control the
conduct and resolution of such Tax Contest, provided that (l) Seller may participate in such claim
with counsel of its choice, (2) Purchaser shall keep Seller reasonably informed of all material
developments on a timely basis, (3) Purchaser shall consider in good faith any comments
provided by the Seller in connection with the conduct and resolution of such Tax Contest and (4)
Purchaser shall not resolve such Tax Contest in a manner that could reasonably be expected to
have an adverse impact on Way to Grow’s indemnification obligations under this Agreement
without Seller’s written consent, which consent shall not be unreasonably withheld. “M

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Contest” means any audit, other administrative proceeding or inquiry by a Government Authority,
or judicial proceeding, in each case relating to the relevant Tax Return.

7.7. Characterization of Payments. Any indemnity payments made pursuant to Article 9
shall constitute an adjustment of the Aggregate Consideration paid by Purchaser pursuant to this
Agreement for Tax purposes and shall be treated as such by all parties on their Tax Returns to the
extent permitted by law. For the avoidance of doubt, any payments of the Aggregate
Consideration whether paid before or after the Closing Date (including the Initial Payment) shall
be treated shall be treated as adjustments to the purchase price paid by Purchaser pursuant to this
agreement for Tax purposes and shall be treated as such by all parties on their Tax Returns to the
extent permitted by law.

7.8. Treatment of Mergers. The parties intend that the First Merger, together with the
Second Merger, be treated together as a Reorganization and that this Agreement constitute a “plan
of reorganization” within the meaning of section 1.368-2(g) of the regulations promulgated under
the Code. Each party hereto (and their Affiliates) shall prepare all Tax Returns consistently with
such intent and no party shall take any action inconsistent with such intent, unless agreed to
beforehand in writing by the Purchaser and the Seller. Notwithstanding the foregoing, Purchaser
makes no representations or warranties to Way to Grow or the Seller regarding the 'l`ax treatment
or any of the Tax consequences to the Company or the Seller of the other transactions
contemplated hereby, including the First Merger or the Second Merger.

7.9. Certain Post-Closing Conduct of the Business Purchaser covenants and warranties to
the Seller that Purchaser shall either continue the Way to Grow’s historic business or use a
significant portion of the Way to Grow’s historic business assets in a business (or Purchaser is
treated as doing so, within the scope of Treasury Regulations l.368-1(d)(4)), all within the
meaning of Treasury Regulations 1.368-1 (d)(l).

7.10. Transfer Taxes. All transfer, documentary, sales, use, stamp, registration and other
similar Taxes and fees (including any penalties and interest) incurred in connection with the
Transaction and this Agreement shall be borne by Purchaser. Purchaser will file, and Seller and
Way to Grow shall cooperate in the preparation and filing of, all necessary Tax returns and other
documentation with respect to all such transfer, documentary, sales, use, stamp, registration and
other Taxes and fees.

Closing Conditions

8.1. Condltions to the Obligations of Each Party. The obligations of Seller, Way to Grow,
Purchaser and PSubl to consummate the Transaction are subject to the satisfaction of the
following conditions:

(a) Govemmental Approvals. All notices to, filings with and Consents of Governmental
Authorities required to be made or obtained under any Applicable Law in connection with the
execution, delivery and performance of this Agreement and the consummation of the Transaction
shall have been made or obtained and be in full force and effect

(b) No Injunction. No temporary restraining order, preliminary or permanent injunction or
other order or decree issued by any Governmental Authority of competent jurisdiction shall be in
effect which prevents the consummation of the Transaction on the terms contemplated herein, and
no Applicable Law shall have been enacted or be deemed applicable to the Transaction that
makes illegal consummation of the Transaction.

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(e) Agreement. Purchaser, PSubl, PSubZ, Way to Grow and the Seller shall execute and
deliver to the other parties this Agreement.

(d) Sales Tax. Purchaser and Seller shall mutually agree on the payment of any pre-Closing
Colorado sales tax liabilities, if any.

8.2. Conditions to the Obligations of Purchaser. The obligations of Purchaser, PSubl and
PSub2 to consummate the Transaction are subject to the satisfaction, at or prior to the Closing, of
the following further conditions:

(a) Representations and Warranties. Each of (i) the Fundamental Representations shall be
true and correct in all respects as of the date of this Agreement and as of the Closing Date as if
made on the Closing Date (except for Fundamental Representations that speak as of a particular
date, which shall be true and correct in all respects as of such date) and (ii) the other
representations and warranties made by Seller in this Agreement shall have been accurate in all
material respects as of the date of this Agreement and shall be accurate in all material respects as
of the Closing Date as if made as of the Closing Date (except for representations and warranties
that speak as of a particular date, which shall be accurate in all material respects as of such date),
in the case of this clause “(ii)”, without giving effect to any Material Adverse Effect or other
materiality qualifications or any similar qualifications contained or incorporated directly or
indirectly in such representations and warranties

(b) Wav to Grow Stockholder Ar)nroval. The stockholders of Way to Grow shall have
approved the Transaction, this Agreement and the First Merger.

(c) Covenants. Each of the covenants and obligations that Seller or Way to Grow is required
to comply with or to perform at or prior to the Closing shall have been complied with and
performed in all material respects

(d) Consents. Each of the Consents set forth in Schedule 8.02(d) shall have been obtained in
form and substance reasonably satisfactory to Purchaser and shall be in full force and effect.

(e) No Material Adverse Effect, Since the date of this Agreement, there shall not have
occurred any Material Adverse EHect.

 

(f) Executed Agreements and Certificates. Purchaser shall have received the following
agreements and documents, each of which shall be in full force and effect:

(i) a certificate pursuant to U.S. Treasury Regulations section l.l445-2(b), in a form
reasonably acceptable to Purchaser, duly executed and acknowledged by Seller;

(ii) (A) Payoff Letters from each creditor to which Closing Indebtedness is owed as
of the Closing Date, each in form and substance satisfactory to Purchaser, or such other
appropriate documentation with respect to the satisfaction and cancelation of Closing
lndebtedness; (B) invoices from each Person with Way to Grow Transaction Expenses have been
incurred and remain unpaid as of the Closing Date, and (C) Lien Releases in accordance with
Section 5.05;

(iii) a certificate of a secretary or assistant secretary, or equivalent officer, cf Way to
Grow certifying copies of (A) Way to Grow’s charter documents as certified by the Secretary of
State (or equivalent Governrnental Authority) of its jurisdiction of incorporation, and bylaws,
each as amended, and (B) the resolutions of Way to Grow authorizing the execution, delivery and

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performance of this Agreement, the First Merger and the Transaction and the incumbency and
signatures of officers of Seller and Way to Grow executing this Agreement;

(iv) a certificate executed on behalf of Way to Grow by its President (the “Seller
Closing Certificate”) and containing representations and warranties of Way to Grow (A) to the
effect that the conditions set forth in Sections 8.02(a), 8.02(c), 8.02(e), 8.02(g), 8.02(h) and
8.02(i) have been duly satisfied, (B) specifying the total amount of the Closing Indebtedness (and
attaching thereto an accurate and complete copy of each executed Payoff Letter not previously
delivered to Purchaser or such other appropriate documentation with respect to the satisfaction
and cancelation of all Closing Indebtedness), and (C) specifying the total amount of Way to Grow
Transaction Expenses (and attaching thereto an accurate and complete copy of each Invoice not
previously delivered to Purchaser); and

(v) all of the statutory and other books (duly written up to date) of Way to Grow and
all certificates of incorporation, certificates of incorporation on change of name and common
seals or such equivalent items in the relevant jurisdiction as are kept by Way to Grow or required
to be kept by Applicable Law.

(g) Related PU Transactions. All Contracts between Way to Grow, on the one hand, and
any Related Person, on the other hand, (other than ordinary course agreements relating to
employee compensation and benefits that have been made available to Purchaser) shall have been
terminated

(h) Litigation. There shall not be pending or threatened by or before any Govemmental
Authority any Proceeding that (i) seeks to prevent the consummation of the Transaction on the
terms, and conferring upon Purchaser all of their respective rights and benefits, contemplated
herein, or (ii) seeks the award of Damages (in an amount material to Way to Grow) payable by, or
any other remedy against, Purchaser if the Transaction is consummated

(i) Key Employee Agreements. The Employment Agreements executed by each of the Key
Employees shall be in full force and effect, and to the Knowledge of Seller, no Key Employee
shall have evidenced any intention to terminate employment or, with Purchaser or Way to Grow
following the Closing.

8.3. Conditions to the Obligations of Seller. l`he obligations of Seller to consummate the
Transaction are subject to the satisfaction, at or prior to the Closing, of the following further
conditions:

(a) Representations and Warranties. Each of (i) the Fundamental Representations shall be
true and correct in all respects as of the date of this Agreement and as of the Closing Date as if
made on the Closing Date (except for Fundamental Representations that speak as of a particular
date, which shall be true and correct in all respects as of such date) and (ii) the other
representations and warranties made by Purchaser in this Agreement shall be accurate in all
material respects as of the Closing Date as if made as of the Closing Date (except for
representations and warranties that speak as of a particular date, which shall be accurate in all
material respects as of such date), in the case of this clause “(ii)”, without giving effect to any
Material Adverse Effect cr other materiality qualifications or any similar qualifications
contained or incorporated directly or indirectly in such representations and warranties

(b) Covenants. Each of the covenants and obligations that Purchaser is required to comply

with or to perform at or prior to the Closing shall have been complied with and performed in all
material respects

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(e) Executed Agreements and Certificates_ Seller shall have received the following
agreements and documents, each of which shall be in full force and effect:

(i) a certificate executed on behalf of Purchaser by its authorized representative and
containing the representation and warranty of Purchaser that the conditions set forth in Sections
8.03(a) and 8.03(b) have been duly satisfied (the “Purchaser Closing Certificate”); and

(ii) a certificate of a secretary or assistant secretary, or equivalent officer, of
Purchaser certifying copies of the resolutions of the board of directors of Purchaser that the fair
market value of the Payment Shares issued to the Seller is $2.00 per share.

(d) Litigation. There shall not be pending or threatened by or before any Governmental
Authority any Proceeding that seeks to prevent the consummation of the Transaction on the terms
contemplated herein.

(e) Payment Purchaser shall have delivered to Seller (i) cash in an amount equal to the Cash
Payment by wire transfer in immediately available funds, to an account or accounts designated at
least two Business Days prior to the Closing Date by Seller in a written notice to Purchaser (ii)
the executed Seller Note and any schedules and exhibits related thereto and (iii) the Payment
Shares

(fj Purchaser Disclosure Schedules Purchaser shall have provided to Seller the Purchaser’s
Disclosure Schedules, in form and substance satisfactory to Seller.

9.
Indemnification
9.1. Survival of Representations, Etc.
(a) The representations and warranties and other obligations made by Seller and Purchaser in

this Agreement shall survive the Closing until the date that is twelve (12) months following the
Closing Date (the “Expiration Date”). Notwithstanding the foregoing, if at any time prior to the
Expiration Date any Indemnitee delivers to Seller or Purchaser, as applicable, a written notice
alleging the existence of an inaccuracy in or a breach of any of such representation, warranty,
covenant or other obligation and asserting a claim for recovery under Section 9.02 based on such
alleged inaccuracy or breach, then the claim asserted in such notice shall survive until such time
as such claim is fully and finally resolved Notwithstanding the foregoing, all representations and
warranties made by Seller and Purchaser in this Agreement shall survive indefinitely in the event
of fraud or willfiil or intentional misrepresentation by Seller, Purchaser, or any of Seller’s or
Purchaser’s Representatives.

(b) The representations warranties covenants and obligations of Seller and Purchaser, and
the rights and remedies that may be exercised by the lndemnitees, shall not be limited or
otherwise affected by or as a result of any information furnished or made available to, or any
investigation made by or knowledge of, any of the lndemnitees or any of their Representatives.

(c) For purposes of this Agreement, each statement or other item of information set forth in
the Disclosure Schedule shall be deemed to be a representation and warranty made by Seller or
Purchaser, as applicable, in this Agreement.

(d) The parties acknowledge and agree that if Way to Grow suffers, incurs or otherwise
becomes subject to any Damages as a result of or in connection with any inaccuracy in or breach
of any representation, warranty, covenant or obligation, then (without limiting any of the rights of

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such Way to Grow as an lndemnitee) Purchaser shall also be deemed, by virtue of its ownership
of the stock of Way to Grow, to have incurred Damages as a result of and in connection with such
inaccuracy or breach.

9.2. Indemnification.

(a) From and after the Closing, Seller shall hold harmless and indemnify each of the
lndemnitees from and against, and shall compensate and reimburse each of the lndemnitees for,
any Damages which are suffered or incurred by any of the lndemnitees or to which any of the
lndemnitees may otherwise become subject (regardless of whether or not such Damages relate to
any thirdparty claim) and which arise from or as a result of, or are connected with: (a) any
inaccuracy in or breach of any representation or warranty of Way to Grow or Seller as of the date
of this Agreement (without giving effect to any “Material Adverse Effect” or other materiality
qualification or any similar qualification contained or incorporated directly or indirectly in such
representation or warranty); (b) any inaccuracy in or breach of any representation or warranty of
Way to Grow or Seller as if such representation and warranty had been made on and as of the
Closing Date (except for such representations and warranties that address matters only as of a
particular time, which need only be accurate as of such time) (without giving effect to any
“Material Adverse Effect” or other materiality qualification or any similar qualification contained
or incorporated directly or indirectly in such representation or warranty); (c) any breach of any
covenant or obligation of Way to Grow or Seller set forth in this Agreement; (d) any Closing
Indebtedness or Way to Grow Transaction Expenses, to the extent not accounted for in the
determination of the Aggregate Consideration pursuant to this Agreement; and (e) (i) any Taxes of
Way to Grow with respect to any Pre-Closing Tax Period or with respect to the portion of any
Straddle Period ending on the Closing Date, to the extent not accounted for in the determination
of the Aggregate Consideration pursuant to this Agreement, and (ii) the unpaid Taxes of any
Person (other than Way to Grow) for which Way to Grow is liable as a transferee or successor, by
Contract, or otherwise (including, for the avoidance of doubt, as a result of any tax grouping
arrangements), to the extent such liability arises from an event occurring on or prior to the
Closing Date; provided, however, that in no event shall such Damages be “double counted” for
purposes of this Article 9.

(b) From and after the Closing, Purchaser shall hold harmless and indemnify each of the
lndemnitees from and against, and shall compensate and reimburse each of the lndemnitees for,
any Damages which are suffered or incurred by any of the lndemnitees or to which any of the
lndemnitees may otherwise become subject (regardless of whether or not such Damages relate to
any thirdparty claim) and which arise from or as a result of, or are connected with: (a) any
inaccuracy in or breach of any representation or warranty of Purchaser as of the date of this
Agreement (without giving effect to any “Material Adverse Effect” or other materiality
qualification or any similar qualification contained or incorporated directly or indirectly in such
representation or warranty); (b) any inaccuracy in or breach of any representation or warranty of
Purchaser as if such representation and warranty had been made on and as of the Closing Date
(except for such representations and warranties that address matters only as of a particular time,
which need only be accurate as of such time) (without giving effect to any “Material Adverse
Effect” or other materiality qualification or any similar qualification contained or incorporated
directly or indirectly in such representation or warranty); (c) any breach of any covenant or
obligation of Purchaser set forth in this Agreement; (d) any Finders’ Fee incurred by Purchaser
prior to the Closing; and (e) (i) any Taxes of Purchaser with respect to any Pre-Closing Tax
Period or with respect to the portion of any Straddle Period ending on the Closing Date and (ii)
the unpaid Taxes of any Person (other than Purchaser) for which Purchaser is liable as a
transferee or successor, by Contract, or otherwise (including, for the avoidance of doubt, as a
result of any tax grouping arrangements); provided, however, that in no event shall such Damages
be “double counted” for purposes of this Article 9.

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9.3. Limitations.

(a) No party shall be required to make any indemnification payment pursuant to Section
9.02(a) or Section 9.02(b) for any inaccuracy in or breach of any of the representations and
warranties, until such time as the total amount of all Damages (including the Damages arising
from such inaccuracy or breach and all other Damages arising from any other inaccuracies in or
breaches of any representations or warranties) that have been directly or indirectly suffered or
incurred by any one or more of the lndemnitees, or to which any one or more of the lndemnitees
has or have otherwise become subject, exceeds an amount equal to U.S. $l00,000 (the
“Deductible”) in the aggregate (it being understood that if the total amount of such Damages
exceeds the Deductible, then the lndemnitees shall be entitled to be indemnified against and
compensated and reimbursed only for such Damages that are in excess of the Deductible).

(b) Absent fraud or willful or intentional misrepresentation, the indemnification provisions
contained in this Article 9 are intended to provide the sole and exclusive remedy following the
Closing as to all Damages any Indemnitee may incur arising from or relating to this Agreement or
the Transaction (it being understood that nothing in this Section 9.03(b) or elsewhere in this
Agreement shall affect the parties’ rights to specific performance with respect to the covenants
referred to in this Agreement or to be performed after the Closing).

(c) Payments by Seller or Purchaser, as applicable, in respect of any Damages shall be
limited to the amount of any Damages that remain after deducting therefrom (l) any amounts
actually received by such Indemnitee pursuant to the terms of the insurance policies (if any)
covering such Damages (net of all deductibles, co-payments, retro-premium obligations and
premium increases attributable thereto and all costs of collection of any such insurance proceeds)
or (2) any Tax benefits actually realized by such Indemnitee.

(d) Notwithstanding any other provision of this Agreement, the aggregate indemnification
obligations of Seller under Section 9.02(a) shall not exceed 20% of the Cash Payment actually
received by Seller hereunder plus 20% of the Payment Shares issued to the Seller, at a valuation
of $2.00 per share (collectively, the “Seller Cap Limitation”); provided, however, that (i) in the
event of breaches or inaccuracies with respect to Seller’s Fundamental Representations the Seller
Cap Limitation shall be one hundred percent (100%) of the Cash Payment actually received by
Seller hereunder plus 100% of the Payment Shares issued to the Seller, at a valuation of $2.00 per
share and (ii) the Seller Cap Limitation shall not apply to matters involving fraud. In the event
that the indemnification obligations owed by Seller pursuant to Section 9.02(a) are less than the
amount of the applicable Seller Cap Limitation, such indemnification obligations shall first be
satisfied by the applicable portion of the Cash Payment, and then, to the extent not fully satisfied,
by the applicable portion of the Payment Shares. For the avoidance of doubt, and
notwithstanding anything to the contrary in this Agreement, there shall be no indemnity available
under Section 9.02(a) for any Taxes attributable to any Tax period (or portion thereof) beginning
after the Closing Date.

 

(e) Notwithstanding any other provision of this Agreement, the aggregate indemnification
obligations of Purchaser under Section 9.02(b) shall not exceed shall not exceed the amount of
the Seller Cap Limitation (the “Purchaser Cap Limitation”); provided. however` that (i) in the
event of breaches or inaccuracies with respect to Purchaser’s Fundamental Representations the
Purchaser Cap Limitation shall be one hundred percent (100%) of the Cash Payment actually
received by Seller hereunder plus 100% of the Payment Shares issued to the Seller, at a valuation
of $2.00 per share and (ii) the Purchaser Cap Limitation shall not apply to matters involving
fraud.

9.4. Claims and Procedures.
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(a) If at any time prior to the Expiration Date, Purchaser or Seller, as applicable, determines
in good faith that any Indemnitee has a bona fide claim for indemnification pursuant to this
Article 9, Purchaser or Seller, as applicable (the “lndemnified Pam[”), may deliver to the other
party (the “ ndemni§ging Pag”) a certificate signed by Seller or any officer of Purchaser, as
applicable (any certificate delivered in accordance with the provisions of this Section 9.04(a) an
“Officer’s Claim Certificate”):

(i) stating that an Indemnitee has a claim for indemnification pursuant to this
Article 9',

(ii) to the extent possible, containing a good faith non-binding, preliminary estimate
of the amount to which such Indemnitee claims to be entitled to receive, which shall be the
amount of Damages such Indemnitee claims to have so incurred or suffered or could reasonably
be expected to incur or suffer;

(iii) specifying in reasonable detail (based upon the information then possessed by
Purchaser) the material facts known to the Indemnitee giving rise to such claim; and

(iv) no delay in providing such Officer’S Claim Certificate prior to the Expiration
Date shall affect an Indemnitee’s rights hereunder, unless (and then only to the extent that) Seller
is materially prejudiced thereby.

(b) lf the lndemnifying Party, in good faith, objects to any claim made by the Indemnified
Party in any Officer’s Claim Certificate, then the lndemnifying Party shall deliver a written notice
(a “Claim Dispute Notice”) to the Indemnified Party during the 30-day period commencing upon
receipt by the lndemnifying Party of the Officer’s Claim Certificate The Claim Dispute Notice
shall set forth in reasonable detail the principal basis for the dispute of any claim made by the
Indemnified Party in the Officer’s Claim Certificate lf the lndemnifying Party does not deliver a
Claim Dispute Notice to the indemnified Party prior to the expiration of such 30-day period, then
each claim for indemnification set forth in such Officer’s Claim Certificate shall be deemed to
have been conclusively determined in the Indemnified Party’s favor for purposes of this Article 9
on the terms set forth in the Officer’s Claim Certificate

(e) lf the lndemnifying Party delivers a Claim Dispute Notice, then the Indemnified Party
and the lndemnifying Party shall attempt in good faith to resolve any such objections raised by
the lndemnifying Party in such Claim Dispute Notice If the Indemnified Party and the
lndemnifying Party agree to a resolution of such objection, then a memorandum setting forth the
matters conclusively determined by the Indemnified Party and the lndemnifying Party shall be
prepared and signed by both parties

(d) lf no such resolution can be reached during the 45~day period following the Indemnified
Party’s receipt cfa given Claim Dispute Notice, then upon the expiration of such 45-day period,
either the Indemnified Party or the lndemnifying Party may bring suit to resolve the objection in
accordance with Sections 10.07, 10.08 and 10.09. The decision of the trial court as to the validity
and amount of any claim in such Officer’s Claim Certificate shall be nonappealable, binding and
conclusive upon the Indemnified Party and the lndemnifying Party, and the Indemnified Party and
the lndemnifying Party shall act in accordance with such decision Judgment upon any award
rendered by the trial court may be entered in any court having jurisdiction

9.5. Defense of Third-Party Claims. Except as otherwise provided in Article 9, in the event
of the assertion of any claim or the commencement by any Person of any Proceeding (whether
against Seller, against Purchaser or against any other Person) with respect to which Seller or
Purchaser, as applicable, may become obligated to hold harmless, indemnify, compensate or

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reimburse any Indemnitee pursuant to this Article 9 (each, a “Claim”), the other party shall have
the right, upon written notice to Seller or Purchaser, as applicable, within thirty (30) days of
receipt of a Claim, to assume the defense and control of such Claim; provided that Seller or
Purchaser, as applicable, shall be permitted to participate in such prosecution and defense and
Purchaser or Seller, as applicable, will provide the other party reasonable access to all relevant
information and documentation relating to the Claim and the prosecution and defense thereof. lf
the other party elects to so proceed with the defense of any such Claim:

(a) Seller or Purchaser, as applicable, shall make available to the other party any documents
and materials in its possession or control that may be necessary to the defense of such Claim, or,
in the event the delivery of such documents and materials would (i) violate Applicable Law or (ii)
breach a Contract or obligation of confidentiality owing to a third party or (iii) constitute a waiver
of Seller’s or Purchaser’s, as applicable, attorney-client privilege, Seller or Purchaser, as
applicable, shall provide summaries, excerpts or any other information in connection with such
documents and materials to the maximum extent legally permissible and shall use reasonable
efforts to assist and participate in such defense (at its own expense, which amount shall not
constitute “Damages” of Seller or Purchaser, as applicable) as it relates to such materials and
documents; and

(b) The party assuming the defense of any such Claim shall not enter into settlement of any
Claim without the prior written consent of the other party (which consent shall not be
unreasonably withheld or delayed).

Each party shall give the other party prompt notice of the commencement of any such Claim against an
lndemnitee; provided, however, that any failure to so notify shall not limit any of the obligations of Seller
and Purchaser, as applicable, under this Article 9 (except to the extent such failure materially prejudices
the defense of such Proceeding). Such notice shall describe the Claim in reasonable detail based upon the
information then possessed by Purchaser or Seller, as applicable, include copies of all material written
evidence thereof, and shall indicate the estimated amount, if reasonably practicable and to the extent
known to Purchaser or Seller, as applicable, of the Damages that have been or may be sustained by the
Indemnitee

9.6. No Contribution. Seller shall not have, and shall not be entitled to exercise or assert (or
attempt to exercise -or assert), any right of contribution, right of indemnity or other right or
remedy against Way to Grow in connection with any indemnification obligation or any other
liability to which it may become subject under or in connection with this Agreement.

9.7. Exercise of Remedies by lndemnitees Other Than Purchaser. No Indemnitee (other
than Purchaser or Seller, as applicable, or any applicable successor thereto or assign thereof) shall
be permitted to assert any indemnification claim or exercise any other remedy under this
Agreement unless Purchaser or Seller, as applicable (or any successor thereto or assign thereof),
shall have consented to the assertion of such indemnification claim or the exercise of such other
remedy.

1 0.
Miscellaneous

10.1. Notices. All notices, requests and other communications required or permitted under, or
otherwise made in connection with, this Agreement, shall be in writing and shall be deemed to
have been duly given (a) when delivered in person, (b) upon confirmation of receipt when
transmitted by facsimile transmission or email, (c) upon receipt after dispatch by registered or
certified mail, postage prepaid or (d) on the next Business Day if transmitted by national
overnight courier (with confirmation of delivery), in each case, addressed as follows:

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if to Purchaser, PSubl or PSub2, to:

Pur Hydroponic Solutions, lnc.

527 Molino Street, Suite 110

Los Angeles, CA 90013

Attention: Richard Byrd, Executive Chairman
Facsimile No.:

Email: rick@purhydro.com

with a copy to (which shall not constitute notice):

Lucosky Brookman LLP

101 Wood Avenue South, S‘h Floor

lselin, NJ 08830

Attention: loseph M. Lucosky, Managing Partner
Facsimile No.: (732) 395-4401

Email: jlucosk.y@lucbro.com

if to Seller, to:

Corey Inniss

Way to Grow, Inc.

3201 E Mulberry Street, Unit l<l
Fort Collins, Colorado 80524
Facsimile No.: (970) 674»3474
Email: corey.inniss@waytogrow.net

with a copy to (which shall not constitute notice):

Kendall, Koenig & Oelsner PC
2060 Broadway, Suite 200

Boulder, CO 80302

Attention: Carlos Cruz Abrams, Esq.
Facsimile No.: (303) 672-0101
Email: ccruz@kkofirm.com

or to such other address or facsimile number as such party may hereafter specify for the purpose by notice
to the other parties hereto.

10.2. Remedies Cumulative; Specil'rc Performance. As between the Seller, on the one hand,
and the Purchaser and any of its respective Affiliates, on the other hand, the remedies, rights and
obligations set forth in Section 9.02 will be the exclusive remedies, rights and obligations arising
out of, relating to or resulting from this Agreement.

10.3. Amendments and Waivers.
(a) Any provision of this Agreement may be amended or waived if, but only if, such
amendment or waiver is in writing and is signed, in the case of an amendment, by each party to

this Agreement or, in the case of a waiver, by each party against whom the waiver is to be
effective

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(b) No failure or delay by any party in exercising any right, power or privilege hereunder
shall operate as a waiver thereof nor shall any single or partial exercise thereof preclude any other
or timber exercise thereof or the exercise of any other right, power or privilege The rights and
remedies herein provided shall be cumulative and not exclusive of any rights or remedies
provided by Applicable Law.

10.4. Expenses Except as otherwise provided herein, all costs and expenses incurred in
connection with this Agreement, including all third-party legal, accounting, financial advisory,
consulting or other fees and expenses incurred in connection with the Transaction, shall be paid
by the party incurring such cost or expense

10.5. Disclosure Schedule References. The parties hereto agree that any reference in a
particular Section of the Disclosure Schedule shall only be deemed to be an exception to (or, as
applicable, a disclosure for purposes of) (i) the representations and warranties (or covenants as
applicable) of the relevant party that are contained in the corresponding Section of this Agreement
and (ii) any other representations and warranties of such party that is contained in this Agreement,
but only if the relevance of that reference as an exception to (or a disclosure for purposes of) such
representations and warranties would be readily apparent to an individual who has read that
reference and such representations and warranties

10.6. Binding Effect; Benelit; Assignment.

(a) The provisions of this Agreement shall be binding upon and shall inure to the benefit of
the parties hereto and their respective successors and assigns Except with respect to Article 9, no
provision of this Agreement is intended to confer any rights, benefits remedies obligations or
liabilities hereunder upon any Person other than the parties hereto and their respective successors
and assigns

(b) No party may assign, delegate or otherwise transfer any of its rights or obligations under
this Agreement without the consent of each other party hereto, except that Purchaser may transfer
or assign its rights and obligations under this Agreement, in whole or from time to time in part, to
(i) one or more of their Affiliates at any time and (ii) Purchaser may assign this Agreement to an
Affiliate, lender, acquirer, or successor of Purchaser or Way to Grow or in connection with a sale
of all or substantially all of the assets of Purchaser without the consent of Seller or Way to Grow;
provided that such transfer or assignment shall not relieve Purchaser of its obligations hereunder
or enlarge, alter or change any obligation of any other party hereto or due to Purchaser.

10.7. Governing Law. This Agreement shall be govemed by and construed in accordance
with the laws of the State of Nevada, without giving effect to principles of conflicts of laws that
would require the application of the laws of any other jurisdiction.

10.8. Jurisdiction. The parties hereto agree that any Proceeding seeking to enforce any
provision of, or based on any matter arising out of or in connection with, this Agreement or the
Transaction shall be brought in any federal court located in the State of Nevada or any Nevada
state court, and each of the parties hereby irrevocably consents to the jurisdiction of such courts
(and of the appropriate appellate courts therefrom) in any such Proceeding and irrevocably
waives to the fullest extent permitted by law, any objection that it may now or hereafter have to
the laying of the venue of any such Proceeding in any such court or that any such Proceeding
brought in any such court has been brought in an inconvenient forum. Process in any such
Proceeding may be served on any party anywhere in the world, whether within or without the
jurisdiction of any such court. Without limiting the foregoing, each party agrees that service of
process on such party as provided in Section 11.01 shall be deemed effective service of process
on such party.

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10.9. Waiver of Jury Trial. EACl-l OF THE PARTIES HERETO HEREBY IR_REVOCABLY
WAIVES ANY AND ALL RlGl-IT TO TR.IAL BY JURY lN ANY LEGAL PROCEEDING
ARISING OUT OF OR R_ELATED TO THIS AGREEMENT OR THE TRANSACTIONS
CONTEMPLATED HEREBY.

10.10. Counterparts; Effectiveness. This Agreement may be signed in any number of
counterparts each of which shall be an original, with the same effect as if the signatures thereto
and hereto were upon the same instrument This Agreement shall become effective when each
party hereto shall have received a counterpart hereof signed by all of the other parties hereto.
Until and unless each party has received a counterpart hereof signed by the other party hereto,
this Agreement shall have no effect and no party shall have any right or obligation hereunder
(whether by virtue of any other oral or written agreement or other communication). The
exchange of a fully executed Agreement (in counterparts or otherwise) by electronic transmission
in .PDF format or by facsimile shall be sufficient to bind the parties to the terms and conditions of
this Agreement.

10.11. Entire Agreement. This Agreement (including the Disclosure Schedule and Exhibits)
constitutes the entire agreement between the parties with respect to the subject matter of this
Agreement and supersede all prior agreements and understandings both oral and written, between
the parties with respect to the subject matter of this Agreement.

10.12. Severability. lf any term, provision, covenant or restriction of this Agreement is held by
a court of competent jurisdiction or other Governmental Authority to be invalid, void or
unenforceable, the remainder of the terms provisions covenants and restrictions of this
Agreement shall remain in full force and effect and shall in no way be affected, impaired or
invalidated so long as the economic or legal substance of the Transaction is not affected in any
manner materially adverse to any party. Upon such a determination, the parties shall negotiate in
good faith to modify this Agreement so as to effect the original intent of the parties as closely as
possible in an acceptable manner in order that the Transaction be consummated as originally
contemplated to the fullest extent possible,

10.13. Time is of the Essence. Time is of the essence with respect to the performance of this
Agreement.

[Signature Page Follows]
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IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly executed by
their respective authorized officers as of the date first written above_

 

Title: President

   
   

PUR MERGER SU 2, INC

  

arne: Richard Byr
itle: President

 

WAY TO GROW, INC.

By:

 

Name:
Title:

 

COREY INNISS, an individual

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EXHIBIT B

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EMPLOYMENT AGREEMENT

THIS EMPLOYMENT AGREEMENT (the “Agreement”) is entered into by and between
PUR Hydroponic Solutions, Inc. (the “Company”) and James Blaha (the “Executive”) as of
December 30, 2015 (“Effective Date”).

WHEREAS, the Company desires to employ the Executive as its President and Chief
Executive Officer and the Executive desires to serve in such capacity on behalf of the Company.

NOW, THEREFORE, in consideration of the premises and of the mutual covenants and
agreements hereinafter set forth, the Company and the Executive hereby agree as follows:

l. Employment

(a) fin The initial term of this Agreement shall begin on the Effective
Date, and shall continue for five years unless sooner terminated (or termination of the
Executive’s employment occurs) by either party as set forth below. 'l`he term of this Agreement
shall thereafter automatically renew for periods of one-year unless Executive gives the Company
written notice at least 1 year prior to the end of the then existing term or at least 60 days prior to
the end of any one-year renewal period that the term of the Agreement shall not be further
extended The period commencing on the Effective Date and ending on the date on which the
term of the Agreement terminates is referred to herein as the “an_n.”

(b) Duties. During the Term, the Executive shall serve as the President and
Chief Executive Officer, with duties responsibilities and authority commensurate therewith and
shall report to the Board of Directors of the Company (the “Board”). Specifically, the Executive
shall have overall responsibility for the general supervision of the affairs of the Company and
have general management and control of the business and property in the ordinary course of its
business The Executive shall have all powers and shall perform all duties incident to the office
of President or Chief Executive Officer which may be required by law, and shall have such other
powers and perform such other duties as may from time to time be assigned pursuant to the
bylaws of the Company (“Bylaws”) or by the Board of Directors. In addition, the Executive
shall have the power to sign and execute all deeds mortgages bonds certificates contracts and
other instruments and obligations of the Company which may be authorized by the Board of
Directors subject to the Bylaws.

(e) Business Time. During the Term, the Executive shall devote substantially
all of their business time and attention to promote the business and affairs of the Company and
its affiliated entities and shall be engaged in other business activities only to the extent that such
activities do not materially interfere or conflict with the Executive’s obligations to the Company
hereunder. The foregoing shall not be construed as preventing the Executive from (l) serving on
corporate, civic, educational, philanthropic or charitable boards or committees and (2) managing
personal investments

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2. Compensation.

(a) Base Salary. During the Term, the Company shall pay the Executive a
base salary (“Base Salary”), at the annual rate of $260,000, which shall be paid in installments in
accordance with the Company’s normal payroll practices The Executive’s Base Salary shall be
reviewed annually by the Board pursuant to the Board’s normal performance review policies for
senior executives and may be increased (but not decreased) from time to time as the Board
deems appropriate To the extent any other employee of` the Company is paid a base salary at an
annual rate higher than the Executive’s annual Base Salary, the Executive’s Base Salary shall
automatically be increased to an annual rate equal to such other employee’s annual base salary.

(b) Annual Bonus.

(i) The Executive shall be eligible to receive quarterly and annual
bonuses for each quarter and calendar year during the Term (“Bonus”), commencing with the
2016 year, based on the attainment of Adjusted EBITDA (as defincd below), in accordance with
the following calculations

(1) When the Company achieves quarterly Adjusted EBITDA of
between $1.00 and $ 1,000,000, the Executive shall receive a quarterly Bonus of 5% of such
quarterly Adjusted EBITDA;

(2) When the Company achieves quarterly Adjusted EBITDA of
between $1,000,001 and $2,500,000, the Executive shall receive a quarterly Bonus of 7% of such
quarterly Adjusted EBITDA;

(3) When the Company achieves quarterly Adjusted EBITDA of
between $2,500,001 and $5,000,000, the Executive shall receive a quarterly Bonus of 8.5% of
such quarterly Adjusted EBITDA; and

(4) When the Company achieves quarterly Adjusted EBITDA greater
than $5,000,000, the Executive shall receive a quarterly Bonus of 10% of such quarterly
Adjusted EBITDA; and

(5) When the Company achieves annual Adj ustcd EBITDA greater
than $10,000,000, the Executive shall receive an additional Annual Bonus of 2% of such annual
Adjusted EBITDA.

(ii) For purposes herein, “Ad]'usted EBITDA“ shall mean earnings of
operating income before interest, taxes depreciation and amortization, the components of which
shall be calculated in accordance with generally accepted accounting principles (to the extent
applicable) and as such components traditionally appear on the Company’s audited financial
statements and shall exclude any and all expenses associated with (i) any share-based payment
arising out of accretive acquisitions and/or executive compensation including, but not limited to,
stock options and other equity related compensation; (ii) any gain or loss related to derivative
instruments and (iii) any other cash or non-cash expenses reasonably approved by the Board.

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(iii) Any quarterly and/or annual bonus due to the executive in
accordance with this Section Z(b} shall be paid within 30 days of the ending of the applicable
period.

(e) Bguity Compensation. During the Tenn, the Executive shall be eligible
for such equity awards at such times in such amounts and on such terms as the Board shall
determine from time to time in its sole discretion

3. Retirement and Welfare Benefits During the Term, the Executive shall be
eligible to participate in the Company’s health, life insurance, long-term disability, retirement
and other welfare benefit plans and programs available to employees of the Company, pursuant
to their respective terms and conditions Nothing in this Agreement Shall preclude the Company
or any affiliate of the Company from terminating or amending any generally applicable
employee benefit plan or program from time to time after the Effective Date.

4. Personal Time Off' (“P'I`O”). During the Term, the Executive is expected to
work to achieve expected results and may work from any location he wishes as long as it does
not interfere with achieving results Therefore there will be no allotment of PTO allocated to the
Executive.

5. Expenses The Company shall reimburse the Executive for all reasonable travel
(which does not include commuting) and other reasonable business expenses incurred by the
Executive in the performance of his duties hereunder in accordance with such reasonable
accounting procedures as the Company may adopt generally from time to time for executives

6. Termination Without Cause; Resignation for Good Reason. The Company
may terminate the Executive’s employment at any time without Cause (as defined below). In
addition, the Executive may initiate a termination of` employment by giving notice of intent to
terminate for Good Reason (as defined below). Upon termination by the Company without
Cause or resignation by the Executive for Good Reason, the Executive shall be entitled to
receive, in lieu of any payments under any severance plan or program for employees or
executives the following:

(a) The Company will pay the Executive an amount equal to two times the
sum of (x) the Executive’s annual Base Salary and (y) the average of the last three Annual
Bonuses paid to the Executive. Payment shall be made in a lump sum payment on the 60th day
following the termination date,

(b) The Company will pay the Exeoutive a pro rata Annual Bonus for the year
in which the Executive’s termination of employment occurs The pro rata Annual Bonus shall be
determined by multiplying the full year Annual Bonus that would otherwise have been payable
to the Executive, based upon the achievement of the applicable performance objectives as
determined by the Board, by a fraction, the numerator of Which is the number of days during
which Executive was employed by the Company in the calendar year in which his termination
occurs and the denominator of which is 365. The pro rata Annual Bonus if any, shall be paid at
the same time as bonuses are paid to other employees of the Company, but not later than March
15 after the end of the year in which the termination date occurs

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7. Termination for Cause. The Company may terminate the Executive’s
employment at any time for Cause upon written notice to the Executive, in which event all
payments under this Agreement shall cease, except for any amounts earned, accrued and owing
but not yet paid under Section 2 above and any benefits accrued and due under any applicable
benefit plans and programs of the Company.

8. Disability. lf the Executive incurs a Disability (as defined below) during the
Term, the Company may terminate the Executive’s employment on or after the date of
Disability. If the Executive’s employment terminates on account of his Disability, the Executive
shall be entitled to receive (a) the payments set forth in Sections 6(a) and (b) above at the times
set forth therein and (b) any amounts earned, accrued and owing but not yet paid under Section 2
above and any benefits accrued and due under any applicable benefit plans and programs of the
Company.

9. Death. lf` the Executive dies during the Term, the Executive’S employment shall
terminate on the date of death and the Company shall pay to the Executive’s executor, legal
representative, administrator or designated beneficiary, as applicable, (a) the payments set forth
in Sections 6(a) and (b) above at the times set forth therein and (b) any amounts earned, accrued
and owing but not yet paid under Section 2 above and any benefits accrued and due under any
applicable benefit plans and programs of the Company. Otherwise, the Company shall have no
further liability or obligation under this Agreement to the Executive’s executors legal
representatives administrators heirs or assigns or any other person claiming under or through
the Executive.

l(). Resignation of Positions. Effective as of the date of any termination of
employment, the Executive will resign all Company-related positions including as an officer and
director of thc Company and its parents subsidiaries and affiliates (excluding, for the avoidance
of doubt, Blue Chip Holdings, LLC and any other entity wholly-owned by Exeeutive through
which Executive beneficially owns equity interests in the Company).

ll. Definitions. For purposes of this Agreement, the following terms shall have the
following meanings

(a) “Cause” shall mean the Board’s finding of Executive’s (l) willful and
material breach of this Agreement that is not cured within 60 days after written notice to the
Executive from the Board; (2) willful commission of fraud, embezzlement or theft that causes
material harm to the Company; or (3) willful failure to comply with material and reasonable
Company policies that is not cured within 60 days after written notice to the Executive from the
Board. For purposes of determining Cause, no act or omission by the Executive shall be
considered “willful” unless the Board determines that it is done or omitted in bad faith or without
reasonable belief that the Executive’s action or omission was in the best interests of the
Company. Any actor failure to act based upon: (a) authority given pursuant to a resolution duly
adopted by the Board, or (b) advice of counsel for the Company, shall be conclusively presumed
to be done or omitted to be done by the Executive in good faith and in the best interests of the
Company.

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(b) “Good Reason” shall mean the occurrence of one or more of the following
without the Executive’s written consent:

(i) A material diminution by the Company of the Executive’s
authority, duties or responsibilities

(ii) Any action or inaction that constitutes a material breach by the
Company of this Agreement, including the failure to pay any amounts due to Executive under
Section 2;

(iv) The Company elects not to renew the Term of the Agreement at
the end of the Term pursuant to Section l(a) above for any reason other than Cause and does not
offer the Executive continued employment on substantially similar terms as set forth in this
Agreement.

The Executive must provide written notice of termination for Good Reason to the
Company Within 60 days after the event constituting Good Reason. The Company shall have a
period of 60 days in which it may correct the act or failure to act that constitutes the grounds for
Good Reason as set forth in the Executive’s notice of termination lf the Company does not
correct the act or failure to act, the Executive’s employment will terminate for Good Reason on
the first business day following the Company’s 60-day cure period.

(c) The term “Disability” shall mean the incurrence of a medical condition by
the Executive rendering him unable to substantially perform his duties for the Company for a
period of at least six (6) consecutive months

12. Section 409A.

(a) This Agreement is intended to comply with section 409A of the Internal
Revenue Code of 1986, as amended (the “m”) and its corresponding regulations or an
exemption, and payments may only be made under this Agreement upon an event and in a
manner permitted by section 409A of the Code, to the extent applicable. Severance benefits
under the Agreement are intended to be exempt from section 409A of the Code under the “short-
term deferral” exception, to the maximum extent applicable, and then under the “separation pay”
exception, to the maximum extent applicable. Notwithstanding anything in this Agreement to
the contrary, if required by section 409A of the Code, if the Executive is considered a “speoified
employee” for purposes of section 409A of the Code and if payment of any amounts under this
Agreement is required to be delayed for a period of six months after separation from service
pursuant to Section 409A of the Code, payment of such amounts shall be delayed as required by
section 409A of the Code, and the accumulated amounts shall be paid in a lump sum payment
Within ten days after the end of the six-month period. If the Executive dies during the
postponement period prior to the payment of benefits the amounts withheld on account of
section 409A of the Code shall be paid to the personal representative of the Executive’s estate
within 60 days after the date of the Executive’s death.

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(b) All payments to be made upon a termination of employment under this
Agreement may only be made upon a “separation from service” under section 409A of the Code.
For purposes of section 409A of the Code, each payment hereunder shall be treated as a separate
payment and the right to a series of installment payments under this Agreement shall be treated
as a right to a series of separate payments In no event may the Executive, directly or indirectlyJ
designate the calendar year of a payment Notwithstanding any provision of this Agreement to
the contrary, in no event shall the timing of the Executive’s execution of the Release, directly or
indirectly, result in the Executive designating the calendar year of payment of any amounts of
deferred compensation subject to section 409A of the Code, and if a payment that is subject to
execution of the Release could be made in more than one taxable year, payment shall be made in
the later taxable year.

(c) All reimbursements and in-kind benefits provided under the Agreement
shall be made or provided in accordance with the requirements of section 409A of the Code,
including, where applicable, the requirement that (i) any reimbursement is for expenses incurred
during the period of time specified in this Agreement, (ii) the arnoth of expenses eligible for
reimbursement, or in kind benefits provided, during a calendar year may not affect the expenses
eligible for reimbursement, or in kind benefits to be provided, in any other calendar year, (iii) the
reimbursement of an eligible expense will be made no later than the last day of the calendar year
following the year in which the expense is incurred, and (iv) the right to reimbursement or in
kind benefits is not subject to liquidation or exchange for another benefit.

13. Inventions Assignment. The Executive agrees that all inventions innovations
improvements developments methods designs and all related information which relates to the
Company’s or its Affiliates’ actual or anticipated business research and development or existing
or future products or services and which are conceived, developed or made by Executive while
employed by the Company (“Work Product”) belong to the Company. The Executive will
promptly disclose material Work Product to the Board and perform all actions reasonably
requested by the Board (whether during or after the 'l`erm) to establish and confirm such
ownership (including, without limitation, assignments consents powers of attorneys and other
instruments). If requested by the Company, the Executive agrees to execute any inventions
assignment and confidentiality agreement that is required to be signed by Company employees
generally.

14. Return of Company Property, Upon termination of the Executive’s
employment with the Company, the Executive will deliver to the person designated by the
Company all originals and copies of all documents and property of the Company or an Affiliate
that is in the Executive’s possession, under the Executive’s control or to which the Executive
may have access The Executive will not reproduce or appropriate for the Executive’s own use,
or for the use of others any property, Proprietary Information or Work Product.

15. No Mitigation or Set Off. In no event shall the Executive be obligated to seek
other employment or take any other action by Way of mitigation of` the amounts payable to the
Executive under any of the provisions of this Agreement and such amounts shall not be reduced,
regardless of whether the Executive obtains other employment The Company’s obligation to
make the payments provided for in this Agreement and otherwise to perform its obligations
hereunder shall not be affected by any circumstances including, without limitation, any set-off,

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counterclaim, recoupment, defense or other right which the Company may have against the
Executive or others

16. Application of Section 280G. In the event that it shall be determined that any
payment or distribution in the nature of compensation (Within the meaning of section QSOG(b)(Q)
of the Code to or for the benefit of Executive, whether paid or payable or distributed or
distributable pursuant to the terms of this Agreement or otherwise (a “Payrnen ”), would
constitute an “excess parachute payment” within the meaning of section 2800 of the Code, the
aggregate present value of the Payments under the Agreement shall be reduced (but not below
zero) to the Reduced Amount (defined below), provided that the reduction shall be made only if
the Accounting Firm (dcscribed below) determines that the reduction will provide the Executive
with a greater net after-tax benefit than would no reduction. The “Reduced Amount” shall be an
amount expressed in present value which maximizes the aggregate present value of Payments
under this Agreement without causing any Payment under this Agreement to be subject to the
Excise Tax (defined below), determined in accordance with section 280G(d)(4) of the Code. The
term “Excise Tax” means the excise tax imposed under section 4999 of the Code, together with
any interest or penalties imposed with respect to such excise tax. Payments under this
Agreement shall be reduced on a nondiscretionary basis in such a way as to minimize the
reduction in the economic value deliverable to the Executive. Where more than one payment has
the same value for this purpose and they are payable at different times they will be reduced on a
pro rata basis Only amounts payable under this Agreement shall be reduced pursuant to this
paragraph All determinations to be made under this section shall be made by an independent
certified public accounting firm selected by the Company and agreed to by the Executive prior to
the Change in Control (the “Accounting Finn”), which shall provide its determinations and any
supporting calculations both to the Company and the Executive within ten days of the Change in
Control. Any such determination by the Accounting Firm shall be binding upon the Company
and the Executive. All of the fees and expenses of the Accounting Finn in performing the
determinations referred to in this paragraph shall be borne solely by the Company.

17. Notices. All notices and other communications required or permitted under this
Agreement or necessary or convenient in connection herewith shall be in writing and shall be
deemed to have been given when (i) hand delivered, (ii) sent by overnight carrier, (iii) mailed by
registered or certified mail or (iv) sent by email (in which case, with an additional copy sent by
registered or certificated mail), as follows (provided that notice of change of address shall be
deemed given only when received):

lf to the Company, to:

PUR I-Iydroponic Solutions, Inc.
527 Molina Street, Suite 110
Los Angeles California 90013
Attn: President

lf` to the Executive, to the most recent address on file with the Company or to such other

names or addresses as the Company or the Executive, as the case may be, shall designate by
notice to each other person entitled to receive notices in the manner specified in this Section.

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18. Withholding. All payments under this Agreement shall be made subject to
applicable tax withholding, and the Company shall withhold from any payments under this
Agreement all federal, state and local taxes as the Company is required to withhold pursuant to
any law or governmental rule or regulation

19. Remedies Cumulative; No Waiver. No remedy conferred upon a party by this
Agreement is intended to be exclusive of any other remedy, and each and every such remedy
shall be cumulative and shall be in addition to any other remedy given under this Agreement or
now or hereafter existing at law or in equity. No delay or omission by a party in exercising any
right, remedy or power under this Agreement or existing at law or in equity shall be construed as
a waiver thereof, and any such right, remedy or power may be exercised by such party from time
to time and as often as may be deemed expedient or necessary by such party in its sole
discretion

20. Assignment. All of the terms and provisions of this Agreement shall be binding
upon and inure to the benefit of and be enforceable by the respective heirs executors
administrators legal representatives successors and assigns of the parties hereto, except that the
duties and responsibilities of the Executive under this Agreement are of a personal nature and
shall not be assignable or delegable in whole or in part by the Executive. The Company shall
require any successor (whether direct or indirect, by purchase, merger, consolidation,
reorganization or otherwise) to all or substantially all of the business or assets of the Company,
within 5 days of` such succession, expressly to assume and agree to perform this Agreement in
the same manner and to the same extent as the Company would be required to perform if no such
succession had taken place and in such event, such successor shall be the “Company” for
purposes if this Agreement.

21. Attorneys’ Fees for Preparation of this Agreement. The Company shall pay
for the attomeys’ fees incurred by the Executive in connection with the preparation of this
Agreement, up to a maximum of $2,000.

22. Indemnification; Liability Insurance. The Company shall indemnify and hold
the Executive harmless to the fullest extent permitted by the laws of Company’s state of
organization or incorporation and the corporate documents as each is in effect at the time,
against and in respect of any and all actions suits proceedings claims demands judgments
costs, expenses (including advancement of reasonable attorney’s fees), losses and damages
resulting from the Executive’s performance of the Executive’s duties and obligations with the
Company. The Executive Will be entitled to be covered, both during and, while potential liability
exists by any insurance policies the Company may elect to maintain generally for the benefit of
officers and directors of the Company against all costs charges and expenses incurred in
connection with any action, suit or proceeding to which the Executive may be made a party by
reason of being an officer or director of Company in the same amount and to the same extent as
the Company covers its other officers and directors These obligations shall survive the
termination of the Executive’s employment with the Company.

23. Entire Agreement. This Agreement sets forth the entire agreement of the parties
hereto and supersedes any and all prior agreements and understandings concerning the

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Executive’s employment by the Company. This Agreement may be changed only by a Written
document signed by the Executive and the Company.

24. Severability. If` any provision of this Agreement or application thereof to anyone
or under any circumstances is adjudicated to be invalid or unenforceable in any jurisdiction, such
invalidity or unenforceability shall not affect any other provision or application of this
Agreement which can be given effect without the invalid or unenforceable provision or
application and shall not invalidate or render unenforceable such provision or application in any
other jurisdiction. If any provision is held void, invalid or unenforceable with respect to
particular circumstances it shall nevertheless remain in full force and effect in all other
circumstances

25. Section 162(m) of the Code. The Company and Executive agree that if the stock
of the Company becomes publicly traded, the Company and Executive will agree to make any
amendments to the Agreement that the Company or Executive reasonably deems necessary to
allow performance-based compensation to qualify for the “qualified performance-based
compensation” exception to section l62(m) of the Code.

26. Governing Law. This Agreement shall be governed by, and construed and
enforced in accordance with, the substantive and procedural laws of the State of Nevada without
regard to rules governing conflicts of law.

27. Counterparts. This Agreement may be executed in any number of counterparts
(including facsimile counterparts), each of which shall be an original, but all of Which together
shall constitute one instrumentl

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IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date

and year first above written
COMPANY U/
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Ny;.zé /

§ichard Byrd
Tiz‘i)rg:é §xecutive Chairman
EXECUTIVE

j<l:ame Jam€ls Blaha&f

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EXHIBIT C

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LOCK-UP AGREEMENT

This LOCK-UP AGREEMENT (the “Ag;eement”) is made as of this lst day of January,
2016, by and between Pur Hydroponic Solutions, Inc., a Nevada corporation (the “Company”) and
Corey lnniss, individually (the “Holder”), in connection with the Holder’s ownership of shares of
the Company’s common stock (the “Common Stock”).

WITNESSETH:

WHEREAS, on January 1, 2016, the Company issued 12,500,000 shares of its restricted
Common Stock (the “Lock-Up Securities”) to Holder (the “Restricted Stock Grant”) in accordance
with that Amended and Restated Agreement and Plan of Merger by and among the Company, Way
to Grow, Inc., a Nevada corporation, Pur Merger Sub 1, Inc., a Nevada corporation, Pur Merger Sub
2, Inc., a Nevada corporation, and Holder, dated January 1, 2016.

NOW TI~IEREFORE, for good and valuable consideration, the sufficiency and receipt of
which consideration is hereby acknowledged, the Holder and the Company hereby agree as follows:

l. Lock-Up_ Period,

The Holder agrees that, from the date hereof until the earlier of: (a) 4:00 p.m. Eastern
Standard Time on January 1, 2017 and (b) the expiration of the lock-up period determined by the
underwriters of the Company’s initial public offering following the Company’s initial public
offering (such period, the “Lock-Up_ Period”), the Holder Shall be Subject to the lock-up
restrictions Set forth in Section 2 below.

2. Lock-Up Rest:riction.

(a) Lock-Up. During the Lock-Up Period, the Holder will not offer, sell, contract to
sell, hypothecate or otherwise dispose of (or enter into any transaction which is designed to,
or might reasonably be expected to, result in the sale, hypothecation or disposition (whether
by actual or effective economic sale, hypothecation or disposition due to cash settlement or
otherwise) by the Holder or any affiliate of the Holder or any person in privity with the Holder
or any affiliate of the Holder), directly or indirectly, including the filing (or participation in
the iiling) of a registration statement with the U.S. Securities and Exchange Commission in
respect of, or establish or increase a put equivalent position or liquidate or decrease a call
equivalent position Within the meaning of Section 16 of the Securities Exchange Act of 1934,
as amended, with respect to the Lock-Up Securities, unless such transaction is a Permitted
Disposition (as defined below).

A “Permitted Disposition” shall include the following: (a) transfers of Lock-Up Securities to
a trust for the benefit of the undersigned; (b) as a bona fide gift, by will or intestacy, or to a
family member or trust for the benefit of a family member of the undersigned (for purposes of

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this lock-up agreement, “family member” means James Blaha, Susan Inniss and any other
relationship by blood, marriage or adoption, not more remote than first cousin); or (c) transfers
of Lock-Up Securities to a charity or educational institution; provided that in the case of any
transfer pursuant to the foregoing clauses (a), (b) or (c), (i) any such transfer shall not involve a
disposition for value, (ii) each transferee shall sign and deliver to the Company a lock-up
agreement substantially in the form of this lock-up agreement and (iii) no filing under
Section 16(a) of the Exchange Act shall be required or shall be voluntarily made.

(b) Stop_ Orders. The Holder further agrees that the Company is authorized to and the
Company agrees to place “stop orders” on its books to prevent any transfer of any Lock-Up
Securities of the Company held by the Holder in violation of this Agreement. The Company
agrees not to allow any transaction to occur that is inconsistent with this Agreement.

3. Miscellaneous.

(a) At any time, and from time to time, after the signing of this Agreement, the
Holder will execute such additional instruments and take such action as may be reasonably
requested by the Company to carry out the intent and purposes of this Agreement.

(b) This Agreement shall be governed by and construed in accordance with the laws
of the State of New York without regard to principles of conflicts of laws. Any action
brought by either party against the other concerning the transactions contemplated by this
Agreement shall be brought only in the state courts of New York or in the federal courts
located in the state of New York. The parties to this Agreement hereby irrevocably waive
any objection to jurisdiction and venue of any action instituted hereunder and shall not assert
any defense based on lack of jurisdiction or venue or based on forum non conveniens. The
parties executing this Agreement and any other agreements referred to herein or
delivered in connection herewith agree to submit to the in personam jurisdiction of such
courts and hereby irrevocably waive trial by jury. The prevailing party shall be entitled to
recover from the other party its reasonable attorneys’ fees and costs. In the event that any
provision of this Agreement or any other agreement delivered in connection herewith is
invalid or unenforceable under any applicable statute or rule of law, then such provision shall
be deemed inoperative to the extent that it may conflict therewith and shall be deemed
modified to conform with such statute or rule of law. Any such provision which may prove
invalid or unenforceable under any law shall not affect the validity or enforceability of any
other provision of any agreement

(c) Any and all notices or other communications given under this Agreement shall be
in writing and shall be deemed to have been duly given on (i) the date of delivery, if
delivered in person to the addressee, (ii) the next business day if sent by overnight courier, or
(iii) three (3) days after mailing, if mailed within the continental United States, postage
prepaid, by certified or registered mail, return receipt requested, to the party entitled to
receive same, at his or its address set forth below:

CaSe:18-01203-|\/|ER DOC#21 Filed:06/27/18

If to the Company:

Pur Hydroponic Solutions, lnc.
527 Molino Street, Suite 110
Los Angeles, CA 90013

Tel No.: (213) 364-6916

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With a copy to (which shall not constitute notice):

Lucosky Brookman LLP

lOl Wood Avenue South, Sth floor
Iselin, NJ 08830

Attn: Joseph M. Lucosky, Esq.

Tel No.: (732) 395-4400

If to the Holder:

Corey lnniss

1516 West Mountain Avenue
Fort Collins, CO 80521
corey@waytogrow.net

With a copy to (which shall not constitute notice):

Kendall Koenig & Oelsner PC
2060 Broadway, Suite 200
Boulder, CO 80302

Attn: Carlos Cruz-Abrams

Tel No.: (303) 672-0105

(d) The restrictions on transfer described in this Agreement are in addition to and
cumulative with any other restrictions on transfer otherwise agreed to by the Holder or to

which the Holder is subject to by applicable law.

(e) This Agreement shall be binding upon Holder, its legal representatives, successors

and assigns

(f) This Agreement may be signed in counterparts and delivered by facsimile

signature and delivered electronically

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(g) The Company agrees not to take any action or allow any act to be taken which
would be inconsistent With this Agreement.

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IN WITNESS WHEREOF, and intending to be legally bound hereby, the parties hereto
have executed this Agreement as of the day and year first above written

4830-2301-7004, v. l

HOLDER:

By:

 

COREY INNISS, an individual

COMPANY:

PUR HY])ROPONIC SOLUTIONS,

/

    

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Executive Chairman

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EXHIBIT D

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CLAWBACK AGREEMENT

This CLAWBACK AGREEMENT (the “Agreement”) is made as of this lst day of
January, 2016 (the “EH`ective Date”), by and between Pur Hydroponic Solutions, Inc., a Nevada
corporation (the “Company”) and Corey Irmiss, individually (the “Holder”), in connection with the
Holder’s ownership of shares of the Company’s common stock (the “Common Stock”).

 

WITNESSETH:

WHEREAS, on January 1, 2016, the Company issued 12,500,000 shares of its restricted
Common Stock (the “Clawback Securities”) to Holder (the “Restricted Stock Grant”) in accordance
with that Amended and Restated Agreement and Plan of Merger by and among the Company, Way
to Grow, Inc., a Nevada corporation (“Way to Grow”), Pur Merger Sub l, Inc., a Nevada
corporation, Pur Merger Sub 2, Inc., a Nevada corporation, and Holder, dated January l, 20l6 (the

“Merger Agreement”).

NOW THEREFORE, for good and valuable consideration, the sufficiency and receipt of
which consideration is hereby acknowledged, the Holder and the Company hereby agree as follows:

l. Clawback Period,

The Holder agrees that, from the date hereof until 4:00 p.m. Eastern Standard Time on
January l, 2018 (such period, the “Clawback Period”), the Holder shall be subject to the
clawback restrictions set forth in Section 2 below.

2. Clawback Restriction.

(a) Clawback. During the Clawback Period, (i) if, on the first anniversary of the date
of the Effective Date, the Company’s revenues attributable to the Business (as defined in the
Merger Agreement) acquired from Holder for the 12-month period ending on the last day of
the month preceding the date of such first anniversary (“WTG Year l Revenues”) are less
than 90% of Way to Grow’s revenues for the 12-month period ending on the last day of the
month preceding the date hereof (using the same methodology in each instance), then
3,125,000 of the Clawback Securities shall be forfeited, and cancelled by the Company, as
soon as practicable following the determination of the WTG Year 1 Revenues and the
comparison; and (ii) if, on the second anniversary of the date hereof, the Company’s revenues
attributable to the Business acquired from Holder for the l2-month period ending on the last
day of the month preceding the date of such second anniversary (“WTG Year 2 Revenues”)
are less than 90% of Way to Grow’s revenues for the 112-month period ending on the last day
of the month preceding the date hereof (using the same methodology in each instance), then
3,125,000 of the Clawback Securities shall be forfeited, and cancelled by the Company, as
soon as practicable following the determination of the WTG Year 2 Revenues and the
comparison; provided however, if the employment of James Blaha is terminated by the

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Company without Cause or by such employee for Good Reason (as such terms are defined in
the Merger Agreement(s)), then, effective as of the date of such termination, the Clawback
shall be of no further force or effect and the Clawback Securities shall no longer be subject to
forfeiturel

(b) Stop Orders. The Holder further agrees that the Company is authorized to and the
Company agrees to place “stop orders” on its books to prevent any transfer of any Clawback
Securities of the Company held by the Holder in violation of this Agreement. The Company
agrees not to allow any transaction to occur that is inconsistent with this Agreement.

3. Miscellaneous.

(a) At any time, and from time to time, after the Signing of this Agreement, the
Holder Will execute such additional instruments and take such action as may be reasonably
requested by the Company to carry out the intent and purposes of this Agreement.

(b) This Agreement shall be governed by and construed in accordance with the laws
of the State of New York without regard to principles of conflicts of laws. Any action
brought by either party against the other concerning the transactions contemplated by this
Agreement shall be brought only in the state courts of New York or in the federal courts
located in the state of New York. The parties to this Agreement hereby irrevocably waive
any objection to jurisdiction and venue of any action instituted hereunder and shall not assert
any defense based on lack of jurisdiction or venue or based on forum non conveniens The
parties executing this Agreement and any other agreements referred to herein or
delivered in connection herewith agree to submit to the in personam jurisdiction of such
courts and hereby irrevocably waive trial by jury. The prevailing party Shall be entitled to
recover from the other party its reasonable attorneys’ fees and costs. In the event that any
provision of this Agreement or any other agreement delivered in connection herewith is
invalid or unenforceable under any applicable statute or rule of law, then such provision shall
be deemed inoperative to the extent that it may conflict therewith and shall be deemed
modified to conform with such statute or rule of law. Any such provision which may prove
invalid or unenforceable under any law shall not affect the validity or enforceability of any
other provision of any agreement

(c) Any and all notices or other communications given under this Agreement shall be
in Writing and shall be deemed to have been duly given on (i) the date of delivery, if
delivered in person to the addressee, (ii) the next business day if sent by overnight courier, or
(iii) three (3) days after mailing, if mailed within the continental United States, postage
prepaid, by certified or registered mail, return receipt requested, to the party entitled to
receive same, at his or its address set forth below:

If to the Company:

CaSe:18-01203-|\/|ER DOC#21 Filed:06/27/18

Pur Hydroponic Solutions, Inc.
527 Molino Street, Suite 110
Los Angeles, CA 90013

Tel No.: (213) 364-6916

Entered:06/27/18 13:18:39 PageQO of 101

With a copy to (which shall not constitute notice):

Lucosky Brookman LLP

101 Wood Avenue South, 5th floor
Iselin, NJ 08830

Attn: Joseph M. Lucosky, Esq.

Tel No.: (732) 395-4400

lf to the Holder:

Corey Inniss

15 16 West Mountain Avenue
Fort Collins, CO 80521
corey@waytogrow.net

With a copy to (which shall not constitute notice):

Kendall Koenig & Oelsner PC
2060 Broadway, Suite 200
Boulder, CO 80302

Attn: Carlos Cruz-Abrams

Tel No.: (303) 672-0105

(d) The restrictions on transfer described in this Agreement are in addition to and
cumulative with any other restrictions on transfer otherwise agreed to by the Holder or to

which the Holder is subject to by applicable law.

(e) This Agreement shall be binding upon Holder, its legal representatives, successors

and assigns.

(i) This Agreement may be signed in counterparts and delivered by facsimile

signature and delivered electronically

(g) The Company agrees not to take any action or allow any act to be taken which

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would be inconsistent with this Agreement.

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IN WITNESS WHEREOF, and intending to be legally bound hereby, the parties hereto
have executed this Agreement as of the day and year first above written.

4830-2301-7004, v. l

HOLDER:

By:

 

COREY INNISS, an individual

COMPANY:

PUR HYDROPO`NIC SOLUTIONS,
INC.

  

By:

 

Nam : Richard Byrd

Title: Executive Chairman

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EXHIB IT E

CaSe:18-01203-|\/|ER DOC#21 Filed:06/27/18 Entered:06/27/1813218239 PageQ4 Oi 101

SECURED
PROMISSORY NO'I`E

January 1, 2016 US$22,500,000
Los Angeles, CA

FOR VALUE RECEIVED, PUR HYDROPONIC SOLUTIONS, lNC, a
corporation incorporated under the laws of the State of Nevada and located at 527 Molino Street,
#110, Los Angeles, CA 90013 (the “Company”), hereby promises to pay to the order of COREY
INNISS, an individual residing at 1516 West Mountain Ave., Fort Collins, CO 80521, and his
successors or assigns (the “Holder”), the principal amount of Twenty Two Million Five Hundred
Thousand United States Dollars (US$22,500,000) (the “Principal”) upon the earlier of the
following: (i) the date on which the Company closes on an equity financing in an amount that is
not less than Forty Million United States Dollars (US$40,000,000); and (ii) December 31, 2016
(the “Maturity Date”), and to pay interest on the unpaid principal balance hereof at the rate of
nine percent (9.0%) per annum or the maximum rate permissible by law, whichever is less (the
“ pplicable Rate”) in accordance with the terms hereof. This Secured Promissory Note (this
note, together with all modifications, extensions, future advances, supplements, and renewals
thereof, and any substitutions therefor, the “M”) shall be payable in accordance with the terms
set forth below.

This Note is delivered by the Company to the Holder pursuant to that certain
Amended and Restated Agreement and Plan of Merger and Reorganization, dated as of January
1, 2016 (the “Merger Agreement”), by and among the Company, Pur Merger Sub l, Inc., a
Nevada corporation and a wholly owned subsidiary of the Company, Pur Merger Sub 2, Inc., a
Nevada corporation and a wholly owned subsidiary of the Company, Way to Grow, lnc., a
Colorado corporation and the Holder. Except as otherwise defined herein, terms defined in the
Merger Agreement shall have the same meaning When used herein,

l. Pavments of Princinal and Interest.

(a) Payment of Principal. If not sooner paid, all principal and unpaid interest on this
Note shall be due and payable to the Holder on the earlier to occur of (i) the Maturity
Date or (ii) an Event of Default (as defined below).

(b) Payment of Interest. Interest on the unpaid principal balance of this Note shall
accrue at the Applicable Rate, commencing on January 1, 2016. The Company shall
make monthly payments of interest to the Holder, while this Note is outstanding,
commencing on January 29, 2016 and continuing on the last Business Day of each
subsequent month until the Maturity Date. Interest shall be computed on the basis of a
365-day year and paid for the actual number of days elapsed.

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(c) General Pavment Provisions. All payments of principal and interest on this Note
shall be made in lawml money of the United States of America by immediately available
funds or wire transfer to such account as the Holder may designate by written notice to
the Company in accordance with the provisions of this Note. Whenever any amount
expressed to be due by the terms of this Note is due on any day which is not a Business
Day, the same shall instead be due on the next succeeding Business Day. For purposes of
this Note, “Business Day” shall mean any day other than a Saturday, Sunday or a day on
which commercial banks in the State of New York are authorized or required by law or
executive order to remain closed.

(d) Pament of Late Fees. The Company shall pay to Holder a late charge of five
percent (5%) of any payment not received by Holder within five (5) days after such
payment is due; provided however, that no late charge shall apply so long as James Blaha
is Chief Executive Officer of the Company.

2. Prep_a@ent. The Company shall have the right to prepay, without premium or
penalty, at any time or times after the date hereof, all or any portion of the outstanding principal
balance of this Note, together with accrued interest on the principal amount prepaid.

3. Automatic Maturity Date Extension. The Holder and the Company agree that, in
the event that the Company has not obtained sufficient EBITDA (as such term is defined by U.S.
Generally Accepted Accounting Principles) to obtain debt financing from a credible lending
institution at customary market rates and customary terms and conditions on or prior to the
Maturity Date in such an amount equal to or exceeding the Principal amount (such a debt
financing in such an amount, a “Debt Financing”), the Maturity Date shall be automatically
extended until such time as a Debt Financing occurs. If applicable pursuant to this Section or the
date of closing of the Debt Financing, as applicable, shall be the “Maturity Date”.
Notwithstanding the foregoing, the Company and the Holder may extend the Initial Maturity
Date by mutual written consent

3. Security Agreement.

(a) As security for the full, prompt complete and final payment and performance
when due (whether at stated maturity, by acceleration or otherwise) of all obligations of the
Company, now existing or in the future, arising in connection with this Note (the “Obligations”),
the Company, Green Door Hydro & Solar Electric, Inc., a corporation incorporated under the
laws of the State of California and located at 1335 Willow St, Los Angeles, CA 90013, and Way
to Grow, lnc., a corporation incorporated under the laws of the State of Colorado and located at
3201 E Mulberry Street, Unit K, Fort Collins, CO 80524 (together the “Subsidiaries” and, each a
“Grantor” and together with the Company, each in their respective capacities as grantors
pursuant to this Section, collectively, the “Grantors”) do hereby pledge, assign, transfer, deliver
and grant to Secured Party a continuing and unconditional security interest in and to any and all

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property and assets of Grantors, of any kind or description, tangible or intangible, wheresoever
located and whether now existing or hereafter arising or acquired, including, without limitation,
the following (all of which property for Grantors, along with the products and proceeds
therefrom, are individually and collectively referred to as the “Collateral”): (a) all property of, or
for the account of, Grantors now or hereafter coming into the possession, control or custody of,
or in transit to, Secured Party or any agent or bailee for Secured Party or any parent, affiliate or
subsidiary of Secured Party or any participant with Secured Party in the Obligations (whether for
safekeeping, deposit, collection, custody, pledge, transmission or otherwise), including all cash,
earnings, dividends, interest, or other rights in connection therewith and the products and
proceeds therefrom, including the proceeds of insurance thereon; (b) the additional property of
Grantors, whether now existing or hereafter arising or acquired, and wherever now or hereafter
located, together with all additions and accessions thereto, substitutions, betterments and
replacements therefor, products and Proceeds therefrom, and all of Grantors’ books and records
and recorded data relating thereto (regardless of the medium of recording or storage), together
with all of Grantors’ right, title and interest in and to all computer software required to utilize,
create, maintain and process any such records or data on electronic media; (c) all Accounts and
all goods whose sale, lease or other disposition by Grantors has given rise to Accounts and have
been returned to, or repossessed or stopped in transit by, Grantors, or rejected or refused by any
person who is or who may become obligated under, with respect to, or on an Account (“Account
Grantor”); (d) all Inventory, including raw materials, work-in-process and finished goods; (e) all
goods (other than Inventory), including embedded software, Equipment, vehicles, hirniture and
Fixtures; (f) all Software and computer programs; (g) all Securities, lnvestment Property,
Financial Assets and Deposit Accounts; (h) all Chattel Paper, Electronic Chattel Paper,
Instruments, Documents, Letter of Credit Rights, all proceeds of letters of credit, Health-Care-
Insurance Receivables, Supporting Obligations, notes secured by real estate, Commercial Tort
Claims and General Intangibles, including Payment Intangibles; (i) all real estate property owned
by Grantors and the interest of Grantors in fixtures related to such real property; and (j) all
Proceeds (whether Cash Proceeds or Non-cash Proceeds) of the foregoing property, including all
insurance policies and proceeds of insurance payable by reason of loss or damage to the
foregoing property, including unearned premiums, and of eminent domain or condemnation
awards. Grantors authorize Secured Party to prepare and file or cause to be filed such financing
statements, amendments and other documents and do such acts as Secured Party deems
necessary in order to establish and maintain valid, attached and perfected, security interests in the
Collateral in favor of Secured Party, free and clear of all Liens and claims and rights of third
parties whatsoever Grantors hereby irrevocably authorize Secured Party at any time, and from
time to time, to file in any jurisdiction any initial financing statements and amendments thereto
that (a) indicate the Collateral is comprised of all assets of Grantors (or words of similar effect),
regardless of whether any particular asset comprising a part of the Collateral falls within the
scope of Article 9 of the UCC (as defined herein) of the jurisdiction wherein such financing
statement or amendment is filed, and (b) contain any other information required by Section 5 of
Article 9 of the UCC of the jurisdiction wherein such financing Statement or amendment is filed
regarding the sufficiency or filing office acceptance of any financing statement or amendmentJ
including (i) whether Grantors are an organization, the type of organization, and (ii) in the case

 

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of a financing statement filed as a fixture filing or indicating Collateral as as-extracted collateral
or timber to be cut, a sufficient description of the real property to which the Collateral relates.
Grantors agree to furnish any such information to Secured Party promptly upon request
Grantors hereby agree that a photogenic or other reproduction of this Security Agreement is
sufficient for filing as a financing statement and Grantors authorize Secured Party to file this
Security Agreement as a financing statement in any jurisdiction

(b) At any time and from time to time, upon the written request of Holder, at the sole
expense of Grantors and Byrd, Grantors and Byrd shall promptly and duly execute and deliver
any and all such further instruments and documents and take such further action as Holder may
reasonably deem necessary or desirable to perfect and continue perfected or better perfect
Holder’s security interest in the Collateral.

4. Guarantee Agreement. The Subsidiaries hereby jointly and severally guarantee
and become surety to the Holder for the full, prompt and unconditional payment of the
Obligations and payment and performance of the Obligations, and the full, prompt and
unconditional performance of each term and condition to be performed by the Company in
connection with this Note. This guaranty is a primary obligation of the Subsidiaries and shall be
a continuing inexhaustible guaranty This is a guaranty of payment and not of collection The
Holder may require the Subsidiary to pay and perform its individual liabilities and obligations
under this guaranty and may proceed immediately against any of the Subsidiaries without being
required to bring any proceeding or take any action against any other Grantor prior thereto; the
liability of the Subsidiaries hereunder being independent of and separate from the liability of any
other Grantor and the availability of any Collateral.

5 . Defaults and Remedies.

(a) Events of Default. The occurrence of any of the following events shall constitute
an “Event of Default” hereunder: (i) the Company fails to pay timely any interest,
principal or other sums due under this Note within five (5) days of when any such
payment becomes due and payable; (ii) the Company makes an assignment for the benefit
of creditors or takes any corporate action in furtherance of the foregoing; (iii) any order
or decree is rendered by a court which appoints or requires the appointment of a receiver,
liquidator or trustee for the Company, and the order or decree is not vacated within sixty
(60) days from the date of entry thereof; (iv) any order or decree is rendered by a court
adjudicating the Company insolvent and the order or decree is not vacated within sixty
(60) days from the date of entry thereof; (v) the Company files any petition or action for
relief under any bankruptcy, reorganization insolvency or moratorium law or any other
law for the relief of, or relating to, debtors, now or hereafter in effect or takes any
corporate action in furtherance of any of the foregoing; (vi) a proceeding or petition in
bankruptcy is filed against the Company and such proceeding or petition is not dismissed
within ninety (90) days from the date it is filed; (viii) the Company files a petition or
answer seeking reorganization or arrangement under the bankruptcy laws or any law or

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statute of the United States or any other foreign country or state; (iv) the Company
engages in any liquidation, dissolution or winding up; or (x) the Company fails to
perform, comply with or abide by any of the stipulations, agreements, conditions and/or
covenants contained in this Note on the part of the Company to be performed complied
with or abided by, and such failure is not cured within thirty (3 0) days after written notice
of such failure is delivered by Holder to the Company.

(b) Remedies. Upon the occurrence of` one or more Events of Default, the Holder, at
its option and without further notice, may make a demand or presentment for payment to
the Company or others, may declare the then outstanding principal balance of this Note,
together with all other sums due under the Note, immediately due and payable, together
with all accrued and unpaid interest thereon, together with all reasonable attorneys’ fees,
paralegals’ fees and costs and expenses incurred by the Holder in collecting or enforcing
payment thereof (whether such reasonable fees, costs or expenses are incurred in
negotiations, all trial and appellate levels, administrative proceedings, bankruptcy
proceedings or otherwise), and all other sums due by the Company hereunder, all without
any relief whatsoever from any valuation or appraisement laws and payment thereof may
be enforced and recovered in whole or in part at any time by one or more of the remedies
provided to the Holder at law, in equity, or under this Note. Upon the occurrence and
during the continuance of any Event of Default, interest shall thereafter accrue at the rate
of twelve percent (12%) per annum.

6. Expenses The Company agrees to pay all legal costs and expenses incurred by
the Holder and the Company in connection with the preparation of this Note or the collection of
amounts due or the enforcement of the Holder’s security interest hereunder.

7. Lost or Stolen Note. Upon notice to the Company of the loss, theft, destruction or
mutilation of this Note, and, in the case of loss, theft or destruction of an indemnification
undertaking by the Holder to the Company in a form reasonably acceptable to the Company and
customary for similar circumstances in commercial lender/borrower circumstances, and, in the
case of mutilation, upon surrender and cancellation of the Note, the Company shall execute and
deliver a new Note of like tenor and date and in substantially the same form as this Note.

8. Cancellation. After all principal, accrued interest and all other sums at any time
owed on this Note have been paid in full, this Note shall automatically be deemed canceled, shall
be surrendered to the Company for cancellation and shall not be re-issued.

9. Governing Law. This Note shall be construed and enforced in accordance with,
and all questions concerning the construction validity, interpretation and performance of this
Note shall be governed by, the laws of the State of Nevada, without giving effect to provisions
thereof regarding conflict of laws. Each party hereto hereby irrevocably submits to the non-
exclusive jurisdiction of the state and federal courts sitting in the State of Nevada for the
adjudication of any dispute hereunder or in connection herewith or with any transaction

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contemplated hereby or discussed herein and hereby irrevocably waives, and agrees not to assert
in any suit, action or proceeding, any claim that it is not personally subject to the jurisdiction of
any such court, that such suit, action or proceeding is brought in an inconvenient forum or that
the venue of such suit, action or proceeding is improper, provided, however, nothing contained
herein shall limit the Holder’s ability to bring suit or enforce this Note in any other jurisdiction
Each party hereto hereby irrevocably waives personal service of process and consents to process
being served in any such suit, action or proceeding by sending by certified mail or overnight
courier a copy thereof to such party at the address indicated in the preamble hereto and agrees
that such service shall constitute good and sufficient service of process and notice thereof
Nothing contained herein shall be deemed to limit in any way any right to serve process in any
manner permitted by law. EACH PARTY HERETO HEREBY IRREVOCABLY WAIVES
ANY RIGHT IT MAY HAVE, AND AGREES NOT TO REQUEST, A JURY TRIAL FOR
THE ADJUDICATION OF ANY DISPUTE HEREUNDER OR IN CONNECTION
HEREWITH OR ARISING OUT OF THIS NOTE OR ANY TRANSACTION
CONTElVlPLATED HEREBY.

10. Remedies, Characterizations, Other Obligations, Breaches and lnjunctive Relief.
The remedies of the Holder as provided herein shall be cumulative and concurrent and may be

pursued singly, successively or together, at the sole discretion of the Holder, and may be
exercised as often as occasion therefor shall occur; and the failure to exercise any such right or
remedy shall in no event be construed as a waiver or release thereof.

ll. Snecific Shall Not Limit General: Construction. No specific provision contained
in this Note shall limit or modify any more general provision contained herein This Note shall
be deemed to be jointly drafted by the Company and the Holder and shall not be construed
against any person as the drafter hereof.

12. Failure or Indulgence Not Waiver. Holder shall not be deemed, by any act of
omission or commission to have waived any of its rights or remedies hereunder, unless such
Waiver is in Writing and Signed by Holder, and then only to the extent specifically set forth in the
writing. A waiver on one event shall not be construed as continuing or as a bar to or waiver of
any right or remedy to a subsequent event

13. Notice. Notice shall be given to each party at the address indicated in the
preamble hereto or at such other address as provided to the other party in writing

 

14. Usury Savings Clause. Notwithstanding any provision in this Note, the total
liability for payments of interest and payments in the nature of interest, including, without
limitation all charges, fees, exactions, or other sums which may at any time be deemed to be
interest, shall not exceed the limit imposed by the usury laws of the jurisdiction governing this
Note or any other applicable law. In the event the total liability of payments of interest and
payments in the nature of interest, including, without limitation all charges, fees, exactions or
other sums which may at any time be deemed to be interest, shall, for any reason whatsoever,

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result in an effective rate of interest, which for any month or other interest payment period
exceeds the limit imposed by the usury laws of the jurisdiction governing this Note, all sums in
excess of those lawfully collectible as interest for the period in question shall, Without further
agreement or notice by, between or to any party hereto, be applied to the reduction of the
outstanding principal balance of this Note immediately upon receipt of such sums by the Holder
hereof, with the same force and effect as though the Company had specifically designated such
excess sums to be so applied to the reduction of such outstanding principal balance and the
Holder hereof had agreed to accept such sums as a penaltyfree payment of principal; provided,
however, that the Holder of this Note may, at any time and from time to time, elect, by notice in
writing to the Company, to waive, reduce, or limit the collection of any sums in excess of those
lawfully collectible as interest rather than accept such sums as a prepayment of the outstanding
principal balance. lt is the intention of the parties that the Company does not intend or expect to
pay nor does the Holder intend or expect to charge or collect any interest under this Note greater
than the highest non-usurious rate of interest which may be charged under applicable law.

15. Binding Effect This Note shall be binding upon the Company and the successors
and assigns of the Company and shall inure to the benefit of Holder and the successors and
assigns of Holder.

16. Severabili§g. ln the event any one or more of the provisions of this Note shall for
any reason be held to be invalid, illegal, or unenforceable, in whole or in part, in any respect, or
in the event that any one or more of the provisions of this Note operates or would prospectively
operate to invalidate this Note, then and in any of those events, only such provision or provisions
shall be deemed null and void and shall not affect any other provision of this Note. The
remaining provisions of this Note shall remain operative and in full force and effect and shall in
no way be affected, prejudiced, or disturbed thereby

17. Assignment. The Company may not transfer or assign this Note without the
written consent of Holder.

18. Amendments. The provisions of this Note may be changed only by a written
agreement executed by the Company and Holder.

[Signature pages follows]

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IN WITNESS WHEREOF, the Company has caused this Note to be executed on and as
of the date set forth above.

PUR HYDROPONIC SOLU'I`IONS, INC.

   

Na e: Richard Byrd
Title: Executive Chairman

CONSENTED AND AGREED:

The undersigned, referred to in the foregoing Note as a Grantor, hereby consents and agrees to
said Note and to the payment of the amounts contemplated therein documents contemplated
thereby and to the provisions contained therein relating to conditions to be fulfilled and
obligations to be performed by it pursuant to or in connection with said Note to the same extent
as if the undersigned were a party to said Note.

GREEN DOOR HYDRO & SOLAR ELECTRIC, INC.

By: PUR HYDROPONIC SOLUTIONS, INC.
Its: Sole Shareholder

   

. ichard Byrd
Title: Executive Chairman

WAY TO GROW, INC.

By: PUR HYDROPONIC SOLUTIONS, INC.
Its: Sole Shareholder

   

Na .
Title: Executive Chairman

[ Signature page to Secured Promissory Note ]

